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                    EXHIBIT P
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         SUPREME COURT FOR THE STATE OF NEW YORK
         COUNTY OF KINGS

          MICHAEL ANTHONY, derivatively on behalf               Date Filed: June 11, 2021
          of BED BATH AND BEYOND INC.
                                                                Index No.______________
                                                                         (NYSCEF Case)
                                Plaintiff,
                 -v-                                                       SUMMONS

                                                                Plaintiff designates Kings
          MARK J. TRITTON, MARY A. WINSTON,                     County as the place of trial. The
          ROBYN M. D’ELIA, STEPHANIE BELL-                      basis of venue is that this County is the
          ROSE, HARRIET EDELMAN, JOHN E.                        location of one or more of the Defendants
          FLEMING, PATRICK R. GASTON, SUE E.                    named herein.
          GOVE, JEFFREY A. KIRWAN,
          JOHNATHAN B. OSBORNE, HARSHA
          RAMALINGAM, VIRGINIA P.
          RUESTERHOLZ, JOSHUA SCHECHTER,
          ANDREA WEISS, and ANAN YERGER


                                Defendants,
          and


          BED BATH AND BEYOND INC.,
                                Nominal Defendant.



                TO THE ABOVE-NAMED DEFENDANTS:

                YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve

         a copy of your answer, or, if the complaint is not served with this summons, to serve a notice of

         appearance on the Plaintiff’s attorneys within twenty (20) days after the service of this summons,

         exclusive of the day of service (or within thirty (30) days after the service is complete if this

         summons is not personally delivered to you within the State of New York); and in case of your




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         failure to appear and answer, judgment will be taken against you by default for the relief demanded

         in the complaint.

         Dated: New York, New York
                June 11, 2021
                                                      NEWMAN FERRARA LLP



                                                      Roger A. Sachar
                                                      1250 Broadway, 27th floor
                                                      New York, NY 10001
                                                      Telephone: (212) 619-5400
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                                                      rsachar@nfllp.com

                                                      KAHN SWICK & FOTI, LLC
                                                      Melinda A. Nicholson
                                                      Nicolas Kravitz
                                                      100 Poydras Street, Suite 3200
                                                      New Orleans, LA 70163
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                                                      melinda.nicholson@ksfcounsel.com
                                                      nicolas.kravitz@ksfcounsel.com

                                                      Counsel for Plaintiff



         Defendants’ Addresses:

         MARK J. TRITTON
         c/o Bed Bath and Beyond Inc.
         650 Liberty Ave
         Union, New Jersey 07083

         MARY A. WINSTON
         c/o Bed Bath and Beyond Inc.
         650 Liberty Ave
         Union, New Jersey 07083

         ROBYN M. D’ELIA
         c/o Bed Bath and Beyond Inc.
         650 Liberty Ave
         Union, New Jersey 07083

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         STEPHANIE BELL-ROSE
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         HARRIET EDELMAN
         c/o Bed Bath and Beyond Inc.
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         JOHN E. FLEMING
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         HARSHA RAMALINGAM
         c/o Bed Bath and Beyond Inc.
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         Union, New Jersey 07083

         VIRGINIA P. RUESTERHOLZ,
         c/o Bed Bath and Beyond Inc.
         650 Liberty Ave
         Union, New Jersey 07083

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         JOSHUA SCHECHTER
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         ANAN YERGER
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         BED BATH AND BEYOND INC.
         Attn: Risk Management
         650 Liberty Avenue
         Union, New Jersey, 07083




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         SUPREME COURT FOR THE STATE OF NEW YORK
         COUNTY OF KINGS

          MICHAEL ANTHONY, derivatively on behalf                   Index No.:
          of BED BATH AND BEYOND, INC.


                                  Plaintiff,
                  -v-                                               VERIFIED SHAREHOLDER
                                                                    DERIVATIVE COMPLAINT

          MARK J. TRITTON, MARY A. WINSTON,
          ROBYN M. D’ELIA, STEPHANIE BELL-
          ROSE, HARRIET EDELMAN, JOHN E.
          FLEMING, PATRICK R. GASTON, SUE E.
          GOVE, JEFFREY A. KIRWAN,
          JOHNATHAN B. OSBORNE, HARSHA
          RAMALINGAM, VIRGINIA P.
          RUESTERHOLZ, JOSHUA SCHECHTER,
          ANDREA WEISS, and ANAN YERGER


                                  Defendants,
          and


          BED BATH AND BEYOND INC.,
                                  Nominal Defendant.



                 COMES NOW, Plaintiff Michael A. Anthony (“Plaintiff”), derivatively and on behalf of

         nominal defendant Bed Bath and Beyond, Inc. (“Bed Bath” or the “Company”) against certain current

         and/or former members of Bed Bath’s board of directors (the “Board”) and/or its officers for breaching

         their fiduciary duties. Plaintiff bases his allegations on personal knowledge as to his own acts, and on

         information and belief as to all other allegations, based upon due investigation by counsel, including:

         (a) review and analysis of public filings made by the Company and other persons with the United

         States Securities and Exchange Commission (“SEC”); (b) review and analysis of press releases and


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         other publications caused to be disseminated by certain of the Defendants and other persons; (c) review

         of news articles, stockholder communications, and postings on Bed Bath’s website concerning the

         Company’s public statements; (d) review and analysis of complaints and other related materials in

         litigation commenced by and/or against the Company and/or its affiliates; (e) review of correspondence

         by and between Plaintiff’s counsel and counsel for Bed Bath; (f) documents (the “Production”)

         produced by the Company in response to Plaintiff’s demand (the “Demand”) made pursuant to N.Y.

         Bus. Corp. L. Section 624 and New York common law (g) review of other publicly available

         information concerning Bed Bath and other persons.

                                       INTRODUCTION AND OVERVIEW

                 1.      This is a stockholder derivative action brought by a stockholder of Bed Bath on

         behalf of the Company against Defendants seeking to remedy violations of New York law, and

         harm resulting therefrom, from at least October 2019 to February 2020 that have caused, and

         continue to cause, substantial monetary losses to Bed Bath and other damages, including damages

         to the Company’s reputation and goodwill.

                 2.      Bed Bath is a big box retailer, focusing primarily on domestic merchandise and

         home furnishings. In addition to its Bed Bath and Beyond stores, Bed Bath operates under brand

         names such as Christmas Tree Shops, Harmon, buybuy BABY and Cost Plus World Market.

                 3.      In May 2019, as part of the resolution of an intense proxy contest led by three hedge

         funds raising concerns about severe mismanagement, the Company’s CEO and several Board

         members resigned. Four remaining members of the pre-existing Board remained and were joined

         by eight new directors.




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                 4.      Defendant Mary A. Winston (“Winston”) who had been head of the Company’s

         Audit Committee, was named as the interim Chief Executive Officer (“CEO”), and a search for a

         new CEO commenced.

                 5.      At about the same time as Winston took temporary control of the Company, Bed

         Bath announced the creation of a “Business Transformation and Strategy Review Committee” (the

         “BTSRC”), which would be comprised of individual Board members.

                 6.      The BTSRC was ostensibly to spearhead four “priorities” to turn around the

         Company.

                 7.      Chief among these priorities was the “aggressively reduce up to $1 billion of

         inventory at retail.”

                 8.      For purportedly serving on the BTSRC, various Board members received additional

         compensation.

                 9.



                 10.




                 11.     Like many retailers focusing on the domestic markets, Bed Bath’s business is

         seasonal, and heavily tilted towards the holiday season; its busiest months are November and

         December.




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                12.     As part of its leadership shakeup, Bed Bath announced that “[i]n the short term,

         more than approximately $350 million of inventory will be removed from our stores before the

         2019 holiday season.”

                13.     To monitor this inventory reduction, while still maintaining existing inventory to

         ensure that the Company’s shelves were stocked with key items for the upcoming holiday season,

         Bed Bath utilized “markdown optimization software,” manufactured by a company known as

         Revionics, which purportedly enabled the Company’s leadership to “thoughtfully” and

         “meaningfully” decrease aged and excess inventory, while still guarding the Company against

         margin erosion and sales cannibalization.

                14.     On October 9, 2019, Bed Bath named Defendant Mark Tritton (“Tritton”) as Bed

         Bath’s new CEO, replacing Defendant Winston. For her roughly six months of work, Winston

         received approximately $550,000 in salary, and $1.9 million in stock. Tritton officially took charge

         on November 4, 2019, and adopted Winston’s inventory reduction plan.

                15.



                                                                .

                16.




                17.



                18.     Had the Board conducted full oversight of the Company’s operations and inventory,

         they would have known that the Company had “poor inventory management” that led to margin



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         erosion, cannibalized sales, and empty store shelves during the Company’s most important sales

         period.

                   19.   On December 17, 2019, there was an additional major shakeup in the Company’s

         leadership. On that date, the Company announced that Tritton had terminated its Chief

         Merchandising Officer, Marketing Officer, Digital Officer, General Counsel, and Chief

         Administrative Officer.

                   20.



                   21.




                   22.   On January 8, 2020, the truth gradually began to emerge, when Bed Bath withdrew

         its FY 2019 guidance completely. Bed Bath also reported a 3Q2109 adjusted loss of earnings per

         diluted share of $.38 (analysts had predicted a $.02 profit per diluted share), and an 8.3% plunge

         in comparable sales.

                   23.   Completely withdrawing earnings guidance is exceedingly




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                   24.




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                25.    Tritton explained that the poor performance “was impacted to some extent by self-

         inflicted issues, like poor inventory management[.]”

                26.    The Company’s stock fell 19% in response.

                27.



                28.



                29.    Not until February 11, 2020 was the full depth of the Company’s holiday season

         problem revealed.

                30.    On that date, the Company revealed that its poorly-executed inventory reduction

         plan had backfired, and disclosed a “5.4% decline in comparable sales driven primarily by store

         traffic declines combined with inventory management issues,” which included “inventory within

         certain key categories in the [Bed Bath] assortment [were] too low or out-of-stock during the

         period.”

                31.    In other words, because of the inventory reduction plan, the Company’s shelves

         were missing key sales items during the Company’s most important sales period.

                32.




                33.    Making matters even more egregious,




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                                                                          , the Company was repurchasing

         shares, including: 76,700 shares between October 27, 2019 and November 30, 2019; 30,900 shares

         between December 1, 2019 and December 29, 2019; 2,600 shares between December 29, 2019

         and January 25, 2020; and an additional 5,400 shares between January 26, 2020 and February 29,

         2020.

                 34.



                 35.    No prudent Company would have continued to repurchase Company stock, at

         inflated rates, knowing the Company’s stock price did not reflect Bed Bath’s inventory

         management failures.

                 36.    Following this disclosure, Plaintiff sent a demand for books and records to the

         Company pursuant to N.Y. Bus. Corp. L. Section 624 and New York common law to investigate

         possible breaches of fiduciary duty and other wrongdoing relating to the events described herein.

                 37.    After receiving the Demand and conferring through counsel, the Company agreed

         to produce a subset of the documents requested in the Demand (the “Production”).

                 38.    Over the next few months, the Company, through counsel,



                 39.




                                            .




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                40.     As a result of the Board’s abject failure to oversee the Company’s operations, Bed

         Bath, along with Tritton, Winston, and Defendant Robyn M. D’Elia (“D’Elia”), Bed Bath’s former

         Chief Financial Officer (“CFO”) (who participated in the investor calls and public statements

         where the misstatements were made), are defendants in a securities class action, styled Vitello, et

         ano. v Bed Bath & Beyond, Inc., et al., No. 2:20-cv 04240 (D.N.J.) (the “Securities Class Action”).

                41.     Plaintiff has instituted this action derivatively, because demand on the current

         Board would be a useless and futile act.

                42.




                                                                In the wake of that dereliction, the Company

         suffered severe financial and reputational harm.

                                          JURISDICTION AND VENUE

                43.     This Court has jurisdiction over the Nominal Defendant pursuant to CPLR Section

         301 in that Bed Bath is a New York corporation, regularly transacts business in the State of New

         York, and the events giving rise to this Complaint occurred, in whole or in part, within the State of

         New York.

                44.     This Court has jurisdiction pursuant to CPLR Section 301 over all the Defendants

         based on their current or former membership on Bed Bath’s Board and in light of the fact that their

         actions giving rise to this Complaint occurred, in whole or in part, within the State of New York.

                45.     Venue is proper in this Court under CPLR Section 503(a) because one or more of

         the parties reside or maintains executive offices in Kings County, a sufficient portion of the

         transactions and wrongs described herein took place in Kings County, and Defendants received



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         substantial compensation in Kings County by doing business here and engaging in numerous

         activities that had an effect in Kings County.

                                                     PARTIES

                46.      Michael A. Anthony is a resident of the State of Michigan, was a shareholder of

         Bed Bath during the time of the wrongdoing complained of herein, has continuously been a

         shareholder of Bed Bath since that time, and remains a current shareholder of Bed Bath.

                47.      Nominal Defendant Bed Bath & Beyond, Inc. is a New York corporation with its

         corporate headquarters located at 650 Liberty Avenue Union, New Jersey 07083.

                48.      Defendant Mark J. Tritton has been a Bed Bath director, President & CEO and since

         November 2019. Between November 2019 to June 2020, Defendant Tritton was a member of the

         BTSRC. Defendant Tritton is also a defendant in the Securities Class Action. For 2019 fiscal year,

         in exchange of his purported trust, loyalty, and fidelity to Bed Bath, Defendant Tritton received

         $13,764,398, in total compensation.

                49.      Defendant Mary A. Winston has been a Bed Bath director since May 2019.

         Between May 2019 to November 2019, Defendant Winston served as Bed Bath’s interim CEO.

         Between November 2019 to June 2020, Defendant Winston was a member of the BTSRC.

         Defendant Winston is also a defendant in the Securities Class Action. For 2019 fiscal year, in

         exchange of her purported trust, loyalty, and fidelity to Bed Bath, Defendant Winston received

         $2,480,006, in total compensation.

                50.      Defendant Robyn M. D’Elia was Bed Bath’s CFO from July 2018 to May 2020.

         Defendant D’Elia is a defendant in the Securities Class Action. Between 2015 to 2018, Defendant

         D’Elia was Bed Bath’s Vice President of Finance. For 2019 fiscal year, in exchange of her

         purported trust, loyalty, and fidelity to Bed Bath, Defendant D’Elia received $2,334,406, in total

         compensation.
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                51.     Defendant Stephanie Bell-Rose (“Bell-Rose”) has been a Bed Bath director from

         May 2018 to the present. For 2019 fiscal year, in exchange of her purported trust, loyalty, and

         fidelity to Bed Bath, Defendant Bell-Rose received $175,190, in total compensation.

                52.     Defendant Harriet Edelman (“Edelman”) has been a Bed Bath director from May

         2019 to the present. Defendant Edelman served as Chairperson of the Company’s Audit

         Committee from July 2019 to May 2020. For 2019 fiscal year, in exchange of her purported trust,

         loyalty, and fidelity to Bed Bath, Defendant Edelman received $182,532, in total compensation.

                53.     Defendant John E. Fleming (“Fleming”) has been a Bed Bath director from May

         2019 to the present. Between July 2019 to June 2020, Defendant Fleming was a member of the

         BTSRC. For 2019 fiscal year, in exchange of his purported trust, loyalty, and fidelity to Bed Bath,

         Defendant Fleming received $174,479, in total compensation. Defendant Fleming’s 2019

         compensation included an additional $10,000 for his purported service in the BTSRC.

                54.     Defendant Patrick R. Gaston (“Gaston”) was a Bed Bath director from 2007 to May

         2020. Defendant Gaston served as Chairman of the Board between April 2019-May 2020.

         Defendant Gaston also served on the BTSRC from July 2019 to June 2020. For 2019 fiscal year,

         in exchange of his purported trust, loyalty, and fidelity to Bed Bath, Defendant Gaston received

         $423,943, in total compensation. Defendant Gaston’s 2019 compensation included an additional

         $10,000 for his purported service in the BTSRC.

                55.     Defendant Sue E. Gove (“Gove”) has been a Bed Bath director from May 2019 to

         the present. In 2019, Defendant Gove served on the Company’s Nominating and Corporate

         Governance Committee. Since August 2020, Defendant Gove has been a member of the

         Company’s Audit Committee. For 2019 fiscal year, in exchange of her purported trust, loyalty,

         and fidelity to Bed Bath, Defendant Gove received $159,294, in total compensation.



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                56.     Defendant Jeffrey A. Kirwan (“Kirwan”) has been a Bed Bath director from May

         2019 to the present. Defendant Kirwan served on the BTSRC from July 2019 to June 2020. For

         2019 fiscal year, in exchange of his purported trust, loyalty, and fidelity to Bed Bath, Defendant

         Kirwan received $157,099, in total compensation. Defendant Kirwan’s 2019 compensation

         included an additional $10,000 for his purported service in the BTSRC.

                57.     Defendant Johnathan B. Osborne (“Osborne”) has been a Bed Bath director from

         April 2018 to the present. Between July 2019 to June 2020, Defendant Osborne was a member of

         the Company’s Audit Committee. Additionally, Defendant Osborne was a member of the BTSRC

         between July 2019 to June 2020. For 2019 fiscal year, in exchange of his purported trust, loyalty,

         and fidelity to Bed Bath, Defendant Osborne received $195,379, in total compensation. Defendant

         Osborne’s 2019 compensation included an additional $10,000 for his purported service in the

         BTSRC.

                58.     Defendant Harsha Ramalingam (“Ramalingam”) has been a Bed Bath director from

         May 2019 to the present. Defendant Ramalingam was a member of the BTSRC between July 2019

         to June 2020. For 2019 fiscal year, in exchange of his purported trust, loyalty, and fidelity to Bed

         Bath, Defendant Ramalingam received $168,610, in total compensation. Defendant Ramalingam’s

         2019 compensation included an additional $10,000 for his purported service in the BTSRC.

                59.     Defendant Virginia P. Ruesterholz (“Ruesterholz”) has been a Bed Bath director

         since 2017. Defendant Ruesterholz is the Chairperson of the Nominating and Corporate

         Governance Committee. Defendant Ruesterholz is also a member of the Company’s Audit

         Committee and has been since July 2019. For 2019 fiscal year, in exchange of her purported trust,

         loyalty, and fidelity to Bed Bath, Defendant Ruesterholz received $204,015, in total compensation.




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                60.     Defendant Joshua Schechter (“Schechter”) has been a Bed Bath director from May

         2019 to the present. Since June 2020, Defendant Schechter has been the Chairperson of the

         Company’s Audit Committee. For 2019 fiscal year, in exchange of his purported trust, loyalty, and

         fidelity to Bed Bath, Defendant Schechter received $157,099, in total compensation.

                61.     Defendant Andrea Weiss (“Weiss”) has been a Bed Bath director from May 2019

         to the present. Defendant Weiss is a member of the Audit Committee. Between July 2019 to June

         2020, Defendant Weiss was also served as the Chairperson of the BTSRC. For 2019 fiscal year, in

         exchange of her purported trust, loyalty, and fidelity to Bed Bath, Defendant Weiss received

         $180,505, in total compensation. Defendant Weiss’ 2019 compensation included an additional

         $20,000 for her purported service as a Chair in the BTSRC.

                62.     Defendant Ann Yerger (“Yerger”) has been a Bed Bath director from May 2019 to

         the present. Defendant Yerger is a member of Compensation Committee and Nominating and

         Corporate Governance Committee. For 2019 fiscal year, in exchange of her purported trust,

         loyalty, and fidelity to Bed Bath, Defendant Yerger received $166,886, in total compensation.

                63.     Defendants Tritton, Edelman, Fleming, Gove, Kirwan, Osborne, Ramalingam,

         Ruesterholz, Schechter, Weiss, Winston, and Yerger are referred to herein as the “Current Board

         Defendants.”

                64.     Collectively, the Current Board Defendants and Gaston, are referred to herein as

         the “Board Defendants.”

                         GENERAL FIDUCIARY DUTIES OF THE DEFENDANTS

                65.     The Board Defendants had and have stringent fiduciary obligations to Bed Bath

         and its shareholders.

                66.     By reason of their positions as Officers, Directors, and/or Fiduciaries of Bed Bath



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         the Board Defendants owed and owe Bed Bath and its shareholders fiduciary obligations of loyalty,

         good faith, due care, disclosure, and candor and were and are required to use their utmost ability

         to control and manage Bed Bath in a fair, just, honest, and equitable manner. The Board Defendants

         were and are required to act in furtherance of the best interest of Bed Bath, and its shareholders,

         so as to benefit all shareholders equally and not in furtherance of their personal interest or benefits.

                 67.     Each director and officer of Bed Bath owed and owes to Bed Bath and its

         shareholders the fiduciary duty to exercise good faith, loyalty, and diligence in the administration

         of the affairs of the Company and in the use and preservation of its property and assets and to

         uphold the highest obligations of fair dealing. In addition, as officers and/or directors of a publicly

         held company, the Defendants had a duty to disseminate promptly accurate and truthful

         information with regard to the Company and its financial health and growth prospects.

                 68.     The Board Defendants, because of their positions of control and authority as

         directors and/or officers of Bed Bath were able to, and did, directly and/or indirectly, exercise

         control over the wrongful acts complained of herein, as well as the contents of various public

         statements issued by Bed Bath. Because of their advisory, executive, managerial, and directorial

         positions with Bed Bath, each of the Board Defendants had access to adverse, non-public, material

         information about the operations of Bed Bath.

                 69.     At all times relevant hereto, each Board Defendant was the agent of the other

         Defendants and of Bed Bath and was at all times acting within the course and scope of such agency.

                 70.     To discharge their duties, the officers and directors of Bed Bath were required to

         exercise reasonable and prudent supervision over the management, policies, practices, and controls

         of the operational affairs of the Company. By virtue of such duties, the officers and directors of

         Bed Bath were required to, among other things:



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                      a. Conduct the affairs of the Company in an efficient, businesslike manner so

                         as to make it possible to provide the highest quality performance of its

                         business, to avoid wasting the Company’s assets, and to maximize the

                         Company’s value;

                      b. Ensure that the Company complied with all legal obligations and

                         requirements, including state and federal laws relating to the procurement

                         regulations.

                      c. Ensure that the Company was operated in a diligent, honest, and prudent

                         manner.

                71.      Each of the Board Defendants, by virtue of their position as a director and/or officer

         of Bed Bath, owed to the Company and to its shareholders the fiduciary duties of loyalty, good

         faith, due care, disclosure and candor in the management and administration of the affairs of the

         Company. The conduct of the Board Defendants complained of herein involves a knowing and

         culpable violation of their obligations as directors and officers of Bed Bath, the absence of good

         faith on their part, and a reckless disregard for their duties to the Company and its stockholders.

         The Board Defendants were aware, or should have been aware, that those violations, absences of

         good faith, and the reckless disregard of duties posed a risk of serious injury to the Company.

                72.      Because of their positions with the Company, and their access to material non-

         public information available to them, Bed Bath, through the Board Defendants, knew that the

         adverse facts specified herein had not been disclosed to and were being concealed from the public.

         As a result of the Board Defendants’ misconduct, the Company has suffered significant damages.

         Further, various Company executives, as described herein, misled investors and allowed the

         Company to breach its customer contracts for which the Company stands liable.



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                       DUTIES DERIVED FROM THE COMPANY’S CORPORATE
                                  GOVERNANCE DOCUMENTS

                73.    According to the Company’s Policy of Ethical Standards for Business Conduct, the

         Company’s employees’, executives’ and board members’ responsibilities are described as follows:

                 All individuals shall conduct their business affairs on behalf of the Company in
                 accordance with all applicable laws of the United States and other governmental
                 jurisdictions in which the Company does business, and shall observe the highest
                 standards of business ethics. Specifically, and without limitation: …

                       • All individuals must display the highest standard of legal and ethical
                       behavior with respect to the intellectual property rights of third parties.

                        • All individuals involved in the preparation, review and filing of financial
                       reports and other information for public disclosure regarding the Company
                       must accurately record all financial dealings and comply with the laws and
                       regulations regarding such activities. All associates who provide
                       information as a part of this process must comply with the Company’s
                       disclosure controls and procedures.

                74.    According to the Company’s Corporate Governance Guidelines, the Company’s

         board members’ responsibilities are described as follows:

                As part of its oversight responsibility, the Board receives at least annually a report
                on the material risks facing the Corporation, which risks are identified through the
                Corporation’s Enterprise Risk Management (“ERM”) process. This report is
                presented to the Audit Committee by a committee of key executives representing
                legal, finance and internal audit (the “Executive Risk Committee”), and results from
                a formal process where members of the Executive Risk Committee meet with
                executives of each principal business function to identify and assess the significant
                risks in each such business function’s areas of responsibility. The members of the
                Executive Risk Committee then analyze with those executives what risk mitigation
                efforts are or should be in place to eliminate or reduce such risks to acceptable
                levels, where possible, and then engage on these matters with the Audit Committee,
                which then reports to the full Board. In the annual ERM report, areas of risk and
                mitigation efforts reviewed with the Audit Committee and the full Board, in
                furtherance of the Board’s oversight responsibilities, generally include: general
                business risks, such as economic forces, competition and weather; employment-
                related risks, such as recruitment and retention, succession, labor costs and
                associate relations; data security risks with respect to the Corporation, associate and
                customer data; compliance risks associated with the range of legal, accounting, tax
                and financial reporting systems under which the Corporation operates; supply chain


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                risks, including disruption arising from political instability or labor disturbances,
                supplier financial stability and legal compliance; and compliance with a variety of
                product, labor, social and environmental standards. The Audit Committee and the
                full Board are updated on certain risks more frequently than annually, upon request
                or as developments warrant.

                The ERM process and report to the Audit Committee, and the Audit Committee’s
                report to the full Board, also informs the more detailed Risk Factor disclosure in
                the Corporation’s annual report on Form 10-K, filed with the Securities and
                Exchange Commission.

                75.    According to the Charter of the Audit Committee of the Board of Directors of Bed

         Bath, the Audit Committee members’ responsibilities are described as follows:

                The Committee shall oversee the Corporation’s accounting and financial reporting
                processes and the audits of the Corporation’s financial statements.

                The Committee shall be directly responsible for the appointment, compensation,
                retention and oversight of the work of any registered public accounting firm
                engaged (including resolution of disagreements between management and the
                Corporation’s outside auditor regarding financial reporting) for the purpose of
                preparing or issuing an audit report or performing other audit, review or attest
                services for the Corporation. Each such registered public accounting firm shall
                report directly to the Committee.

                                                        ***

                Review with management and the outside auditor significant financial reporting
                issues and judgments made in connection with the preparation of the Corporation’s
                financial statements, including analyses of critical accounting policies and analyses
                of the effects of alternative GAAP methods on the financial statements.

                The Committee shall review the Corporation’s annual audited financial statements,
                including any certification, report or opinion rendered by the Corporation’s outside
                auditor, and discuss the same with management and the auditor. The Committee
                shall recommend to the Board whether the annual financial statements should be
                included in the Corporation’s Annual Report on Form 10-K.

                The Committee shall review and discuss with the Company’s outside auditors and
                management the Company’s quarterly financial statements and review and discuss
                the Company’s quarterly reports on Form 10-Q and annual reports on Form 10-K
                before such reports are filed with the Securities Exchange Commission (the




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                “SEC”), including the disclosure under “Management’s Discussion and Analysis
                of Financial Condition and Results of Operations.”

                                                         ***

                The Committee shall review with management the Corporation’s financial
                reporting processes, internal control over financial reporting and disclosure controls
                and procedures, the outside auditors' report on the effectiveness of the
                Corporation’s internal control over financial reporting and the required
                management certifications to be included in or attached as exhibits to the
                Company's annual report on Form 10-K or quarterly report on Form 10-Q, as
                applicable.

                76.    According to the Charter of the Nominating and Corporate Governance Committee

         of the Board of Directors of Bed Bath, the Committee members’ responsibilities are described as

         follows:

                The Committee shall review the Board’s committee structure and composition and
                make recommendations to the Board regarding the performance, composition,
                duties and responsibilities of each committee and the appointment of directors to
                serve as members and chairs of each committee.

                                                         ***

                The Committee shall review and evaluate the compensation of directors annually,
                including the appropriate mix of cash compensation and equity compensation, and
                make recommendations to the Board regarding director compensation.

                                       SUBSTANTIVE ALLEGATIONS

           I.   THE COMPANY’S TRANSFORMATION PLAN

                77.    Bed Bath is a retailer that sells a wide assortment of domestic merchandise and

         home furnishings.

                78.    On April 17, 2019, a group of activist shareholders filed a Proxy Statement with

         the SEC pressuring the Company to restructure its leadership, to whom it attributed a decade of

         underperformance. The activist shareholders critiqued the Company’s directors’ “lack of relevant

         retail expertise and stale perspectives” and demanded that the Company undertake series of

         changes to address the Company’s stagnant inventory and weak margins. The Proxy Statement

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         stated that the activist shareholders’ “slate of director nominees is committed to executing on a

         strategic plan” prioritizing initiatives such as “addressing the Company’s weak sales, improving

         gross margins, [and] optimizing inventory levels.”

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                      82.   That same day, the Company issued a press release, announcing the Board

         members’ departure, and the formation of the Business Transformation and Strategy Review

         Committee. 4




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             Ex. 2.

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                83.    In early May 2019, Bed Bath’s then-CEO Steven Temares resigned from his role,

         and Winston, who had been named to the Board a few days prior, was named as the Company’s

         interim CEO, and eight new directors were appointed to the Board.

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                       88.




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                       89.   According to a Form 8-K filed with the SEC 12 on June 3, 2019, the following

         individuals had been named to the BTSRC:

                       Andrea M. Weiss, Chair
                       John E. Fleming
                       Patrick R. Gaston
                       Jeffrey A. Kirwan
                       Johnathan B. Osborne
                       Harsha Ramalingam

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              Ex. 6.
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                   92.    On July 10, 2019, as part of the Fiscal 2019 First Quarter Earnings Call, the

         Company issued a PowerPoint presentation. 16 That presentation disclosed, as part of “Critical

         Work of the Board of Directors,” that the Company had “Formed the Business Transformation and

         Strategy Review Committee,” which would “Review and evaluate the ongoing business

         transformation” and “Make recommendations on how to accelerate the Company’s evolution.” 17

                   93.
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            Ex. 8.
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            Id. at p. 5
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                    106.
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                    108.   On September 4, 2019, Winston issued a letter 38 to Bed Bath’s shareholders and

         announced the Board’s and management’s key priorities, which were: “stabilizing and driving top-

         line growth; resetting the cost structure; reviewing and optimizing the Company’s asset base,

         including the portfolio of retail banners; and refining Bed Bath & Beyond’s organization




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              Ex. 16.

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         structure.” The letter further provided that the Company’s plan for reviewing and optimizing its

         asset base was:

                 An aggressive reduction of up to $1 billion of inventory is expected to be executed
                 over the next 18 months, including the removal of excess aged inventory from
                 our stores anticipated before the 2019 holiday season. This effort should allow us
                 to quickly reset inventory levels in both our stores and distribution centers, as well
                 as refresh our assortment, providing for newness and higher-margin products, all in
                 an effort to drive customer traffic and support top-line performance.


                 109.



                 110.



                 111.    On October 2, 2019, the Company filed a Form 8-K with the SEC reporting BED

         BATH’s 2019 second quarter results. The Form 8-K announced that more than “$350M of

         inventory (at retail) to be removed from Bed Bath & Beyond stores before 2019 holiday season”

         and quoted Winston’s rosy statements concerning the new management’s transformation plan,

         stating, in pertinent part:

                 We are making good progress against our four key near-term priorities,
                 including: (1) stabilizing sales and driving top-line growth; (2) resetting the cost
                 structure; (3) reviewing and optimizing the Company’s asset base, including the
                 portfolio of retail banners; and (4) refining our organization structure. Our second
                 quarter financial results reflect the relentless effort of our teams and our progress
                 in driving the Company’s transformation efforts to delight our customers,




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                    enhance our competitive position, improve our financial performance, and drive
                    shareholder value.

                    112.   The October 2nd Form 8-K also announced that “[f]or the fiscal 2019 second

         quarter, the Company reported a net loss of $1.12 per diluted share $138.8 million, which included

         an unfavorable impact of approximately $1.46 per diluted share from charges related to the first

         wave of transformation initiatives” and slightly lowered Company’s 2019 fiscal year guidance for

         diluted earnings per share (“EPS”) to between $2.08 and $2.13.

                    113.   Despite these negative results, during a conference call that same day, D’Elia

         downplayed the risks associated with the Company’s “aggressive reduction” plan to review and

         optimize its asset base and stated that the transformation plan would not be “cannibaliz[ing] sales

         during holiday period.”

                    114.   In fact, Winston reassured investors that the Company was managing the

         transformation plan “thoughtfully to prevent cannibalization of sales[,]” and trumpeted the

         Company’s systems in place to prevent cannibalization of sales and stated that “[t]o optimize this

         inventory off-load the company is [inter alia] employing markdown optimization software to

         speed the process.”

                    115.   Among other software, Bed Bath was utilizing Revionics’ software, which enabled

         the management to access weekly inventory reports and real time data reflecting the progress of

         the new transformation plan.

                    116.   As revealed by the former employee statements referenced in the Securities Class

         Action Complaint, 41 senior Bed Bath management, including Winston and D’Elia, were receiving




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              Ex. 19.

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         detailed Revionics reports demonstrating data on inventory levels, pricing, and margins and were

         conducting weekly meetings at its Union, New Jersey Headquarters regarding the same. 42

                     117.   Former employees also stated that the Company utilized JDA software for general

         inventory management, which was geared towards “price optimization,” as a secondary software

         to Revionics. 43

                     118.   On October 9, 2019, Bed Bath announced that Tritton would be the Company’s

         new CEO, replacing Winston.

                     119.   On the same day, the Company filed a Form 10-Q with the SEC and echoed

         previous statements concerning transformation plan. With respect to the Company’s inventory

         levels, the Form 10-Q reported that:

                     Retail inventory, which includes inventory in the Company’s distribution facilities
                     for direct to customer shipments, was approximately $2.3 billion at August 31,
                     2019, a decrease of 17.8% compared to retail inventory at September 1, 2018. The
                     Company continues to focus on its inventory optimization strategies.

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         42
              Id. at 5.
         43
              Id. at 20.
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                    125.   On December 17, 2019, Bed Bath announced via a press release an “extensive

         restructure of its leadership team, including departure of six senior members.” According to the

         press release, the Chief Brand Officer, resigned the prior week and the Chief Merchandising

         Officer, Chief Marketing Officer, Chief Digital Officer, Chief Legal Officer & General Counsel,

         and Chief Administrative Officer were leaving their positions. This executive reshuffle reflected

         “the priorities of new President and CEO, Mark Tritton, who will launch his new vision for the

         Company in early 2020.”

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              II.          THE FAILURE OF THE TRANSFORMATION PLAN IS REVEALED

                    127.   Following the major leadership shakeup and the positive statements concerning the

         “aggressive” inventory reduction plan, the truth about the transformation plan was finally revealed

         on January 8, 2020. On that day, the Company filed its Form 8-K with the SEC, reporting its third




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         quarter of 2019 results, and announced that the Company withdrew its financial guidance for 2019

         fiscal year completely.

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                129.    In particular part, the January 8, 2020 Form 8-K reported that:

                The Company expects its sales and profitability to remain pressured during the
                fiscal 2019 fourth quarter. Considering these headwinds reflected in the Company’s
                results to date, and the ongoing work by recently appointed President & CEO Mark
                Tritton to assess the business and finalize the details of the Company’s go-forward
                strategic plan as well as the extensive senior leadership changes within the past
                month, the Company believes it is appropriate to withdraw its fiscal 2019 full year
                financial guidance.

                130.    On this news the Company’s share price dropped almost 20%, falling $3.20 to close

         at $13.40 per share on January 9, 2020.

                131.    On February 11, 2020, the Company filed a Form 8-K with the SEC announcing

         preliminary, unaudited financial performance data for the first two months of the 2019 fourth

         quarter. These results showed that Bed Bath’s “gross margin during the first two months of the

         fiscal 2019 fourth quarter declined around 300 basis points primarily due to an unfavorable

         impact on merchandise margin from promotional activity during the period.”

                132.    Moreover, the results demonstrated “a 5.4% decline in comparable sales driven

         primarily by store traffic declines combined with inventory management issues” including that

         “inventory within certain key categories in the [Bed Bath’s] assortment [were] too low or out-of-




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         stock during the period.” More disturbingly, the Company announced that it is “immediately

         reforming its internal planning and inventory management procedures to master the

         fundamentals,” indicating that the Company was not previously mastered the fundamentals with

         inventory issues, contrary to the public statements made regarding the transformation plan.

                133.    On this news, Bed Bath’s share price dropped again by over 20% to close at $11.79

         per share on February 12, 2020, wiping out $388 million in market capitalization, on heavy trading

         volume.

                134.    On February 18, 2020, during a conference call with the investors, Tritton admitted

         that Bed Bath’s did not “have price management floated properly [] coming into the third and

         fourth quarter”, which indicated that the transformation plan was significantly flawed from the

         start. During the same call, Tritton detailed the inventory issues Bed Bath’s was facing by stating:

                [Bed Bath’s] had a double-edged sword in terms of inventory, and I would talk to,
                firstly, the negative in that we’ve been dealing with some out-of-stocks in terms of
                our primary items that have been driving our business traditionally and that’s
                what’s hurt us in the third and fourth quarter…. So on that inventory side, we
                didn’t have enough of the right stuff…. We just need to course-correct in terms of
                the mix of merchandise and our focus.

                135.    On April 15, 2020, Bed Bath’s filed its Form 8-K with the SEC announcing its

         financial results for its 2019 fiscal fourth quarter and full year. April 15th Form 8-K reported that

         2019 fiscal years diluted EPS of $.46, which was a far cry from the Company’s earlier expectations

         of $2.08 to $2.13. On the same day, during a conference call with the investors, Tritton

         acknowledged that Bed Bath’s was aware of the inventory management issues, which were in part

         “self-inflicted.” In fact, he admitted that Bed Bath’s was watching inventory issues “hour by




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         hour” in late November 2019 and they knew the Company was “plagued by issues in December

         [2019] and January.” In relevant part, he admitted that:

                We knew we were plagued by issues in December and January,…[s]ome of it was
                self-inflicted. I mean when we don’t have best sellers in stock, we’ve got
                discounting and we don’t have our inventory. I mean some of the sales decline
                we saw in our stores wasn’t necessarily traffic. We did some intel work on that,
                saw the customers were coming in, and they just couldn’t find the product in
                stock. So we were shooting ourselves in the foot.

                136.    Moreover, during the same call, Tritton blamed Bed Bath’s departure from coupon

         marketing to an unprecedented promotion scheme for Bed Bath’s “burn[ed]” inventory and

         margins. In particular part, he stated that:

                [W]e entered into promotional activity in a way that we hadn’t ever before, Seth.
                I think that if we go back to the end of the third quarter, start of the fourth quarter,
                it was the first time we’d ever really been truly promotional outside of coupon.
                And we really didn’t lay down the plans to get there in the right way. So we burn
                the margin and we burn a lot of inventory and weren’t prepared to get back into
                stock. So they’re kind of tough learnings.

                137.    On April 30, 2020, Bed Bath announced that D’Elia had resigned. On July 14, 2020,

         Bed Bath filed a Form 8-K with the SEC announcing its 2020 first quarter results. This Form 8-K

         reported that the time frame for the “removal of about $1 billion of inventory at retail from [Bed

         Bath’s] stores” was extended from 18 months to 36 months.

         III.   PLAINTIFF RECEIVES BOOKS AND RECORDS FROM THE COMPANY,
                WHICH SHOW A DEARTH OF OVERSIGHT

                138.    On February 9, 2021, Plaintiff sent the Books and Records Demand to the Company

         seeking to investigate possible breaches of fiduciary duty and other wrongdoing relating to the

         events described above.

                139.




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                140.

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                141.



                142.




                143.                                                                               .

                144.



                                                               .

                145.

                                       .

                146.   The Board formed the BTSRC specifically to oversee the Company’s

         transformation plan.

                147.   BTSRC Board members were amply compensated for service on that Committee.

                148.



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                149.




         61


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                150.




                151.




                     IV.          DAMAGES TO THE COMPANY

                152.    As a result of the Defendants’ failure to exercise oversight, the Company’s

         credibility has been devastated, as demonstrated by the Company’s 33% (approximately $752

         million) market capitalization loss, that occurred once the truth emerged.

                153.    Due to the Board’s failure to fully oversee the Company’s transformation plan, the

         Company incurred significant lost revenue in the second half of 2019.

                154.       Further, by failing to oversee the Company’s transformation plan, the Board

         negatively impacted Bed Bath’s ability to attract new customers, and retain existing ones.

                155.       And, Bed Bath has expended costs incurred investigating and defending the

         Company, Tritton, Winston, and D’Elia in the Securities Class Action, plus potentially hundreds

         of millions of dollars in settlement or to satisfy an adverse judgment.

                156.       The Company has paid director and executive compensation, bonuses, and benefits

         paid to individuals breaching their fiduciary duties, including during the Period in which the Board,

         and BTSRC, completely abnegating its responsibilities.

                157.    Finally, between October 27, 2019, and December 28, 2019

                                                                                               the Company

         repurchased nearly 120,000 shares of its common stock, at vastly inflated rates, overpaying by



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         hundreds of thousands of dollars. Additionally, the Company also repurchased 2,600 shares

         between December 29, 2019 and January 25, 2020, and 5,400 shares between January 26, 2020

         and February 29, 2020 at artificially inflated prices.

                   158.




                   159.   Thus, the continued repurchases at inflated prices are attributable to the Board’s

         failure to conduct oversight.

          V.       DERIVATIVE ALLEGATIONS

                   160.   Plaintiff brings this action derivatively in the right of and for the benefit of the

         Company to redress injuries suffered, and to be suffered, by the Company as a direct result of the

         violations of state and federal law, including breaches of fiduciary duty by the Defendants named

         herein.

                   161.   The Company is named as a nominal defendant in this case solely in a derivative

         capacity. This is not a collusive action to confer jurisdiction on this Court that it would not

         otherwise have. The Company was a stockholder of the Company at the time of the transgressions

         of which he complains and continues to be a stockholder of the Company. Plaintiff will adequately

         and fairly represent the interests of the Company and its stockholders in prosecuting and enforcing




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         their rights. Prosecution of this action, independent of the current Board, is in the best interests of

         the Company.

                162.    The wrongful acts complained of herein subject, and will continue to subject, The

         Company to continuing harm because the adverse consequences of the actions are still in effect

         and ongoing.

             VI.        DEMAND FUTILITY

                163.    Plaintiff has not made a demand on the Board to institute this action against the

         Defendants. Such demand would be futile and useless because, at the time this shareholder

         derivative litigation was initiated, the Board was incapable of making an independent and

         disinterested decision to institute and vigorously prosecute this action.

                164.    The current Board of Bed Bath consists of twelve (12) directors: Mark J. Tritton,

         Harriet Edelman, John Fleming, Sue E. Gove, Jeffrey Kirwan, Johnathan B. Osborne, Harsha




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         Ramalingam, Virginia P. Ruesterholz, Joshua Schechter, Andrea Weiss, Mary A. Winston, and

         Ann Yerger (the “Demand Board”).

                  165.   If demand futile against seven (7) of the twelve (12) Current Board Defendants,

         demand would be futile. And here, demand is futile for all the Current Board Defendants.

                  166.   First, the Current Board Defendants Tritton and Winston are named defendants in

         the Securities Class Action and could not consider instituting this litigation without compromising

         their defense of the Securities Class Action.

                  167.   Second, the Current Board Defendants Tritton, Winston, Weiss, Fleming, Kirwan,

         Osborne, and Ramalingam all served on the BTSRC and received additional compensation for so

         doing.

                  168.




                  169.




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                170.




                171.     Accordingly, having failed to exercise the most basic functions of prudential

         oversight, the entire Board faces a substantial likelihood of liability for their breaches of fiduciary

         duties, so any demand on them is futile.

                                                     COUNT I
                                            Breach of Fiduciary Duty
                                       (Derivatively Against all Defendants)

                172.     Plaintiff incorporates by reference and re-alleges each and every allegation

         contained in paragraphs 1 to 171, as though fully set forth herein.

                173.     Each of the Board Defendants owed the Company fiduciary obligations. By reason

         of their fiduciary relationships, the Board Defendants owed the Company the highest obligation of

         loyalty, good faith, due care, oversight, fair dealing, candor and disclosure to stockholders.

                174.     These Defendants, and each of them, violated and breached their fiduciary duties

         of loyalty, good faith, due care, oversight, fair dealing, candor and disclosure to the Company’s

         stockholders.

                175.     Each of these Defendants failed to conduct proper oversight of the Company, as

         described above.

                176.     Such conduct could not have been a good faith exercise of prudent business

         judgment to protect and promote the Company’s corporate interests.

                177.     In addition, by their actions alleged herein, the Defendants, either directly or

         through aiding and abetting one another, abandoned and abdicated their responsibilities and



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         fiduciary duties with regard to prudently managing the assets and business of Bed Bath in a manner

         consistent with the operations of a publicly-held corporation.

                178.    As a direct and proximate result of the breaches of duty alleged herein, the

         Company has sustained and will sustain significant damages.

                179.    Plaintiff, on behalf of the Company, has no adequate remedy at law.

                                                     COUNT II

                                           Breach of Fiduciary Duty
                             (Derivatively Against the Current Board Defendants)

                180.    Plaintiff incorporates by reference and re-alleges each and every allegation

         contained in paragraphs 1 to 171, as though fully set forth herein.

                181.    Each of the Board Defendants owe and owed the Company fiduciary obligations.

         By reason of their fiduciary relationships, the Current Board Defendants owed and owe the

         Company the highest obligation of loyalty, good faith, due care, oversight, fair dealing, candor and

         disclosure to stockholders.

                182.    Defendants, and each of them, violated and breached their fiduciary duties of

         loyalty, good faith, due care, oversight, and fair dealing by allowing the Company to continue to

         repurchase shares, while they remained ignorant of the state of the Company’s transformation

         process.

                183.    As a direct and proximate result of the breaches of duty alleged herein, Bed Bath

         has sustained and will sustain significant damages.




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                184.    Plaintiff, on behalf of the Company has no adequate remedy at law.

                                                     COUNT III

                                                Unjust Enrichment
                                       (Derivatively Against all Defendants)

                185.    Plaintiff incorporates by reference and re-alleges each and every allegation

         contained in paragraphs 1 to 171, as though fully set forth herein.

                186.    By violating and breaching their fiduciary duties of loyalty, good faith, due care,

         oversight, fair dealing, candor and disclosure to the Company’s stockholders and failing to conduct

         proper oversight of the Company, the Board Defendants were unjustly enriched at the expense of

         and to the detriment of the Company. The Board Defendants were unjustly enriched as a result of

         the excessive compensation they received while breaching fiduciary duties owed to Bed Bath.

                187.    Plaintiff, as a stockholder and representative of Bed Bath, seeks restitution from

         these Defendants, and each of them, and seeks an order of this Court disgorging all profits, benefits,

         and other compensation obtained by these Defendants, and each of them, from their wrongful

         conduct and fiduciary breaches.

                188.    Plaintiff, on behalf of Bed Bath, has no adequate remedy at law.

                                                     COUNT IV

                                            Waste of Corporate Assets
                              (Derivatively Against the Current Board Defendants)

                189.    Plaintiff incorporates by reference and re-alleges each and every allegation

         contained in paragraphs 1 to 171, as though fully set forth herein.

                190.    As a result of their self-dealing, the Company has wasted its valuable assets by

         paying the Defendants’ excessive compensation.

                191.    Moreover, while the Board Defendants were violating and breaching their fiduciary

         duties of loyalty, good faith, due care, oversight, fair dealing, candor and disclosure to the

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         Company’s stockholders and failing to conduct proper oversight of the Company, they also caused

         the Company to repurchase its own stock at an artificially inflated prices and wasted Bed Bath’s

         assets.

                   192.   As a result of the waste of corporate assets, the Board Defendants are liable to the

         Company.

                   193.   Plaintiff, on behalf of Bed Bath, has no adequate remedy at law.

                                               PRAYER FOR RELIEF

                   WHEREFORE, Plaintiff demands judgment as follows:

                   a.     Against all of the Defendants and in favor of Bed Bath for the amount of damages

         sustained by the Company as a result of the Defendants’ breaches of fiduciary duties, waste of

         corporate assets, and unjust enrichment;

                   b.     Directing Bed Bath to take all necessary actions to reform and improve its corporate

         governance and internal procedures to protect the Company and its stockholders from a repeat of

         the damaging events described herein, including, but not limited to, putting forward for

         stockholder votes resolutions and amendments to the By-Laws and Articles of Incorporation, and

         any other measures able to guard against a repetition of the circumstances described herein,

         including measures to reform the Company’s internal governance documents and Board charters;

                   c.     Awarding to Plaintiff the costs and disbursements of the action, including

         reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and

                   d.     And such other relief as this Court deems just and proper.

                                             JURY TRIAL DEMANDED

                   Plaintiff hereby demands a trial by jury.

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                                             Respectfully submitted,

                                             NEWMAN FERRARA LLP

                                              s/Roger A. Sachar
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                                                      VERIFICATION


                 I, ROGER A. SACHAR, an attorney duly admitted to practice law before the Courts of the

         State of New York, hereby affirms the truth of the following under the penalties of perjury and

         pursuant to CPLR 2106:

                 1. I am the attorney in the above-entitled action with offices located at 1250 Broadway,

                     27th Floor, City of New York, County of New York.

                 2. I have read the foregoing complaint, and know the contents thereof, which are a true to

                     the best of my knowledge, except as to the matters stated to be alleged upon information

                     and belief, and with respect to those matters, I believe them to be true.

                 3. The reason this verification is made by me instead of the plaintiff is because the plaintiff

                     is not within New York City, which is where the undersigned has his office.

         Executed thisWK day of June, 2021.


                                                                s/Roger A. Sachar
                                                                ROGER A. SACHAR




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                    EXHIBIT Q
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         SUPREME COURT FOR THE STATE OF NEW YORK
         COUNTY OF KINGS

          IN RE BED BATH & BEYOND INC.
          STOCKHOLDER DERIVATIVE                                    Lead Case: 516051/2020
          LITIGATION

                                                                    CONSOLIDATED VERIFIED
                                                                    SHAREHOLDER DERIVATIVE
          This Document Relates To:                                 COMPLAINT
          ALL ACTIONS




                 COMES NOW, Plaintiffs Mark Anthony and Robert Schneider (“Plaintiffs”), derivatively and

         on behalf of nominal defendant Bed Bath and Beyond, Inc. (“Bed Bath” or the “Company”) against

         certain current and/or former members of Bed Bath’s board of directors (the “Board”) and/or its

         officers for breaching their fiduciary duties. Plaintiffs base their allegations on personal knowledge as

         to their own acts, and on information and belief as to all other allegations, based upon due investigation

         by counsel, including: (a) review and analysis of public filings made by the Company and other

         persons with the United States Securities and Exchange Commission (“SEC”); (b) review and analysis

         of press releases and other publications caused to be disseminated by certain of the Defendants and

         other persons; (c) review of news articles, stockholder communications, and postings on Bed Bath’s

         website concerning the Company’s public statements; (d) review and analysis of complaints and other

         related materials in litigation commenced by and/or against the Company and/or its affiliates; (e)

         review of correspondence by and between Plaintiffs' counsel and counsel for Bed Bath; (f) documents

         (the “Production”) produced by the Company in response to Plaintiff Anthony's demand (the

         “Demand”) made pursuant to N.Y. Bus. Corp. L. Section 624 and New York common law; and (g)

         review of other publicly available information concerning Bed Bath and other persons.



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                                      INTRODUCTION AND OVERVIEW

                 1.      This is a stockholder derivative action brought by stockholders of Bed Bath on

         behalf of the Company against Defendants seeking to remedy violations of New York law, and

         harm resulting therefrom, from at least October 2019 to February 2020 that have caused, and

         continue to cause, substantial monetary losses to Bed Bath and other damages, including damages

         to the Company’s reputation and goodwill.

                 2.      Bed Bath is a big box retailer, focusing primarily on domestic merchandise and

         home furnishings. In addition to its Bed Bath and Beyond stores, Bed Bath operates under brand

         names such as Christmas Tree Shops, Harmon, buybuy BABY and Cost Plus World Market.

                 3.      In May 2019, as part of the resolution of an intense proxy contest led by three hedge

         funds raising concerns about severe mismanagement, the Company’s CEO and several Board

         members resigned. Four remaining members of the pre-existing Board remained and were joined

         by eight new directors.

                 4.      Defendant Mary A. Winston (“Winston”) who had been head of the Company’s

         Audit Committee, was named as the interim Chief Executive Officer (“CEO”), and a search for a

         new CEO commenced.

                 5.      Around the same time Winston took temporary control of the Company, Bed Bath

         announced the creation of a “Business Transformation and Strategy Review Committee” (the

         “BTSRC”), which would be comprised of individual Board members.

                 6.      The BTSRC was ostensibly to spearhead four “priorities” to turn around the

         Company.

                 7.      Chief among these priorities was to “aggressively reduce up to $1 billion of

         inventory at retail.”



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                8.       For purportedly serving on the BTSRC, various Board members received additional

         compensation.

                9.

                                                               .

                10.




                                                       .

                11.      Like many retailers focusing on the domestic markets, Bed Bath’s business is

         seasonal, and heavily tilted towards the holiday season; its busiest months are November and

         December.

                12.      As part of its leadership shakeup, Bed Bath announced that “[i]n the short term,

         more than approximately $350 million of inventory will be removed from our stores before the

         2019 holiday season.”

                13.      To monitor this inventory reduction, while still maintaining existing inventory to

         ensure that the Company’s shelves were stocked with key items for the upcoming holiday season,

         Bed Bath utilized “markdown optimization software,” manufactured by a company known as

         Revionics, which purportedly enabled the Company’s leadership to “thoughtfully” and

         “meaningfully” decrease aged and excess inventory, while still guarding the Company against

         margin erosion and sales cannibalization.

                14.      On October 9, 2019, Bed Bath named Defendant Mark Tritton (“Tritton”) as its

         new CEO, replacing Defendant Winston. For her roughly six months of work, Winston received



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         approximately $550,000 in salary, and $1.9 million in stock. Tritton officially took charge on

         November 4, 2019, and adopted Winston’s inventory reduction plan.

                   15.



                                                               .

                   16.




                   17.



                   18.   Had the Board conducted full oversight of the Company’s operations and inventory,

         they would have known that the Company had “poor inventory management” that led to margin

         erosion, cannibalized sales, and empty store shelves during the Company’s most important sales

         period.

                   19.   On December 17, 2019, there was an additional major shakeup in the Company’s

         leadership. On that date, the Company announced that Tritton had terminated its Chief

         Merchandising Officer, Marketing Officer, Digital Officer, General Counsel, and Chief

         Administrative Officer.

                   20.

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                   21.




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                                              .

                22.     On January 8, 2020, the truth gradually began to emerge, when Bed Bath

         completely withdrew its FY 2019 guidance. Bed Bath also reported a 3Q2109 adjusted loss of

         earnings per diluted share of $.38 (analysts had predicted a $.02 profit per diluted share), and an

         8.3% plunge in comparable sales.

                23.     Completely withdrawing earnings guidance is exceedingly rare—




                24.




                25.     Tritton explained that the poor performance “was impacted to some extent by self-

         inflicted issues, like poor inventory management[.]”

                26.     On this news, the Company’s stock fell 19%.

                27.



                28.



                29.     Not until February 11, 2020 was the full depth of the Company’s holiday season

         problem revealed.




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                30.     On that date, the Company revealed that its poorly-executed inventory reduction

         plan had backfired, and disclosed a “5.4% decline in comparable sales driven primarily by store

         traffic declines combined with inventory management issues,” which included “inventory within

         certain key categories in the [Bed Bath] assortment [were] too low or out-of-stock during the

         period.”

                31.     In other words, because of the inventory reduction plan, the Company’s shelves

         were missing key sales items during the Company’s most important sales period.

                32.



                                                              .

                33.     Making matters worse,




                                                        the Company was repurchasing shares, including:

         76,700 shares between October 27, 2019 and November 30, 2019; 30,900 shares between

         December 1, 2019 and December 29, 2019; 2,600 shares between December 29, 2019 and January

         25, 2020; and an additional 5,400 shares between January 26, 2020 and February 29, 2020.

                34.

                                           .

                35.     No prudent board would have continued to repurchase its company's stock, at

         inflated rates, knowing its stock price did not reflect severe inventory management issues.

                36.     Following the corrective disclosures, Plaintiff Anthony sent a demand for books

         and records to the Company pursuant to N.Y. Bus. Corp. L. Section 624 and New York common



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         law to investigate possible breaches of fiduciary duty and other wrongdoing relating to the events

         described herein.

                37.     After receiving the Demand and conferring with counsel, the Company agreed to

         produce a subset of the documents requested in the Demand (the “Production”).

                38.     Over the next few months, the Company, through counsel, provided



                39.




                                             .

                40.     As a result of the Board’s abject failure to oversee the Company’s operations, Bed

         Bath, along with Tritton, Winston, and Defendant Robyn M. D’Elia (“D’Elia”), Bed Bath’s former

         Chief Financial Officer (“CFO”) (who participated in the investor calls and public statements

         where the misstatements were made), are defendants in a securities class action, styled Vitello, et

         ano. v Bed Bath & Beyond, Inc., et al., No. 2:20-cv 04240 (D.N.J.) (the “Securities Class Action”).

                41.     Plaintiffs have instituted this action derivatively, because demand on the current

         Board would be a useless and futile act.

                42.




                                                                In the wake of that dereliction, the Company

         suffered severe financial and reputational harm.

                                         JURISDICTION AND VENUE

                43.     This Court has jurisdiction over the Nominal Defendant pursuant to CPLR Section
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         301 in that Bed Bath is a New York corporation, regularly transacts business in the State of New

         York, and the events giving rise to this Complaint occurred, in whole or in part, within the State of

         New York.

                44.     This Court has jurisdiction pursuant to CPLR Section 301 over all the Defendants

         based on their current or former membership on Bed Bath’s Board and in light of the fact that their

         actions giving rise to this Complaint occurred, in whole or in part, within the State of New York.

                45.     Venue is proper in this Court under CPLR Section 503(a) because one or more of

         the parties reside or maintains executive offices in Kings County, a sufficient portion of the

         transactions and wrongs described herein took place in Kings County, and Defendants received

         substantial compensation in Kings County by doing business here and engaging in numerous

         activities that had an effect in Kings County.

                                                     PARTIES

                46.     Plaintiff Michael A. Anthony was a shareholder of Bed Bath during the time of the

         wrongdoing complained of herein, has continuously been a shareholder of Bed Bath since that

         time, and remains a current shareholder of Bed Bath.

                47.     Plaintiff Robert Schneider was a stockholder of Bed Bath & Beyond at the time of

         the wrongdoing complained of, has continuously been a stockholder since that time, and remains

         a current shareholder of Bed Bath.

                48.     Nominal Defendant Bed Bath & Beyond, Inc. is a New York corporation with its

         corporate headquarters located at 650 Liberty Avenue Union, New Jersey 07083.

                49.     Defendant Tritton has been a Bed Bath director, President & CEO and since

         November 2019. Between November 2019 to June 2020, Defendant Tritton was a member of the

         BTSRC. Defendant Tritton is also a defendant in the Securities Class Action. For 2019 fiscal year,



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         in exchange of his purported trust, loyalty, and fidelity to Bed Bath, Defendant Tritton received

         $13,764,398, in total compensation.

                50.      Defendant Mary A. Winston has been a Bed Bath director since May 2019.

         Between May 2019 to November 2019, Defendant Winston served as Bed Bath’s interim CEO.

         Between November 2019 to June 2020, Defendant Winston was a member of the BTSRC.

         Defendant Winston is also a defendant in the Securities Class Action. For 2019 fiscal year, in

         exchange of her purported trust, loyalty, and fidelity to Bed Bath, Defendant Winston received

         $2,480,006, in total compensation.

                51.      Defendant Robyn M. D’Elia was Bed Bath’s CFO from July 2018 to May 2020.

         Defendant D’Elia is a defendant in the Securities Class Action. Between 2015 to 2018, Defendant

         D’Elia was Bed Bath’s Vice President of Finance. For 2019 fiscal year, in exchange of her

         purported trust, loyalty, and fidelity to Bed Bath, Defendant D’Elia received $2,334,406, in total

         compensation.

                52.      Defendant Stephanie Bell-Rose (“Bell-Rose”) has been a Bed Bath director from

         May 2018 to the present. For 2019 fiscal year, in exchange of her purported trust, loyalty, and

         fidelity to Bed Bath, Defendant Bell-Rose received $175,190, in total compensation.

                53.      Defendant Harriet Edelman (“Edelman”) has been a Bed Bath director from May

         2019 to the present. Defendant Edelman served as Chairperson of the Company’s Audit

         Committee from July 2019 to May 2020. For 2019 fiscal year, in exchange of her purported trust,

         loyalty, and fidelity to Bed Bath, Defendant Edelman received $182,532, in total compensation.

                54.      Defendant John E. Fleming (“Fleming”) has been a Bed Bath director from May

         2019 to the present. Between July 2019 to June 2020, Defendant Fleming was a member of the

         BTSRC. For 2019 fiscal year, in exchange of his purported trust, loyalty, and fidelity to Bed Bath,



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         Defendant Fleming received $174,479, in total compensation. Defendant Fleming’s 2019

         compensation included an additional $10,000 for his purported service in the BTSRC.

                55.     Defendant Patrick R. Gaston (“Gaston”) was a Bed Bath director from 2007 to May

         2020. Defendant Gaston served as Chairman of the Board between April 2019-May 2020.

         Defendant Gaston also served on the BTSRC from July 2019 to June 2020. For 2019 fiscal year,

         in exchange of his purported trust, loyalty, and fidelity to Bed Bath, Defendant Gaston received

         $423,943, in total compensation. Defendant Gaston’s 2019 compensation included an additional

         $10,000 for his purported service in the BTSRC.

                56.     Defendant Sue E. Gove (“Gove”) has been a Bed Bath director from May 2019 to

         the present. In 2019, Defendant Gove served on the Company’s Nominating and Corporate

         Governance Committee. Since August 2020, Defendant Gove has been a member of the

         Company’s Audit Committee. For 2019 fiscal year, in exchange of her purported trust, loyalty,

         and fidelity to Bed Bath, Defendant Gove received $159,294, in total compensation.

                57.     Defendant Jeffrey A. Kirwan (“Kirwan”) has been a Bed Bath director from May

         2019 to the present. Defendant Kirwan served on the BTSRC from July 2019 to June 2020. For

         2019 fiscal year, in exchange of his purported trust, loyalty, and fidelity to Bed Bath, Defendant

         Kirwan received $157,099, in total compensation. Defendant Kirwan’s 2019 compensation

         included an additional $10,000 for his purported service in the BTSRC.

                58.     Defendant Johnathan B. Osborne (“Osborne”) has been a Bed Bath director from

         April 2018 to the present. Between July 2019 to June 2020, Defendant Osborne was a member of

         the Company’s Audit Committee. Additionally, Defendant Osborne was a member of the BTSRC

         between July 2019 to June 2020. For 2019 fiscal year, in exchange of his purported trust, loyalty,

         and fidelity to Bed Bath, Defendant Osborne received $195,379, in total compensation. Defendant



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         Osborne’s 2019 compensation included an additional $10,000 for his purported service in the

         BTSRC.

                59.     Defendant Harsha Ramalingam (“Ramalingam”) has been a Bed Bath director from

         May 2019 to the present. Defendant Ramalingam was a member of the BTSRC between July 2019

         to June 2020. For 2019 fiscal year, in exchange of his purported trust, loyalty, and fidelity to Bed

         Bath, Defendant Ramalingam received $168,610, in total compensation. Defendant Ramalingam’s

         2019 compensation included an additional $10,000 for his purported service in the BTSRC.

                60.     Defendant Virginia P. Ruesterholz (“Ruesterholz”) has been a Bed Bath director

         since 2017. Defendant Ruesterholz is the Chairperson of the Nominating and Corporate

         Governance Committee. Defendant Ruesterholz is also a member of the Company’s Audit

         Committee and has been since July 2019. For 2019 fiscal year, in exchange of her purported trust,

         loyalty, and fidelity to Bed Bath, Defendant Ruesterholz received $204,015, in total compensation.

                61.     Defendant Joshua Schechter (“Schechter”) has been a Bed Bath director from May

         2019 to the present. Since June 2020, Defendant Schechter has been the Chairperson of the

         Company’s Audit Committee. For 2019 fiscal year, in exchange of his purported trust, loyalty, and

         fidelity to Bed Bath, Defendant Schechter received $157,099, in total compensation.

                62.     Defendant Andrea Weiss (“Weiss”) has been a Bed Bath director from May 2019

         to the present. Defendant Weiss is a member of the Audit Committee. Between July 2019 to June

         2020, Defendant Weiss was also served as the Chairperson of the BTSRC. For 2019 fiscal year, in

         exchange of her purported trust, loyalty, and fidelity to Bed Bath, Defendant Weiss received

         $180,505, in total compensation. Defendant Weiss’ 2019 compensation included an additional

         $20,000 for her purported service as a Chair in the BTSRC.




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                63.     Defendant Ann Yerger (“Yerger”) has been a Bed Bath director from May 2019 to

         the present. Defendant Yerger is a member of Compensation Committee and Nominating and

         Corporate Governance Committee. For 2019 fiscal year, in exchange of her purported trust,

         loyalty, and fidelity to Bed Bath, Defendant Yerger received $166,886, in total compensation.

                64.     Defendants Tritton, Edelman, Fleming, Gove, Kirwan, Osborne, Ramalingam,

         Ruesterholz, Schechter, Weiss, Winston, and Yerger are referred to herein as the “Current Board

         Defendants.”

                65.     Collectively, the Current Board Defendants and Gaston, are referred to herein as

         the “Board Defendants.”

                          GENERAL FIDUCIARY DUTIES OF THE DEFENDANTS

                66.     The Board Defendants had and have stringent fiduciary obligations to Bed Bath

         and its shareholders.

                67.     By reason of their positions as Officers, Directors, and/or Fiduciaries of Bed Bath

         the Board Defendants owed and owe Bed Bath and its shareholders fiduciary obligations of loyalty,

         good faith, due care, disclosure, and candor and were and are required to use their utmost ability

         to control and manage Bed Bath in a fair, just, honest, and equitable manner. The Board Defendants

         were and are required to act in furtherance of the best interest of Bed Bath, and its shareholders,

         so as to benefit all shareholders equally and not in furtherance of their personal interest or benefits.

                68.     Each director and officer of Bed Bath owed and owes to Bed Bath and its

         shareholders the fiduciary duty to exercise good faith, loyalty, and diligence in the administration

         of the affairs of the Company and in the use and preservation of its property and assets and to

         uphold the highest obligations of fair dealing. In addition, as officers and/or directors of a publicly

         held company, the Defendants had a duty to disseminate promptly accurate and truthful



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         information with regard to the Company and its financial health and growth prospects.

                69.      The Board Defendants, because of their positions of control and authority as

         directors and/or officers of Bed Bath were able to, and did, directly and/or indirectly, exercise

         control over the wrongful acts complained of herein, as well as the contents of various public

         statements issued by Bed Bath. Because of their advisory, executive, managerial, and directorial

         positions with Bed Bath, each of the Board Defendants had access to adverse, non-public, material

         information about the operations of Bed Bath.

                70.      At all times relevant hereto, each Board Defendant was the agent of the other

         Defendants and of Bed Bath and was at all times acting within the course and scope of such agency.

                71.      To discharge their duties, the officers and directors of Bed Bath were required to

         exercise reasonable and prudent supervision over the management, policies, practices, and controls

         of the operational affairs of the Company. By virtue of such duties, the officers and directors of

         Bed Bath were required to, among other things:

                      a. Conduct the affairs of the Company in an efficient, businesslike manner so

                         as to make it possible to provide the highest quality performance of its

                         business, to avoid wasting the Company’s assets, and to maximize the

                         Company’s value;

                      b. Ensure that the Company complied with all legal obligations and

                         requirements, including state and federal laws relating to the procurement

                         regulations.

                      c. Ensure that the Company was operated in a diligent, honest, and prudent

                         manner.

                72.      Each of the Board Defendants, by virtue of their position as a director and/or officer



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         of Bed Bath, owed to the Company and to its shareholders the fiduciary duties of loyalty, good

         faith, due care, disclosure and candor in the management and administration of the affairs of the

         Company. The conduct of the Board Defendants complained of herein involves a knowing and

         culpable violation of their obligations as directors and officers of Bed Bath, the absence of good

         faith on their part, and a reckless disregard for their duties to the Company and its stockholders.

         The Board Defendants were aware, or should have been aware, that those violations, absences of

         good faith, and the reckless disregard of duties posed a risk of serious injury to the Company.

                73.     Because of their positions with the Company, and their access to material non-

         public information available to them, Bed Bath, through the Board Defendants, knew that the

         adverse facts specified herein had not been disclosed to and were being concealed from the public.

         As a result of the Board Defendants’ misconduct, the Company has suffered significant damages.

         Further, various Company executives, as described herein, misled investors and allowed the

         Company to breach its customer contracts for which the Company stands liable.

                       DUTIES DERIVED FROM THE COMPANY’S CORPORATE
                                  GOVERNANCE DOCUMENTS

                74.     According to the Company’s Policy of Ethical Standards for Business Conduct, the

         Company’s employees’, executives’ and board members’ responsibilities are described as follows:

                 All individuals shall conduct their business affairs on behalf of the Company in
                 accordance with all applicable laws of the United States and other governmental
                 jurisdictions in which the Company does business, and shall observe the highest
                 standards of business ethics. Specifically, and without limitation: …

                        • All individuals must display the highest standard of legal and ethical
                        behavior with respect to the intellectual property rights of third parties.

                         • All individuals involved in the preparation, review and filing of financial
                        reports and other information for public disclosure regarding the Company
                        must accurately record all financial dealings and comply with the laws and
                        regulations regarding such activities. All associates who provide


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                       information as a part of this process must comply with the Company’s
                       disclosure controls and procedures.

                75.    According to the Company’s Corporate Governance Guidelines, the Company’s

         board members’ responsibilities are described as follows:

                As part of its oversight responsibility, the Board receives at least annually a report
                on the material risks facing the Corporation, which risks are identified through the
                Corporation’s Enterprise Risk Management (“ERM”) process. This report is
                presented to the Audit Committee by a committee of key executives representing
                legal, finance and internal audit (the “Executive Risk Committee”), and results from
                a formal process where members of the Executive Risk Committee meet with
                executives of each principal business function to identify and assess the significant
                risks in each such business function’s areas of responsibility. The members of the
                Executive Risk Committee then analyze with those executives what risk mitigation
                efforts are or should be in place to eliminate or reduce such risks to acceptable
                levels, where possible, and then engage on these matters with the Audit Committee,
                which then reports to the full Board. In the annual ERM report, areas of risk and
                mitigation efforts reviewed with the Audit Committee and the full Board, in
                furtherance of the Board’s oversight responsibilities, generally include: general
                business risks, such as economic forces, competition and weather; employment-
                related risks, such as recruitment and retention, succession, labor costs and
                associate relations; data security risks with respect to the Corporation, associate and
                customer data; compliance risks associated with the range of legal, accounting, tax
                and financial reporting systems under which the Corporation operates; supply chain
                risks, including disruption arising from political instability or labor disturbances,
                supplier financial stability and legal compliance; and compliance with a variety of
                product, labor, social and environmental standards. The Audit Committee and the
                full Board are updated on certain risks more frequently than annually, upon request
                or as developments warrant.

                The ERM process and report to the Audit Committee, and the Audit Committee’s
                report to the full Board, also informs the more detailed Risk Factor disclosure in
                the Corporation’s annual report on Form 10-K, filed with the Securities and
                Exchange Commission.

                76.    According to the Charter of the Audit Committee of the Board of Directors of Bed

         Bath, the Audit Committee members’ responsibilities are described as follows:

                The Committee shall oversee the Corporation’s accounting and financial reporting
                processes and the audits of the Corporation’s financial statements.

                The Committee shall be directly responsible for the appointment, compensation,
                retention and oversight of the work of any registered public accounting firm
                engaged (including resolution of disagreements between management and the
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                Corporation’s outside auditor regarding financial reporting) for the purpose of
                preparing or issuing an audit report or performing other audit, review or attest
                services for the Corporation. Each such registered public accounting firm shall
                report directly to the Committee.

                                                         ***

                Review with management and the outside auditor significant financial reporting
                issues and judgments made in connection with the preparation of the Corporation’s
                financial statements, including analyses of critical accounting policies and analyses
                of the effects of alternative GAAP methods on the financial statements.

                The Committee shall review the Corporation’s annual audited financial statements,
                including any certification, report or opinion rendered by the Corporation’s outside
                auditor, and discuss the same with management and the auditor. The Committee
                shall recommend to the Board whether the annual financial statements should be
                included in the Corporation’s Annual Report on Form 10-K.

                The Committee shall review and discuss with the Company’s outside auditors and
                management the Company’s quarterly financial statements and review and discuss
                the Company’s quarterly reports on Form 10-Q and annual reports on Form 10-K
                before such reports are filed with the Securities Exchange Commission (the
                “SEC”), including the disclosure under “Management’s Discussion and Analysis
                of Financial Condition and Results of Operations.”

                                                         ***

                The Committee shall review with management the Corporation’s financial
                reporting processes, internal control over financial reporting and disclosure controls
                and procedures, the outside auditors' report on the effectiveness of the
                Corporation’s internal control over financial reporting and the required
                management certifications to be included in or attached as exhibits to the
                Company's annual report on Form 10-K or quarterly report on Form 10-Q, as
                applicable.

                77.    According to the Charter of the Nominating and Corporate Governance Committee

         of the Board of Directors of Bed Bath, the Committee members’ responsibilities are described as

         follows:

                The Committee shall review the Board’s committee structure and composition and
                make recommendations to the Board regarding the performance, composition,




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                  duties and responsibilities of each committee and the appointment of directors to
                  serve as members and chairs of each committee.

                                                        ***

                  The Committee shall review and evaluate the compensation of directors annually,
                  including the appropriate mix of cash compensation and equity compensation, and
                  make recommendations to the Board regarding director compensation.

                                        SUBSTANTIVE ALLEGATIONS

             I.   THE COMPANY’S TRANSFORMATION PLAN

                  78.    Bed Bath is a retailer that sells a wide assortment of domestic merchandise and

         home furnishings.

                  79.    On April 17, 2019, a group of activist shareholders filed a Proxy Statement with

         the SEC pressuring the Company to restructure its leadership, to whom it attributed a decade of

         underperformance. The activist shareholders critiqued the Company’s directors’ “lack of relevant

         retail expertise and stale perspectives” and demanded that the Company undertake series of

         changes to address the Company’s stagnant inventory and weak margins. The Proxy Statement

         stated that the activist shareholders’ “slate of director nominees is committed to executing on a

         strategic plan” prioritizing initiatives such as “addressing the Company’s weak sales, improving

         gross margins, [and] optimizing inventory levels.”

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                      82.                       :

                      WHEREAS, the Board of Directors has determined that it is appropriate to



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                      83.   That same day, the Company issued a press release, announcing the Board

         members’ departure, and the formation of the Business Transformation and Strategy Review

         Committee. 4

                      84.   In early May 2019, Bed Bath’s then-CEO Steven Temares resigned from his role,

         and Winston, who had been named to the Board a few days prior, was named as the Company’s

         interim CEO, and eight new directors were appointed to the Board.

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                       90.   According to a Form 8-K filed with the SEC 12 on June 3, 2019, the following

         individuals had been named to the BTSRC:

                       Andrea M. Weiss, Chair
                       John E. Fleming
                       Patrick R. Gaston
                       Jeffrey A. Kirwan
                       Johnathan B. Osborne
                       Harsha Ramalingam

                       91.

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              Ex. 6.
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              Gallagher & Co., consultants to the Committee.

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                     93.    On July 10, 2019, as part of the Fiscal 2019 First Quarter Earnings Call, the

         Company issued a PowerPoint presentation. 16 That presentation disclosed, as part of “Critical

         Work of the Board of Directors,” that the Company had “Formed the Business Transformation and

         Strategy Review Committee,” which would “Review and evaluate the ongoing business

         transformation” and “Make recommendations on how to accelerate the Company’s evolution.” 17

                     94.

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              Id. at p. 5
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                    108.



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                    109.   On September 4, 2019, Winston issued a letter 38 to Bed Bath’s shareholders and

         announced the Board’s and management’s key priorities, which were: “stabilizing and driving top-

         line growth; resetting the cost structure; reviewing and optimizing the Company’s asset base,

         including the portfolio of retail banners; and refining Bed Bath & Beyond’s organization



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              Ex. 16.

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         structure.” The letter further provided that the Company’s plan for reviewing and optimizing its

         asset base was:

                 An aggressive reduction of up to $1 billion of inventory is expected to be executed
                 over the next 18 months, including the removal of excess aged inventory from
                 our stores anticipated before the 2019 holiday season. This effort should allow us
                 to quickly reset inventory levels in both our stores and distribution centers, as well
                 as refresh our assortment, providing for newness and higher-margin products, all in
                 an effort to drive customer traffic and support top-line performance.


                 110.

                                  , 39                                                               .

                 111.
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                 112.    On October 2, 2019, the Company filed a Form 8-K with the SEC reporting BED

         BATH’s 2019 second quarter results. The Form 8-K announced that more than “$350M of

         inventory (at retail) to be removed from Bed Bath & Beyond stores before 2019 holiday season”

         and quoted Winston’s rosy statements concerning the new management’s transformation plan,

         stating, in pertinent part:

                 We are making good progress against our four key near-term priorities,
                 including: (1) stabilizing sales and driving top-line growth; (2) resetting the cost
                 structure; (3) reviewing and optimizing the Company’s asset base, including the
                 portfolio of retail banners; and (4) refining our organization structure. Our second
                 quarter financial results reflect the relentless effort of our teams and our progress
                 in driving the Company’s transformation efforts to delight our customers,




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                    enhance our competitive position, improve our financial performance, and drive
                    shareholder value.

                    113.   The October 2nd Form 8-K also announced that “[f]or the fiscal 2019 second

         quarter, the Company reported a net loss of $1.12 per diluted share $138.8 million, which included

         an unfavorable impact of approximately $1.46 per diluted share from charges related to the first

         wave of transformation initiatives” and slightly lowered Company’s 2019 fiscal year guidance for

         diluted earnings per share (“EPS”) to between $2.08 and $2.13.

                    114.   Despite these negative results, during a conference call that same day, D’Elia

         downplayed the risks associated with the Company’s “aggressive reduction” plan to review and

         optimize its asset base and stated that the transformation plan would not be “cannibaliz[ing] sales

         during holiday period.”

                    115.   In fact, Winston reassured investors that the Company was managing the

         transformation plan “thoughtfully to prevent cannibalization of sales[,]” and trumpeted the

         Company’s systems in place to prevent cannibalization of sales and stated that “[t]o optimize this

         inventory off-load the company is [inter alia] employing markdown optimization software to

         speed the process.”

                    116.   Among other software, Bed Bath was utilizing Revionics’ software, which enabled

         the management to access weekly inventory reports and real time data reflecting the progress of

         the new transformation plan.

                    117.   As revealed by the former employee statements referenced in the Securities Class

         Action Complaint,41 senior Bed Bath management, including Winston and D’Elia, were receiving




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              Ex. 19.

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         detailed Revionics reports demonstrating data on inventory levels, pricing, and margins and were

         conducting weekly meetings at its Union, New Jersey Headquarters regarding the same. 42

                     118.   Former employees also stated that the Company utilized JDA software for general

         inventory management, which was geared towards “price optimization,” as a secondary software

         to Revionics. 43

                     119.   On October 9, 2019, Bed Bath announced that Tritton would be the Company’s

         new CEO, replacing Winston.

                     120.   On the same day, the Company filed a Form 10-Q with the SEC and echoed

         previous statements concerning the transformation plan. With respect to the Company’s inventory

         levels, the Form 10-Q reported that:

                     Retail inventory, which includes inventory in the Company’s distribution facilities
                     for direct to customer shipments, was approximately $2.3 billion at August 31,
                     2019, a decrease of 17.8% compared to retail inventory at September 1, 2018. The
                     Company continues to focus on its inventory optimization strategies.

                     121.

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              Id. at 5.
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              Id. at 20.
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                   122.                                                            ”48



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                        126.   On December 17, 2019, Bed Bath announced via a press release an “extensive

         restructure of its leadership team, including departure of six senior members.” According to the

         press release, the Chief Brand Officer, resigned the prior week and the Chief Merchandising

         Officer, Chief Marketing Officer, Chief Digital Officer, Chief Legal Officer & General Counsel,

         and Chief Administrative Officer were leaving their positions. This executive reshuffle reflected

         “the priorities of new President and CEO, Mark Tritton, who will launch his new vision for the

         Company in early 2020.”

                        127.
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                  II.          THE FAILURE OF THE TRANSFORMATION PLAN IS REVEALED

                        128.   Following the major leadership shakeup and the positive statements concerning the

         “aggressive” inventory reduction plan, the truth about the transformation plan was finally revealed

         on January 8, 2020. On that day, the Company filed its Form 8-K with the SEC, reporting its third




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         quarter of 2019 results, and announced that the Company withdrew its financial guidance for 2019

         fiscal year completely.

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                130.    In particular part, the January 8, 2020 Form 8-K reported that:

                The Company expects its sales and profitability to remain pressured during the
                fiscal 2019 fourth quarter. Considering these headwinds reflected in the Company’s
                results to date, and the ongoing work by recently appointed President & CEO Mark
                Tritton to assess the business and finalize the details of the Company’s go-forward
                strategic plan as well as the extensive senior leadership changes within the past
                month, the Company believes it is appropriate to withdraw its fiscal 2019 full year
                financial guidance.

                131.    On this news the Company’s share price dropped almost 20%, falling $3.20 to close

         at $13.40 per share on January 9, 2020.

                132.    On February 11, 2020, the Company filed a Form 8-K with the SEC announcing

         preliminary, unaudited financial performance data for the first two months of the 2019 fourth

         quarter. These results showed that Bed Bath’s “gross margin during the first two months of the

         fiscal 2019 fourth quarter declined around 300 basis points primarily due to an unfavorable

         impact on merchandise margin from promotional activity during the period.”

                133.    Moreover, the results demonstrated “a 5.4% decline in comparable sales driven

         primarily by store traffic declines combined with inventory management issues” including that

         “inventory within certain key categories in the [Bed Bath’s] assortment [were] too low or out-of-


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         stock during the period.” More disturbingly, the Company announced that it is “immediately

         reforming its internal planning and inventory management procedures to master the

         fundamentals,” indicating that the Company was not previously mastered the fundamentals with

         inventory issues, contrary to the public statements made regarding the transformation plan.

                134.    On this news, Bed Bath’s share price dropped again by over 20% to close at $11.79

         per share on February 12, 2020, wiping out $388 million in market capitalization, on heavy trading

         volume.

                135.    On February 18, 2020, during a conference call with the investors, Tritton admitted

         that Bed Bath’s did not “have price management floated properly [] coming into the third and

         fourth quarter”, which indicated that the transformation plan was significantly flawed from the

         start. During the same call, Tritton detailed the inventory issues Bed Bath’s was facing by stating:

                [Bed Bath’s] had a double-edged sword in terms of inventory, and I would talk to,
                firstly, the negative in that we’ve been dealing with some out-of-stocks in terms of
                our primary items that have been driving our business traditionally and that’s
                what’s hurt us in the third and fourth quarter…. So, on that inventory side, we
                didn’t have enough of the right stuff…. We just need to course-correct in terms of
                the mix of merchandise and our focus.

                136.    On April 15, 2020, Bed Bath’s filed its Form 8-K with the SEC announcing its

         financial results for its 2019 fiscal fourth quarter and full year. April 15th Form 8-K reported that

         2019 fiscal years diluted EPS of $.46, which was a far cry from the Company’s earlier expectations

         of $2.08 to $2.13. On the same day, during a conference call with the investors, Tritton

         acknowledged that Bed Bath’s was aware of the inventory management issues, which were in part

         “self-inflicted.” In fact, he admitted that Bed Bath’s was watching inventory issues “hour by




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         hour” in late November 2019 and they knew the Company was “plagued by issues in December

         [2019] and January.” In relevant part, he admitted that:

                We knew we were plagued by issues in December and January,…[s]ome of it was
                self-inflicted. I mean when we don’t have best sellers in stock, we’ve got
                discounting and we don’t have our inventory. I mean some of the sales decline
                we saw in our stores wasn’t necessarily traffic. We did some intel work on that,
                saw the customers were coming in, and they just couldn’t find the product in
                stock. So we were shooting ourselves in the foot.

                137.    Moreover, during the same call, Tritton blamed Bed Bath’s departure from coupon

         marketing to an unprecedented promotion scheme for Bed Bath’s “burn[ed]” inventory and

         margins. In particular part, he stated that:

                [W]e entered into promotional activity in a way that we hadn’t ever before, Seth.
                I think that if we go back to the end of the third quarter, start of the fourth quarter,
                it was the first time we’d ever really been truly promotional outside of coupon.
                And we really didn’t lay down the plans to get there in the right way. So we burn
                the margin and we burn a lot of inventory and weren’t prepared to get back into
                stock. So they’re kind of tough learnings.

                138.    On April 30, 2020, Bed Bath announced that D’Elia had resigned. On July 14, 2020,

         Bed Bath filed a Form 8-K with the SEC announcing its 2020 first quarter results. This Form 8-K

         reported that the time frame for the “removal of about $1 billion of inventory at retail from [Bed

         Bath’s] stores” was extended from 18 months to 36 months.

         III.   THE COMPANY'S INTERNAL BOOKS AND RECORDS SHOW A DEARTH OF
                OVERSIGHT

                139.    On February 9, 2021, Plaintiff Anthony sent the Books and Records Demand to the

         Company seeking to investigate possible breaches of fiduciary duty and other wrongdoing relating

         to the events described above.

                140.




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                141.

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                143.




                144.

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                146.



                147.   The Board formed the BTSRC specifically to oversee the Company’s

         transformation plan.

                148.   BTSRC Board members were amply compensated for service on that committee.

                149.



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                150.



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                151.



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                152.




                    IV.          DAMAGES TO THE COMPANY

                153.      As a result of the Defendants’ failure to exercise oversight, the Company’s

         credibility has been devastated, as demonstrated by the Company’s 33% (approximately $752

         million) market capitalization loss that occurred once the truth emerged.

                154.      Due to the Board’s failure to oversee the Company’s transformation plan, the

         Company incurred significant lost revenue in the second half of 2019.

                155.      Further, by failing to oversee the Company’s transformation plan, the Board

         negatively impacted Bed Bath’s ability to attract new customers, and retain existing ones.

                156.      And, Bed Bath has expended costs incurred investigating and defending the

         Company, Tritton, Winston, and D’Elia in the Securities Class Action, plus potentially hundreds

         of millions of dollars in settlement or to satisfy an adverse judgment.

                157.      The Company has paid director and executive compensation, bonuses, and benefits

         to individuals breaching their fiduciary duties, including during the period in which the Board, and

         BTSRC, completely abnegated their responsibilities.

                158.      Finally, between October 27, 2019, and December 28, 2019

                                                                                              the Company

         repurchased nearly 120,000 shares of its common stock, at vastly inflated rates, overpaying by



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         hundreds of thousands of dollars. Additionally, the Company also repurchased 2,600 shares

         between December 29, 2019 and January 25, 2020, and 5,400 shares between January 26, 2020

         and February 29, 2020 at artificially inflated prices.

                   159.



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                   160.   Thus, the continued repurchases at inflated prices are attributable to the Board’s

         failure to conduct oversight.

          V.       DERIVATIVE ALLEGATIONS

                   161.   Plaintiffs bring this action derivatively in the right of and for the benefit of the

         Company to redress injuries suffered, and to be suffered, by the Company as a direct result of the

         violations of state and federal law, including breaches of fiduciary duty by the Defendants named

         herein.

                   162.   The Company is named as a nominal defendant in this case solely in a derivative

         capacity. This is not a collusive action to confer jurisdiction on this Court that it would not

         otherwise have. The Plaintiffs were stockholders of the Company at the time of the transgressions

         of which they complain and continue to be stockholders of the Company. Plaintiffs will adequately

         and fairly represent the interests of the Company and its stockholders in prosecuting and enforcing




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         their rights. Prosecution of this action, independent of the current Board, is in the best interests of

         the Company.

                   163.   The wrongful acts complained of herein subject, and will continue to subject, the

         Company to continuing harm because the adverse consequences of the actions are still in effect

         and ongoing.

             VI.          DEMAND FUTILITY

                   164.   Plaintiffs have not made a demand on the Board to institute this action against the

         Defendants. Such demand would be futile and useless because, at the time this shareholder

         derivative litigation was initiated, the Board was incapable of making an independent and

         disinterested decision to institute and vigorously prosecute this action.

                   165.   At the time this action was initiated, the Board of Bed Bath consists of twelve (12)

         directors: Mark J. Tritton, Harriet Edelman, John Fleming, Sue E. Gove, Jeffrey Kirwan,

         Johnathan B. Osborne, Harsha Ramalingam, Virginia P. Ruesterholz, Joshua Schechter, Andrea

         Weiss, Mary A. Winston, and Ann Yerger.

                   166.   If demand is futile against seven (7) of twelve (12) of these directors then demand

         on the Board would be futile. Here, demand is futile for all the Current Board Defendants.

                   167.   First, the Current Board Defendants Tritton and Winston are named defendants in

         the Securities Class Action and could not consider instituting this litigation without compromising

         their defense of the Securities Class Action.

                   168.   Second, the Current Board Defendants Tritton, Winston, Weiss, Fleming, Kirwan,

         Osborne, and Ramalingam all served on the BTSRC and received additional compensation for so

         doing.




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                169.




                170.




                171.    Defendants Edelman, Osborne, Ruesterholz, Schechter, and Weiss, as members of

         the Audit Committee, reviewed and approved the improper statements. The Audit Committee’s

         Charter provides that it is responsible for compliance with legal and regulatory requirements. Thus,

         the Audit Committee Defendants were responsible for knowingly or recklessly allowing the

         improper statements related to the Company’s earnings guidance and financial and disclosure

         controls. Moreover, the Audit Committee Defendants reviewed and approved the improper press

         releases made to the public. Despite their knowledge or reckless disregard, the Audit Committee

         Defendants caused these improper statements. Accordingly, the Audit Committee Defendants

         breached their fiduciary duty of loyalty because they participated in the wrongdoing described



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         herein. Thus, the Audit Committee Defendants face a substantial likelihood of liability for their

         breach of fiduciary duties so any demand upon them is futile.

                 172.   Accordingly, having failed to exercise the most basic functions of prudential

         oversight, the entire Board faces a substantial likelihood of liability for their breaches of fiduciary

         duties, so any demand on them is futile.

                 173.   The principal professional occupation of defendant Tritton is his employment with

         Bed Bath & Beyond, pursuant to which he has received and continues to receive substantial

         monetary compensation and other benefits as alleged above. Accordingly, defendant Tritton lacks

         independence from defendants Edelman, Fleming, Gove, Kirwan, Osborne, Ramalingam,

         Ruesterholz, Schechter, Weiss, Winston, and Yerger due to his interest in maintaining his

         executive position at Bed Bath & Beyond. This lack of independence renders defendant Tritton

         incapable of impartially considering a demand to commence and vigorously prosecute this action.

         Bed Bath paid defendant Tritton the following compensation:

                                                                  Non-Equity
                                                   Stock        Incentive Plan     All Other
          Year       Salary          Bonus        Awards        Compensation     Compensation         Total

          2019      $346,154        $375,000    $11,632,199       $750,000          $661,045      $13,764,398


         Accordingly, defendant Tritton is incapable of impartially considering a demand to commence and

         vigorously prosecute this action because he has an interest in maintaining his principal occupation

         and the substantial compensation he receives in connection with that occupation. Demand is futile

         as to defendant Tritton.


                                                     COUNT I
                                            Breach of Fiduciary Duty
                                       (Derivatively Against all Defendants)

                 174.   Plaintiffs incorporate by reference and re-alleges each and every allegation


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         contained in paragraphs 1 to 173, as though fully set forth herein.

                175.     Each of the Board Defendants owed the Company fiduciary obligations. By reason

         of their fiduciary relationships, the Board Defendants owed the Company the highest obligation of

         loyalty, good faith, due care, oversight, fair dealing, candor and disclosure to stockholders.

                176.     These Defendants, and each of them, violated and breached their fiduciary duties

         of loyalty, good faith, due care, oversight, fair dealing, candor and disclosure to the Company’s

         stockholders.

                177.     Each of these Defendants failed to conduct proper oversight of the Company, as

         described above.

                178.     Such conduct could not have been a good faith exercise of prudent business

         judgment to protect and promote the Company’s corporate interests.

                179.     In addition, by their actions alleged herein, the Defendants, either directly or

         through aiding and abetting one another, abandoned and abdicated their responsibilities and

         fiduciary duties with regard to prudently managing the assets and business of Bed Bath in a manner

         consistent with the operations of a publicly-held corporation.

                180.     As a direct and proximate result of the breaches of duty alleged herein, the

         Company has sustained and will sustain significant damages.




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                181.     Plaintiffs, on behalf of the Company, have no adequate remedy at law.

                                                     COUNT II

                                            Breach of Fiduciary Duty
                              (Derivatively Against the Current Board Defendants)

                182.     Plaintiffs incorporate by reference and re-allege each and every allegation

         contained in paragraphs 1 to 173, as though fully set forth herein.

                183.     Each of the Board Defendants owe and owed the Company fiduciary obligations.

         By reason of their fiduciary relationships, the Board Defendants owed and owe the Company the

         highest obligation of loyalty, good faith, due care, oversight, fair dealing, candor and disclosure to

         stockholders.

                184.     Defendants, and each of them, violated and breached their fiduciary duties of

         loyalty, good faith, due care, oversight, and fair dealing by allowing the Company to continue to

         repurchase shares, while they remained ignorant of the state of the Company’s transformation

         process.

                185.     As a direct and proximate result of the breaches of duty alleged herein, Bed Bath

         has sustained and will sustain significant damages.

                186.     Plaintiffs, on behalf of the Company, have no adequate remedy at law.

                                                     COUNT III

                                                Unjust Enrichment
                                       (Derivatively Against all Defendants)

                187.     Plaintiffs incorporate by reference and re-allege each and every allegation

         contained in paragraphs 1 to 173, as though fully set forth herein.

                188.     By violating and breaching their fiduciary duties of loyalty, good faith, due care,

         oversight, fair dealing, candor and disclosure to the Company’s stockholders and failing to conduct

         proper oversight of the Company, the Defendants were unjustly enriched at the expense of and to

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         the detriment of the Company. The Defendants were unjustly enriched as a result of the excessive

         compensation they received while breaching fiduciary duties owed to Bed Bath.

                   189.   Plaintiffs, as stockholders and representatives of Bed Bath, seek restitution from

         these Defendants, and each of them, and seek an order of this Court disgorging all profits, benefits,

         and other compensation obtained by these Defendants, and each of them, from their wrongful

         conduct and fiduciary breaches.

                   190.   Plaintiffs, on behalf of Bed Bath, have no adequate remedy at law.

                                                      COUNT IV

                                             Waste of Corporate Assets
                               (Derivatively Against the Current Board Defendants)

                   191.   Plaintiffs incorporate by reference and re-allege each and every allegation

         contained in paragraphs 1 to 173, as though fully set forth herein.

                   192.   As a result of their self-dealing, the Company has wasted its valuable assets by

         paying the Defendants’ excessive compensation.

                   193.   Moreover, while the Board Defendants were violating and breaching their fiduciary

         duties of loyalty, good faith, due care, oversight, fair dealing, candor and disclosure to the

         Company’s stockholders and failing to conduct proper oversight of the Company, they also caused

         the Company to repurchase its own stock at an artificially inflated prices and wasted Bed Bath’s

         assets.

                   194.   As a result of the waste of corporate assets, the Board Defendants are liable to the

         Company.

                   195.   Plaintiffs, on behalf of Bed Bath, have no adequate remedy at law.

                                              PRAYER FOR RELIEF

                   WHEREFORE, Plaintiffs demand judgment as follows:


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                a.      Against all of the Defendants and in favor of Bed Bath for the amount of damages

         sustained by the Company as a result of the Defendants’ breaches of fiduciary duties, waste of

         corporate assets, and unjust enrichment;

                b.      Directing Bed Bath to take all necessary actions to reform and improve its corporate

         governance and internal procedures to protect the Company and its stockholders from a repeat of

         the damaging events described herein, including, but not limited to, putting forward for

         stockholder votes resolutions and amendments to the By-Laws and Articles of Incorporation, and

         any other measures able to guard against a repetition of the circumstances described herein,

         including measures to reform the Company’s internal governance documents and Board charters;

                c.      Extraordinary equitable and/or injunctive relief as permitted by law, equity, and

         state statutory provisions sued hereunder, including attaching, impounding, imposing a

         constructive trust on, or otherwise restricting the proceeds of defendants’ trading activities or their

         other assets so as to assure that plaintiff on behalf of Bed Bath has an effective remedy;

                d.      Awarding to Bed Bath restitution from defendants, and each of them, and ordering

         disgorgement of all profits, benefits, and other compensation obtained by the defendants;

                e.      Awarding to Plaintiffs the costs and disbursements of the action, including

         reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and

                f.      And such other relief as this Court deems just and proper.

                                            JURY TRIAL DEMANDED

                Plaintiffs hereby demand a trial by jury.




         Dated: November 24, 2021                            NEWMAN FERRARA LLP

                                                             /s Roger A. Sachar___________

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                                                 VERIFICATION


                I, ROGER A. SACHAR, an attorney duly admitted to practice law before the Courts of the

         State of New York, hereby affirms the truth of the following under the penalties of perjury and

         pursuant to CPLR 2106:

                1. I am the attorney in the above-entitled action with offices located at 1250 Broadway,

                   27th Floor, City of New York, County of New York.

                2. I have read the foregoing complaint, and know the contents thereof, which are a true to

                   the best of my knowledge, except as to the matters stated to be alleged upon information

                   and belief, and with respect to those matters, I believe them to be true.

                3. The reason this verification is made by me instead of the plaintiff is because the plaintiff

                   is not within New York City, which is where the undersigned has his office.

         Executed this 24th day of November, 2021.


                                                               s/Roger A. Sachar
                                                               ROGER A. SACHAR




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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

    STEPHEN AND JUNE VITIELLO,
    Individually and On Behalf of All Others      No. 2:20-cv-04240-MCA-MAH
    Similarly Situated,
                                                  JURY TRIAL DEMANDED
                                    Plaintiffs,

           v.

    BED BATH & BEYOND, INC., MARK J.
    TRITTON, MARY A. WINSTON, AND
    ROBYN M. D’ELIA,

                                    Defendants.




                         AMENDED CLASS ACTION COMPLAINT
                  FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS




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           Lead Plaintiff Kavin Bakhda (“Lead Plaintiff”), and additional named plaintiff Richard

    Lipka (collectively, “Plaintiffs”), individually and on behalf of all others similarly situated, by and

    through their attorneys, allege the following upon information and belief, except as to those

    allegations concerning Plaintiffs, which are alleged upon personal knowledge. Plaintiffs’

    information and belief is based upon, among other things, undersigned counsel’s investigation,

    which includes, without limitation, review and analysis of filings with the United States Securities

    and Exchange Commission (“SEC”), press releases, news articles, analyst reports, conference call

    transcripts, and interviews with former Bed Bath & Beyond Inc. (“BBBY” or the “Company”)

    employees. Plaintiffs believe that additional evidentiary support will exist for the allegations set

    forth herein after a reasonable opportunity for discovery.

                                       NATURE OF THE ACTION

           1.      BBBY is a retailer of a wide variety of domestic merchandise and home furnishings

    and is widely known for its coupon discounts. BBBY operates under many brand names, including

    Christmas Tree Shops, Harmon, buybuy BABY, and Cost Plus World Market.

           2.      After a major management shakeup, BBBY’s new management – led by the

    Individual Defendants (defined infra) – announced in September 2019 that the Company would

    rid itself of $1 billion in excess inventory in eighteen months (the “Program”). Specifically,

    Defendants represented that the Program targeted aged and lower-margin inventory through

    promotions and markdowns; refocused BBBY on profits and selling higher-margin goods; and

    paved the way for a successful 2019 holiday season, which was “critical” to BBBY.

           3.      At all times relevant, investors were led to believe that the Program was the product

    of adequate and careful planning by BBBY. Defendants also emphasized that BBBY had

    meaningful oversight on the Program, and, in particular, that BBBY safeguarded against the

    Program causing adverse effects, such as margin erosion and sales cannibalization. To eliminate

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    these risks, Defendants assured investors that BBBY, among other things, employed highly

    functional industry software that tracked the Program’s progress in real time.

              4.       As detailed infra, Defendants’ representations were materially false and misleading

    when made, inter alia, because Defendants knew or recklessly disregarded that the Program was

    not the product of adequate and careful planning by BBBY; BBBY’s management overhaul (which

    continued through 2020) left the Company without key personnel to properly execute and oversee

    the Program; and the Program was causing precisely the adverse consequences Defendants assured

    investors it would not cause – aggressive erosion of BBBY’s margins and cannibalization of

    BBBY’s 2019 holiday sales.

              5.       In January 2020, BBBY shocked the market by pulling its previously announced

    financial guidance completely and reporting that its gross margins had dropped by 80 basis points.

    One month later, in February 2020, BBBY revealed the full truth when it announced preliminary

    results for 4Q19 and disclosed that BBBY’s inventory management – i.e. the personnel, planning,

    and tools for the Program – was in a shambles, BBBY’s gross margins had plummeted by 300

    basis points, and the Program had not only cannibalized BBBY’s sales, but also led to empty and

    minimally stocked shelves of higher margin products needed to ensure a successful 2019 holiday

    season.        As a result, BBBY stated it was “immediately reforming its internal planning and

    inventory management procedures to master the fundamentals.” Defendants only belatedly

    conceded that these failures were, in fact, largely “self-inflicted”.

              6.       This is a class action on behalf of all persons and entities that purchased or

    otherwise acquired BBBY securities between September 4, 2019 and February 11, 2020, inclusive

    (the “Class Period”), seeking to pursue remedies under the Securities Exchange Act of 1934 (the




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    “Exchange Act”). BBBY’s alleged fraud caused investors to suffer hundreds of millions of dollars

    in damages.

           7.      Prior to the start of the Class Period, in March 2019, three activist investors (Legion

    Partners Asset Management, Macellum Advisors, and Ancora Advisors (the “Activist Investors”))

    demanded that BBBY address its stagnant inventory and weak margins, restructure its board of

    directors, and appoint a new CEO to replace then-current CEO Steven Temares. The Activist

    Investors got their wish. BBBY’s board was restructured to include Defendant Mary Winston and,

    on May 10, 2019, Temares resigned as BBBY CEO and director. Defendant Winston was named

    interim CEO while BBBY looked for a permanent replacement. Defendants Winston and then-

    current CFO Robyn D’Elia (who has since resigned from BBBY) were keen to address the Activist

    Investors’ concerns about stagnant inventory and ailing margins.

           8.      On the first day of the Class Period, September 4, 2019, Defendant Winston issued

    a letter to BBBY shareholders announcing the Program. The letter stated that the Program was

    designed to “reduc[e] up to $1 billion of inventory” over the next 18 months, including removing

    excess aged inventory to “quickly reset inventory levels in both our stores and distribution centers”

    and provide for “higher-margin products, all in an effort to drive customer traffic and support top-

    line performance” ahead of the 2019 holiday season. The letter did not disclose any risks related

    to the Program.

           9.      Throughout an October 2, 2019 conference call, Defendants continued to tout the

    Program to investors. Importantly, Defendant D’Elia also assured investors that due to thoughtful

    and diligent management, the Program safeguarded against harming BBBY’s margins or

    “cannibaliz[ing] sales during the holiday period” – which were material concerns for BBBY




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    investors. On the same call, Defendant Winston echoed that BBBY was managing the Program

    “thoughtfully to prevent cannibalization of sales.”1

           10.     These assurances were material to investors.         Margins were of particular

    importance to BBBY because, as the Activist Investors pointed out, the Company’s margins had

    been badly suffering for years. Unloading aged inventory in a manner that would further harm

    BBBY’s margins was counterproductive. Investors were thus soothed by assurances made by

    Defendants D’Elia and Winston that the Program expressly protected BBBY against this risk.

           11.     BBBY also announced on October 2, 2019 that it planned to remove $350 million

    in inventory by end-of-year for the holiday season through various markdowns.2 These markdowns

    were a departure from BBBY’s traditional coupon-centered marketing. Markdowns were a new

    strategy for BBBY and important to the Program because, as Defendants represented, BBBY could

    markdown targeted aged inventory in one fell swoop, and, purportedly, without harming higher-

    margin products in the process.

           12.     At all times relevant, Defendants represented to investors that BBBY properly

    planned for the Program, and had the requisite personnel and tools in place to execute the Program,




    1
     Cannibalization of sales is broadly defined as a loss in sales caused by a company's introduction
    of a new product that displaces one of its own older products. Promotions can cause cannibalization
    of sales by causing customers to buy lower-margin goods instead of higher-margin goods.
    https://www.investopedia.com/terms/m/marketcannibilization.asp
    2
      Markdowns are broadly defined as the difference between the original retail sales price and the
    actual selling price. Markdowns reduce prices on certain goods across-the-board.
    https://www.thebalancesmb.com/retail-markdowns-2890140#:~:text=Read%20The%20
    Balance's%20editorial%20policies,ended%20up%20selling%20it%20for. In contrast, a coupon,
    or discount, is a reduction in the price of an item or transaction based upon the customer making
    the purchase. Coupons reduce prices on any non-exempt purchase(s) when the coupon is
    redeemed.                 https://retailminded.com/markdowns-vs-discounts-whats-the-difference-
    2/#.X4DGedBKiUk.

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    including to manage inventory, to strategically deploy markdowns, and to ensure the Program was

    achieving its goals without ill effects.

            13.     In that regard, Defendant Winston assured investors during the October 2, 2019 call

    that “[t]o optimize this inventory off-load the company is [among other things] employing

    ‘markdown optimization software’ to speed the process.” This software, as well as other inventory

    management software utilized by BBBY, purportedly provided up-to-date, in-depth, and real-time

    data about inventory, allowing the Company, among other things, to optimize reductions in selling

    price by recommending the best timing and depth of markdowns. Indeed, the software took each

    product’s stock levels, shelf-life, current pricing, lifecycle, and seasonality trends into account to

    allow BBBY to, as Defendants D’Elia and Winston stated, “thoughtfully” and “mindfully”

    decrease aged and excess inventory, which guarding against margin erosion and sales

    cannibalization risk. This software was critical because it kept Defendants apprised of the

    Program’s progress in real time, from day one.

            14.     BBBY utilized software supplied by, among others, Revionics.              Revionics’

    software included weekly reports containing data about pricing, sales and margins. A former

    senior BBBY employee (CW-1) reported that BBBY senior management, including Defendants

    D’Elia and Winston, received these weekly inventory reports and likewise participated in weekly

    meetings together. Defendants also had access to extensive, real-time information about the

    Program through the software. BBBY stated that it “heavily” relied on its software to “manage

    inventory replenishment, summarize results and control distribution of products.”




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           15.     On October 2, 2019, BBBY slightly lowered its FY2019 earnings per diluted share

    guidance to between $2.08 and $2.13.3

           16.     One week later, on October 9, 2019, BBBY named Defendant Mark Tritton as

    BBBY’s new CEO, replacing Defendant Winston. For time served (about six months), Defendant

    Winston received a salary of $550,000, and an additional $1.9 million in BBBY stock on

    November 4, 2019, which is when Defendant Tritton took the helm. As the new CEO of BBBY,

    Defendant Tritton adopted the Program put in place by Defendant Winston.

           17.     In December 2019, there was another major shakeup in BBBY’s C-suite.

    Specifically, on December 17, 2019, BBBY announced that Defendant Tritton had fired the

    Company’s Chief Merchandising Officer, Marketing Officer, Digital Officer, General Counsel and

    Chief Administrative Officer. The Company’s Chief Brand Officer resigned the prior week.

           18.     On January 8, 2020, the truth about the Program began to come to light. On that

    date, BBBY withdrew its FY2019 guidance completely and disclosed plummeting margins.

    Pulling guidance is a rare and draconian step; executives often revise guidance when warranted,

    but withdrawing it completely is highly unusual.4 BBBY also reported a 3Q2019 adjusted net loss

    of earnings per diluted share of $.38 – far short of the $.02 profit consensus projected by analysts,

    and an 8.3% plunge in comparable sales that also widely missed expectations. For the three and

    nine months ending in Q319, BBBY revealed that its gross margins had declined by 80 and 250

    basis points, respectively.




    3
     BBBY first announced FY2019 earnings per diluted share guidance of $2.11 to $2.20 in April
    2019.
    4
       See, e.g., https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3077262 at 22 (withdrawing
    financial guidance is “rare”).

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           19.    Defendant Tritton admitted during a January 8, 2020 conference call that BBBY’s

    “performance was impacted to some extent by self-inflicted issues, like poor inventory

    management”, but he did not disclose the full extent of BBBY’s inventory management problems

    or the ill effects of the Program on BBBY, which Defendants were privy to in real time.

           20.    On this news, BBBY’s share price plummeted almost 20%, falling $3.20 to close

    at $13.40 per share on January 9, 2020.

           21.    The other shoe dropped on February 11, 2020. On that date, BBBY issued a press

    release entitled “Bed Bath & Beyond Inc. Provides Update on Fourth Quarter Financial

    Performance” announcing preliminary 4Q19 financial results – with gross margins declining by

    300 basis points – and disclosing “a 5.4% decline in comparable sales driven primarily by store

    traffic declines combined with inventory management issues” including that “inventory within

    certain key categories in the [BBBY] assortment [were] too low or out-of-stock during the

    period.” Thus, the Program had eroded margins and cannibalized sales, precisely what Defendants

    D’Elia and Winston said the Program guarded against due to diligent planning, management

    oversight, and real-time access to data. BBBY also stated that it was “immediately reforming its

    internal planning and inventory management procedures to master the fundamentals.” The fact

    that BBBY had to now “master the fundamentals” shows how profound the failures in the

    Company’s inventory management were.

           22.    On this news, BBBY’s share price plummeted again – this time by over 20% – to

    close at $11.79 per share on February 12, 2020, on unusually heavy trading volume.

           23.    On February 18, 2020 – more than a week after the Company’s February 11, 2020

    revelations – Defendant Tritton admitted that BBBY’s inventory management was fatally flawed

    since the start of the Class Period: “We’re going to have price management floated properly,



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    which we didn't have coming into the third and fourth quarter.” BBBY’s third quarter began on

    September 1, 2019, three days before the Class Period started.

           24.     On April 15, 2020, BBBY announced FY2019 earnings per diluted share of $.46 –

    radically lower than the Company’s earlier expectations of $2.08 to $2.13.5 Defendant Tritton

    admitted on a conference call that day that “[w]e knew we were plagued by issues in December

    and January,…[and] [s]ome of it was self-inflicted[,]” and that “customers were coming in, and

    they just couldn’t find the product in stock[.]” Defendant Tritton also noted during the call that

    BBBY was watching inventory issues “hour by hour” in late November 2019 (at “Thanksgiving

    time”). In fact, Defendants knew or recklessly disregarded the serious issues plaguing the Program

    in real-time thanks to BBBY’s use of the industry software they touted – Defendants Winston and

    D’Elia since the start of the Class Period and Defendant Tritton since November 2019 when he

    joined the Company.

           25.     Defendant Tritton also confessed on the April 15 call that – contrary to prior

    representations – “we really didn't lay down the plans [on the Program] in the right way” and,

    thus, “burn[ed] the margin and [] burn[ed] a lot of inventory[,]” and that “[w]e really saw some

    pain points there based on the promotional activity and how we managed it.”

           26.     Two weeks later, on April 30, 2020, BBBY announced that Defendant D’Elia had

    resigned.

           27.     On July 14, 2020, BBBY stated that it “expect[ed] further improvement in working

    capital through the removal of about $1 billion of inventory at retail from [BBBY] stores over the



    5
      The FY2019 earnings per diluted share of $.46 excluded non-cash impairment charges related to
    goodwill, tradenames, and certain store level assets, severance costs, shareholder activity costs, an
    incremental charge for markdowns associated with the Company’s inventory reduction initiative,
    and a loss on a sale-leaseback transaction.

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   next 24 months.” In other words, the Program would take twice as long as claimed back in

   September – lasting until July 2022 (36 months) rather than April 2021.

           28.      BBBY investors paid the price for Defendants’ misstatements and omissions of

   material fact about the Program – suffering hundreds of millions of dollars in losses as the truth

   was disclosed.

                                     JURISDICTION AND VENUE

           29.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

   Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

   C.F.R. § 240.10b-5).

           30.      This Court has jurisdiction over the subject matter of this action pursuant to 28

   U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

           31.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and section

   27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

   or the effects of the fraud have occurred in this judicial district. The Company’s headquarters, as

   well as some of its stores, are in this District. While employed by BBBY, Defendants worked in

   this District.

           32.      In connection with the acts, transactions, and conduct alleged herein, Defendants

   directly and indirectly used the means and instrumentalities of interstate commerce, including the

   United States mail, interstate telephone communications, and the facilities of a national securities

   exchange.

                                                 PARTIES

           33.      Lead Plaintiff Kavin Bakhda, as set forth in the certification submitted herewith,

   purchased BBBY securities during the Class Period and suffered damages as a result of the federal



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   securities law violations and false and/or misleading statements and/or material omissions alleged

   herein.

             34.   Additional named plaintiff Richard Lipka, as set forth in the certification submitted

   herewith, purchased BBBY securities during the Class Period and suffered damages as a result of

   the federal securities law violations and false and/or misleading statements and/or material

   omissions alleged herein.

             35.   Defendant Bed Bath & Beyond is incorporated under the laws of Delaware with its

   principal executive offices located in Union, New Jersey. BBBY’s common stock trades on the

   NASDAQ exchange under the symbol “BBBY.”

             36.   Defendant Mary A. Winston (“Winston”) was the Company’s Interim CEO from

   May 2019 to November 2019. Defendant Winston received compensation of approximately

   $550,000 for serving as BBBY’s Interim CEO for less than six months. Defendant Winston also

   received a $1.9 million BBBY stock grant on November 4, 2019.

             37.   Defendant Robyn M. D’Elia (“D’Elia”) was the Company’s Chief Financial Officer

   (“CFO”) at all relevant times. Defendant D’Elia resigned from the Company on May 4, 2020.

   Defendant D’Elia received $1.55 million in BBBY stock and was paid $750,000 per year in salary

   during the Class Period.

             38.   Defendant Mark J. Tritton (“Tritton”) has been the Company’s Chief Executive

   Officer (“CEO”) since November 2019. Defendant Tritton receives approximately $11,250,000

   annually consisting of a $1.2 million annual base salary, a $750,000 opportunity at target to be

   earned by developing and delivering to the Board a short-term strategic and business stabilization

   plan, a $1.125 million payment based on the Compensation Committee’s assessment that

   Defendant Tritton exceeded objectives set for him, a $500,000 one-time sign-on cash award of



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   time-vesting RSUs that will vest on November 4, 2020, subject to Defendant Tritton’s remaining

   with the Company through that date, a $750,000 make-whole cash bonus, and a $6.9 million make-

   whole RSU award.

          39.     Defendants Winston, D’Elia, and Tritton               (collectively the   “Individual

   Defendants”), because of their positions with the Company, possessed the power and authority to

   control the contents of the Company’s reports to the SEC, press releases and presentations to

   securities analysts, money and portfolio managers and institutional investors, i.e., the market.

          40.     The Individual Defendants were provided with copies of the Company’s reports

   and press releases alleged herein to be misleading prior to, or shortly after, their issuance and had

   the ability and opportunity to prevent their issuance or cause them to be corrected.

          41.     Because of their positions and access to material non-public information available

   to them, the Individual Defendants knew that the adverse facts specified herein had not been

   disclosed to, and were being concealed from, the public, and that the positive representations which

   were being made were then materially false and/or misleading. As alleged herein, the Individual

   Defendants had access to, and received, among other things, weekly inventory report through

   Revionics that reflected the progress of the Program in real time.

          42.     The Individual Defendants are liable for the false statements pleaded herein.

                                  SUBSTANTIVE ALLEGATIONS

          A.      BACKGROUND ABOUT BBBY

          43.     BBBY sells a wide variety of domestic merchandise and home furnishings and is

   widely-known for its coupon discounts. BBBY operates under many brand names including

   Christmas Tree Shops, Harmon, buybuy BABY, and Cost Plus World Market. Holiday sales are a

   key revenue driver for, and of singular importance to, BBBY. Indeed, Defendant Winston stated

   on October 2, 2019 that holiday sales were “critical” to the Company.

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          44.     BBBY performed poorly between 2014 and 2019, with its stock price dropping

   from the mid-$60 range in 2014 to approximately $15 during mid-2019. Part of the problem was

   BBBY’s coupon campaign. For decades, BBBY relied heavily on coupon mailers to attract

   consumers, but the Company failed to evolve its business beyond that strategy. An April 26, 2019

   Washington Post article entitled “Your love of Bed Bath & Beyond coupons could be killing the

   retailer,” by Abha Bhattarai stated:

       [BBBY] has built a business on coupons. The housewares chain began mailing out 20
       percent off “Big Blue” coupons nearly 30 years ago, at a time when sweeping discounts
       were a novelty. The idea was that the coupons would draw shoppers into the store, where
       they would then buy other items at full price. For many years, it worked.

       But now, after years of stalled sales and declining profits, the New Jersey-based retailer
       is pulling back on coupons in a broad effort to turn around its business.

          45.     Even after “years of stalled sales and declining profits”, it was only under pressure

   from the Activist Investors in early 2019 that the Company began to move away from its traditional

   coupon merchandising to try a different strategy: promotions and markdowns.

          B.      BBBY RELIES ON INVENTORY SOFTWARE

          46.     Both before and during the Class Period, BBBY used industry software from,

   among others, Revionics. This software was key to BBBY’s inventory management because it

   enabled management to quickly make complex decisions about inventory across the Company’s

   fleet of stores and distribution centers. A statement by BBBY’s Chief Value Optimization Officer

   Barrie Carmel demonstrates the huge scale of BBBY’s business and the accompanying need for

   inventory management software:

       We have more than 1,000 stores in our fleet, which gives us tremendous leverage, scope
       and reach to the customer, but it’s very different when we are competing against a digital-
       only presence,” said Carmel. “A digital [seller] can change price by pushing a button, and
       the price changes instantaneously. I push a button, and 1,000 people need to make 1,000
       changes in the stores. That is a very realistic thing for us.



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   See, Mark Hamstra, “Bed Bath & Beyond Tackles Heightened Pricing Competition Amid
   Quicksilver Online Sellers” (Mar. 3, 2020), https://www.uschamber.com/co/good-
   company/launch-pad/bed-bath-beyond-pricing-strategy?utm_content=bufferc3acc&utm
   _medium=social&utm_source=facebook.com&utm_campaign=buffer

          47.     At all times relevant, BBBY utilized inventory management software supplied by

   Revionics, among others. Revionics’ website emphasizes the “real-time” speed with which

   companies can access information through its software, stating that “data-driven retailers who turn

   to AI to gather and evaluate real-time insights will be the winners this holiday season.”6

          48.     Without utilizing inventory software, BBBY could not compete effectively. That

   is why BBBY discussed its use of such software with analysts. See ¶¶82, 147.

          49.     In a January 9, 2019 conference call, then-CEO Temares specifically trumpeted

   BBBY’s use of Revionics’ software for “inventory optimization”:
       We continue to focus on inventory optimization strategies…. [including] our enterprise
       order management system, our human capital management system, we talked about the
       things we're doing with Revionics and our value optimization group, rolling out the
       point of sale, the workforce management. There are so many things that we put into
       place that now we’re starting to see and we're getting the cadence of when we're going to
       get these benefits, so it allows us to be we're closer to that timeframe, it allows us to have
       greater visibility and so that's a shorter term, so that's where we're at.

          C.      THE ACTIVIST INVESTORS DEMAND CHANGE AT BBBY

          50.     In April 2019, after years of disappointing financial performance by BBBY, the

   Activist Investors strenuously pushed for top-down changes at the Company. Specifically, the

   Activist Investors argued that BBBY shareholders should elect their slate of board nominees,

   portraying BBBY’s current leadership as unable to keep up in an evolving consumer landscape.

          51.     The Activist Investors were successful and BBBY’s board was restructured in May

   2019. This restructuring included appointing Defendant Winston to the BBBY board.



   6
    Aditya Rastogi, “Leveraging Customer Insights to Avoid Product Cannibalization in Retail,
   (Mar. 31, 2020), https://revionics.com/article/revamping-your-pricing-strategy-as-retail-reopens/

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            52.   On May 10, 2019, the Activist Investors filed a proxy statement with the SEC

   outlining additional changes they still deemed necessary at BBBY:
       Our slate of director nominees is committed to executing on a comprehensive strategic
       plan that we released, which includes a quantified time and action plan that prioritizes the
       following initiatives: …addressing the Company’s weak sales, improving gross
       margins, [and] optimizing inventory levels. (Emphasis added).

            53.   The proxy repeatedly noted that BBBY’s “inventory turns are very low and likely

   lead to more clearance” and emphasized the need to “improve inventory by increasing inventory

   turns”. The proxy also stated that BBBY had to “increase inventory turns which would result in a

   substantial release of cash tied up in slow moving goods.”

            54.   In addition, the Activist Investors stressed that the board changes were not enough:
       Not until faced with stockholder pressure, did the Board take steps to change its
       composition. We do not believe the recent Board changes go far enough to address the
       prolonged underperformance of the Company and destruction of shareholder value.

            55.   Apparently in response, on May 13, 2019, BBBY’s long-term CEO Temares

   resigned and Defendant Winston became Interim CEO, effective immediately. In her new role as

   Interim CEO, Defendant Winston, along with Defendant D’Elia, was keen to address the Activist

   Investors’ concerns related to inventory management.

            D.    BBBY ISSUES AND REITERATES FY2019 GUIDANCE
            56.   On April 10, 2019, BBBY issued FY2019 net earnings per diluted share of $2.11 to

   $2.20.

            57.   On July 10, 2019, BBBY reiterated such guidance and estimated it to be toward the

   lower end of the range.
            E.    BBBY ANNOUNCES THE $1 BILLION PROGRAM

            58.   On September 4, 2019, the first day of the Class Period, Defendant Winston issued

   a letter to shareholders that, among other things, addressed the Activist Investors’ concerns over

   inventory and margins. In that letter, which unveiled the Program, Defendant Winston stated that

   BBBY was “reduc[ing] up to $1 billion of inventory” over the next 18 months, including removing


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   excess aged inventory before the critical 2019 holiday season. Defendant Winston stressed that

   the Program prioritized sales of higher-margin goods, stating that “[t]his effort should allow us to

   quickly reset inventory levels in both our stores and distribution centers, as well as refresh our

   assortment, providing for newness and higher-margin products, all in an effort to drive customer

   traffic and support top-line performance.” The letter did not identify or address any risks

   associated with the Program.

          59.     The market viewed BBBY’s Program as central to the Company’s turnaround.

   After BBBY’s September 4, 2019 letter (which was issued after market close), BBBY’s stock price

   jumped 7% to close at $9.64 per share on September 5, 2019, after closing on September 4, 2019

   at $9.01 per share.

          60.     Thereafter, the market continued to be buoyed by news of the Program. On

   September 30, 2019, Wedbush Securities analysts Seth Basham and Nathan Friedman noted that

   the Company “has formulated a plan to reduce inventory by -$1b (~35%) [and] is rapidly

   refreshing stores to improve the shopping experience ahead of the holiday selling period.” In light

   of the foregoing, Wedbush raised its rating to “outperform” with a 12-month target of $16.
          F.      BBBY SLIGHTLY LOWERS FY2019 GUIDANCE

          61.     On October 2, 2019, BBBY slightly lowered its FY2019 net earnings per share

   guidance to between $2.08 and $2.13. BBBY also announced, as part of the Program, that it was

   removing $350 million in inventory by end-of-year for the holiday season.
          G.      BBBY RELIES ON KEY SOFTWARE TO FACILITATE THE PROGRAM’S
                  SUCCESS

          62.     During an October 2, 2019 conference call, BBBY updated investors with more

   details about the Program. In particular, Defendant Winston stated that “[t]o optimize this

   inventory off-load the company is employing markdown optimization software to facilitate and

   manage the inventory reduction process.” This software was critical to the success of the Program,
   inter alia, because it tracked the Program in real time and ensured goals were achieved (Defendants


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   claimed) without harming BBBY, i.e., by further reducing BBBY’s already suffering margins or

   by cannibalizing sales. This software was also critical to the success of the Program because

   BBBY had traditionally been a coupon-centered company, not a markdown-centered company.

   Thus, the Program and its focus on markdowns was a departure from the Company’s past practice

   and BBBY needed inventory software to closely monitor the Program.

          63.     During the October 2 call, Defendants also stressed that they were ahead of the risk

   of the Program eating into margins and cannibalizing sales. Defendants D’Elia and Winston

   claimed they had the necessary tools to address those risks – among them, this key software – and

   that they also had adequate oversight in place (i.e., personnel and planning).
          64.     Markdown optimization software manages and monitors inventory, allowing

   companies to optimize the reduction in selling price by recommending the best timing and depth

   of markdowns. Retailers apply markdown optimization methods to have an optimal inventory in

   line with consumer demand, thus ensuring the highest margins. Markdown optimization software

   takes into account each product’s stock levels, shelf-life, current pricing, lifecycle, and seasonality

   trends for the purpose of decreasing excess inventory. The software also analyzes changing

   product life-cycles, seasonal demand, different assortments of goods, varieties in the customer

   base, new stores, price competition, and any other factors that may change after the initial decision-

   making point. Markdown optimization software also allows companies to avoid selling products
   too cheaply and, thus, cannibalizing sales of other higher-margin goods.

          65.     As noted supra, Revionics is one of the companies that provides software to BBBY.

   Revionics’ website discusses cannibalization and emphasizes that even promotions can cannibalize

   revenues:
       Product cannibalization, also known as demand substitution, happens when similar
       products compete against each other for the same sales. People most often think of
       cannibalization in the context of a new product being introduced and taking sales away
       from an older item in the same portfolio. However, this isn’t the only case. Product
       cannibalization in retail can occur from other events, including promotions and
       discounts….

       Typically, product cannibalization in retail is considered a negative outcome. And you

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          can see why; if one product merely takes all the sales of another, you now have more
          inventory but the same amount of sales and revenue.7

             66.    More specifically, promotions can cannibalize revenues and sales by affecting

   shopping behavior. If two products are almost perfect substitutes for each other, and one of the

   products is on substantial discount because of an ongoing sales promotion, customers commonly

   buy the promoted product instead of the one sold at a normal price. Consequently, the sales

   promotion of one product decreases, or cannibalizes, the sales of similar products.

             67.    BBBY continued to use software, including software supplied by Revionics, during

   the Class Period, but began to focus on utilizing that software to manage markdowns and track the

   Program’s progress in addition to utilizing it for inventory management. A January 6, 2020 news

   article on businessinsider.com entitled “NRF 2020: Revionics to Host Panel with Bed Bath &

   Beyond, DICK'S Sporting Goods & Leroy Merlin Brazil on Pricing for the Multichannel Retailer”

   discussed a January 13, 2020 Revionics panel moderated by, among others, BBBY’s Chief Value

   Optimization Officer Barrie Carmel. Among other things, the article stated that Revionics’

   software enabled companies like BBBY to improve margins and avoid cannibalization of sales –

   precisely what Defendants E’Elia and Winston claimed the Program would avoid – and maximize

   inventory returns through markdowns:
          Revionics’ top executives and technical experts will be available at their exhibit to show
          retailers why pricing smarter doesn't have to be harder with Revionics AI and science-
          based solutions, which include:

          Pricing: As the top priority of shoppers, retailers’ prices must take into account current
          market, competitive and shopper conditions across all channels. This means providing
          carefully crafted AI-powered pricing that delivers a win-win: providing shoppers with
          prices they love on the products they care most about, while ensuring retailers capture
          overall margins that enable them to sustain a healthy business in the long run.

          Promotion: Promotion analytics and optimization enable retailers to break the cycle of
          ineffective promotions and the race to the bottom with in-depth insights into consumer
          buying influences, cannibalization and halo effects, and identifying the most
          compelling vehicles and offers for different types of shoppers.


   7
       https://revionics.com/article/avoid-product-cannibalization/

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         Markdown: With AI-based markdowns designed to maximize return on inventory,
         margins and sell-through, retailers can deliver the discounts that customers want,
         where they want them, and when they want them.

         Dynamic Pricing: Revionics enables retailers to leverage machine learning science and
         competitive and shopper insights to price the right items at the right time, against the right
         competitors and in the right channels.

         Competitive Insights: Retailers can better serve customers, exploit hidden opportunities,
         and achieve a higher ROI with real-time competitive insights.8

            68.     A March 3, 2020 article by Mark Hamstra entitled “Bed Bath & Beyond Tackles

   Heightened      Pricing    Competition    Amid      Quicksilver    Online    Sellers”,   (available    at
   https://www.uschamber.com/co/good-company/launch-pad/bed-bath-beyond-pricing-

   strategy?utm_content=bufferc3acc&utm_medium=social&utm_source=facebook.com&utm_ca

   mpaign=buffer) also discussed BBBY’s use of Revionics’ software. That article quoted BBBY’s

   Carmel and stated that Revionics’ software helped every aspect of BBBY’s inventory

   management:
         Home retail chain Bed Bath & Beyond discusses its pricing strategy as it relates to
         technology and its competition against digital retailers within the industry….

         “We have more than 1,000 stores in our fleet, which gives us tremendous leverage, scope
         and reach to the customer, but it’s very different when we are competing against a digital-
         only presence,” said Carmel. “A digital [seller] can change price by pushing a button, and
         the price changes instantaneously. I push a button, and 1,000 people need to make 1,000
         changes in the stores. That is a very realistic thing for us.”

         Bed Bath & Beyond, which uses price optimization technology from Revionics, is
         coping with those challenges by fostering collaboration among its merchandisers and
         data scientists and looking beyond having the lowest prices to communicate an overall
         impression of value, she said….

         At Bed Bath & Beyond, changing the price of an item not only affects the physical shelf
         tags in the stores, but it can also impact several other consumer communication vehicles,
         including social media posts, email marketing messages and other digital advertising.
         These must all be positioned not only to convey the accurate pricing and appropriate value
         messaging, but also to drive traffic to the stores, Carmel explained.



   8
       A “halo effect” is when buying one product leads to buying a separate product.

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       Bed Bath & Beyond seeks to create a strong value impression right from the start of the
       customer’s journey online, she said, which is also where the challenge of integrating the
       brand’s coupon strategy comes into play. Consumers, particularly younger shoppers, who
       are comparing prices online might not be aware that a coupon is available that would
       make an item more price-competitive, Carmel said.




          H.      A FORMER SENIOR BBBY EMPLOYEE REPORTS THAT SENIOR
                  MANAGEMENT, INCLUDING DEFENDANTS D’ELIA AND WINSTON,
                  RECEIVED WEEKLY REVIONICS REPORTS, WHICH INCLUDED
                  DETAILED INVENTORY AND MARGIN DATA

          69.     CW-1 is a former senior BBBY employee.             CW-1 worked as a divisional

   merchandise manager for BBBY from summer 2017 to July 2019. CW-1 was based at BBBY

   headquarters in Union, New Jersey. CW-1 reported to Vice President of General Merchandise and

   Manager Dave Eckert.

          70.     As a divisional merchandise manager for BBBY, CW-1 guided a 12-person team

   in the merchandising division. CW-1 was hired to help reverse sales decline and stabilize a division

   with $400 million in annual revenue. CW-1 reengineered product offerings, eliminated job

   redundancies, and established accountability practices.

          71.     CW-1 stated that BBBY had a lack of clear merchandising direction after BBBY

   President Art Stark left the Company in May 2018. CW-1 stated that Stark’s exit left the Company
   with inadequate merchant expertise in the ranks of upper management. Similarly, CW-1 stated

   that Chief Merchandise Officer Todd Johnson was “in over his head”. Johnson left BBBY in

   December 2019, three months into the Program. As set forth infra, the Chief Merchandise Officer

   was a key position whose role was fundamentally important to inventory management and,

   relatedly, the Program.

          72.     CW-1 stated that in 2019, BBBY was in the process of culling the number of items

   its stores carried in each category as part of an SKU (stock keeping unit) rationalization inventory
   optimization strategy. The effort was ongoing when CW-1 left the Company in July 2019 and far


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   from complete.

          73.     CW-1 reported that BBBY used Revionics markdown optimization software for

   price optimization as well as for initial pricing. CW-1 reported that the markdown optimization

   software had three components: (i) initial pricing, which suggested the ticket price; (ii) promo

   pricing, which was for temporary markdowns rolled out to promote products and optimize gross

   margins; and (iii) markdowns, for pricing clearance items.

          74.     Revionics software sets prices, particularly when goods are on clearance, and on

   promotions. CW-1 gave the following example: If you have $100 toaster ovens that have been

   on the shelf for 5 years, the software would look at pricing history and say sell them at $25.
          75.     CW-1 stated that there were weekly Revionics reports that included data on

   inventory levels, pricing, and margins, all the way down to the SKU level, which included product

   color and size. These weekly reports were “very detailed”.

          76.     CW-1 stated that these weekly reports were sent to senior BBBY management,

   including Defendants Winston and D’Elia.

          77.     CW-1 also stated that there were weekly meetings at the Union, New Jersey

   headquarters with Defendants Winston and D’Elia.

          78.     Additionally, CW-1 stated that BBBY also used JDA software for general inventory

   management. CW-1 stated that JDA was a general “inventory tool” while Revionics was more
   geared towards “price optimization,” although BBBY also utilized Revionics software for initial

   pricing.
          I.      DEFENDANTS WINSTON AND D’ELIA CONTINUE TO TOUT THE
                  PROGRAM AND CLAIM BBBY WAS AHEAD OF KEY RISKS

          79.     Defendants Winston and D’Elia repeatedly discussed the Program during investor

   presentations, and continued to tout the Program’s benefits to BBBY, while downplaying any harm

   that the Program could have on the Company. On the October 2, 2019 conference call, Defendant

   D’Elia described the Program as follows:
       Well, this inventory write-down is tied to our strategic initiatives. It’s flagging inventory
       that we see as aged inventory or duplicative SKUs in our assortment. So we’ve been

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       actively working on identifying those duplicative SKUs and wanting to move them out
       of our assortment again so that we can present a clearer point of view from an inventory
       and merchandising perspective to our customers. So we view this as tied to
       transformation.

          80.     Defendant Winston stated during the same call that BBBY was removing aged

   inventory through the Program to “refresh” the Company’s assortment and make room for high

   volume, higher margin goods before the critical 2019 holiday season:
       During our call, we have provided a lot of transparency around the things that we are
       doing to advance our strategic priorities, including plans to aggressively reduce up to $1
       billion of inventory at retail over the next 18 months, including the removal of aged
       inventory from our stores before the 2019 holiday season to refresh our assortment and
       support top line performance; the initiation of a rapid store refresh of nearly 160 of our
       highest volume and most profitable Bed Bath & Beyond stores to improve the in-store
       shopping experience; the completion of our initial fleet optimization analysis for Bed
       Bath & Beyond and the decision to close 40 Bed Bath & Beyond stores and 20 other
       concept stores this year; our decision to close down one of our least productive e-
       commerce businesses; and finally, the ongoing evaluation of our business concepts and
       our real estate holdings.

          81.     Defendants D’Elia and Winston also stressed to investors that they had their arms

   around the Program, explaining that BBBY’s planning, personnel, and software safeguarded the

   Company against margin erosion and/or sales cannibalization. Thus, Defendants D’Elia and

   Winston appreciated the risks posed by the Program – but told investors that those risks were

   addressed. Indeed, Defendant Winston stated that “more than approximately $350 million of

   inventory at retail will be removed from our stores before the 2019 holiday season” and “[t]his

   will be accomplished with a series of markdowns and clearance events as well as with the

   assistance of an independent liquidator, all to be managed thoughtfully to prevent cannibalization

   of sales.”

          82.     Defendant Winston also trumpeted BBBY’s “new data-driven insights” and the

   Company’s markdown optimization software, stating that these were fueling the $1 billion

   inventory sell-through:
       Our #1 priority is stabilizing our top line and optimizing our sales opportunities. A core
       component of our sales stabilization efforts and our transformation overall is based on
       new data-driven insights that we are using to identify opportunities for improving our

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       customer value proposition….

       We continue to make strategic pricing decisions to deliver noticeable value to our
       customers. These strategies include refining our dynamic pricing algorithms and
       online and in-store pricing actions to address customer price perceptions. The
       implementation of markdown optimization software and processes is accelerating sell-
       through, resulting in less aged inventory and optimizing the profitability of our
       seasonal and fashion assortment. We believe that more effective pricing will drive both
       top line growth and profit improvement. These near-term opportunities will provide the
       foundation required to invest in and execute the shopping transformation consumers are
       demanding and allow us to reinvigorate our iconic brand.
          83.     Defendant D’Elia reiterated during the call that the Program was protecting

   BBBY’s margins: “[O]n the inventory, you're asking about the margin impact as we take out the
   merchandise. Again, we’re mindful not to cannibalize sales during the holiday period.”

          84.     By repeatedly emphasizing that BBBY had the tools, including software, that

   specifically guarded against the risks of margin erosion and sales cannibalization, Defendants

   D’Elia and Winston gave BBBY investors the impression that – although the Program was no slam

   dunk in ease of execution – the Program was not exacerbating BBBY’s problems.

          85.     On October 3, 2020, Wedbush analyst Seth Basham stated that “clearing aged

   inventory and inventory not consistent with the company’s curated merchandize assortment

   strategy will declutter stores and leave room to add traffic-driving treasure hunt merchandise.”

   The report also stated that “[r]apidly refreshing 160 of BBBY’s best stores prior to the holidays

   should also create a more exciting shopping environment to drive sales” and “[s]hifting and adding

   promotions and advertising to the holiday period should also drive traffic and sales…”

          86.     On October 9, 2019, BBBY filed its quarterly report on Form 10-Q. That report

   incorporated risk language from the Company’s 2019 Annual Report, which stated that the

   Company “heavily” relied on its inventory software:
       BBBY relies heavily on [information technology] systems to process transactions,
       manage inventory replenishment, summarize results and control distribution of
       products. (Emphasis added).

          J.      UNBEKNOWNST TO INVESTORS, BBBY’S UNSTABLE MANAGEMENT
                  WAS UNDERMINING THE PROGRAM

          87.     On the October 2, 2019 conference call, Defendant Winston discussed BBBY’s

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   talent recruitment goals and realignment efforts, but did not reveal that BBBY’s then-current

   management instability was actually undermining the Program:
       Our fourth and final near-term priority is to take a fresh look at our organization structure.
       It is critically important that as we transform Bed Bath & Beyond, we ensure we have not
       only the right talent and expertise but also the right team structures in place to facilitate a
       connected and efficient organization. During this interim period, we have realigned the
       reporting structure of the organization such that all other business concepts now report
       into one leader.
           88.      One week later, on October 9, 2019, BBBY announced that its search for a

   permanent CEO replacement for Temares had ended, and that Defendant Tritton would become

   the Company’s new CEO.
          89.    Defendant Tritton became BBBY’s CEO on November 4, 2019, approximately two

   months after Defendant Winston initiated the Program.

          90.    Rather than pause the Program for evaluation, Defendant Tritton ratified the

   Program immediately upon starting at the Company. Defendant Tritton also began to further the

   management overhaul that the Activist Investors had begun in May 2019.

          91.    On December 17, 2019, three months into the Program, BBBY disclosed that

   Defendant Tritton had axed six senior management, including the Chief Merchandise Officer, from

   the Company to pave the way for a new guard:
       UNION, N.J., Dec. 17, 2019 /PRNewswire/ -- Bed Bath & Beyond Inc. (Nasdaq: BBBY)
       today announced an extensive restructure of its leadership team, including the departure
       of six senior members…. The new team will be charged with streamlining decision-
       making, accelerating the pace of transformation, and re-establishing Bed Bath &
       Beyond’s authority in the home space through a more customer focused, omnichannel
       retail operation, a redefined product assortment, and a more convenient and inspirational
       shopping experience….

       In redefining the structure and roles of the new leadership team, five senior members are
       leaving their positions, including the Chief Merchandising Officer, Chief Marketing
       Officer, Chief Digital Officer, Chief Legal Officer & General Counsel, and Chief
       Administrative Officer. The sixth member, the Chief Brand Officer, resigned last
       week. While interim leads have been appointed, the Company has commenced a search
       to fill the positions of Chief Merchandising Officer, Chief Digital Officer, General
       Counsel, as well as a newly combined Chief Marketing and Brand Officer position.

   BBBY did not replace its Chief Merchandising Officer (Todd Johnson), a role inherently important


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   to the Program, until March 2020. Thus, BBBY had a critical vacancy between December 17,

   2019 and the end of the Class Period – right at the important holiday sales season. Moreover,

   BBBY did not disclose that this significant and ongoing shift in leadership was impeding the

   Program, including, inter alia, by creating gaps in oversight over the Program.




          K.      FOUR MONTHS INTO THE PROGRAM, BBBY PULLS ITS FY2019
                  GUIDANCE AND BEGINS TO REVEAL FALLING MARGINS

          92.     On January 8, 2020, BBBY announced an adjusted net loss of $.38 per share (far

   below the $.02 consensus), withdrew its guidance, and reported falling margins – but did not

   disclose the profound problems with the Company’s inventory management or the full extent of

   the problems with the Program:
       UNION, N.J., Jan. 8, 2020 /PRNewswire/ -- Bed Bath & Beyond Inc. (Nasdaq: BBBY)
       today reported financial results for the third quarter of fiscal 2019 ended November 30,
       2019…

       Fiscal 2019 Third Quarter Results

       For the fiscal 2019 third quarter, the Company reported a net loss of $(0.31) per diluted
       share ($(38.6) million),… Net sales for the fiscal 2019 third quarter were $2.8 billion, a
       decrease of 9.0% compared to the prior year period. Comparable sales in the fiscal 2019
       third quarter declined 8.3%....(Emphasis added).

       Outlook

       The Company expects its sales and profitability to remain pressured during the fiscal 2019
       fourth quarter. Considering these headwinds reflected in the Company's results to date,
       and the ongoing work by recently appointed President & CEO Mark Tritton to assess the
       business and finalize the details of the Company's go-forward strategic plan as well as the
       extensive senior leadership changes within the past month, the Company believes it is
       appropriate to withdraw its fiscal 2019 full year financial guidance. (Emphasis added).

          93.     Pulling guidance is a rare and draconian step; executives often revise guidance




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   when warranted, but withdrawing it completely is highly unusual.9

          94.     On a January 8, 2020 conference call, Defendant D’Elia disclosed that BBBY’s

   gross margins had plummeted by 80 basis points. Defendant D’Elia stated that the “80 basis point

   decline is primarily due to a decrease in merchandise margin driven by a higher level of

   promotional activity in the quarter and was partially offset by a decrease in net direct-to-customer

   shipping expense.”

          95.     For the first time, Defendant Tritton also admitted that BBBY was out of its depth

   with the promotional strategy, stating that “in terms of the Thanksgiving period, this was the first

   time that we actually deployed an active mass promotional strategy, not a coupon strategy.”
          96.     On the same call, when discussing BBBY’s problems at the end of 2019, Defendant

   Tritton confirmed that BBBY was monitoring inventory as part of the Program on a real-time basis

   – indeed, “hour by hour”:
       [W]e started entering into Thanksgiving period, and we saw real pressure on sales. And
       we realized that some of our activity in digital, by trying to remain independently
       profitable in that space and not thinking about the gateway experience on the
       Thanksgiving period, was distorting our true price value equation and what we could
       mean to the customer at that time. We made really sharp pivots, and I was really proud of
       the team, and we instantly saw key items we're winning share back. We're watching it
       hour by hour. (Emphasis added).

          97.     Defendant Tritton also emphasized that he was on top of the situation given his

   experience as a veteran in the field: “I’m no stranger to this, I’ve been through it before, converting

   promotional sales or clearance sales to regular price sales.” Defendant Tritton also stated on the

   call that BBBY was “taking aggressive steps to rationalize the assortment and better manage

   inventory”.

          98.     However, Defendant Tritton did not disclose the extent of the inventory

   management problems that were materially undermining BBBY’s margins and cannibalizing sales,

   i.e., that while BBBY was unloading inventory through the Program, it was doing so at the expense


   9
      See, e.g., https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3077262 at 22 (withdrawing
   financial guidance is “rare”).

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   of sales cannibalization and margin reduction – the very issues Defendants assured investors they

   avoided and had the tools and oversight to safeguard against.

          99.     Defendant Tritton also discussed the rapidly-changing landscape of BBBY’s

   internal management on the call, but failed to acknowledge that BBBY’s then-current instability

   within management was actually impeding the Program:
       As we reconstruct and modernize our operating model, we need to embed the right
       leadership capabilities and accountability measures to ensure the business operates
       efficiently and effectively. A rethink of the company’s leadership team was necessary to
       propel Bed Bath & Beyond forward. Last month, I announced extensive changes to our
       leadership team, including the departure of 6 senior members. We’ll be putting a team in
       place that will not only have the right talent and expertise to execute our new vision and
       inject new ideas but also the right organizational structure to facilitate a more streamlined
       decision-making, to accelerate the pace of transformation and to reestablish Bed Bath &
       Beyond’s authority in the home space.

          100.    Analysts reacted swiftly to the January 8, 2020 disclosures, immediately realizing

   the significance of BBBY’s plunging margins – including the Company’s “largest adjusted EPS

   loss in [] history” and the collapse of the Company’s EBIT margins by 200 basis points. Wells

   Fargo published a January 8, 2020 report entitled “BBBY: Shares Living The Dream, But

   Fundamental Nightmare Continues” by Zachary Fadem, Eric Cohen and David Lantz, noting its

   surprise over BBBY’s low margins and the Company’s lack of transparency, and that Defendant

   Tritton was picking up with the Program where Defendant Winston left off instead of previewing

   his own strategic initiatives:
       While Q3 was not supposed to be about the numbers, poor results the largest
       incremental takeaway. In our view, Q3 results were clearly worse than expected and
       with shares +67% over the past 3 months (+12% SPX), we believe a pullback tomorrow
       is warranted. Calendar headwinds were well documented, but comp declines of -8.3%
       were -400bps below consensus,… EBIT margins compressed -222bps and BBBY posted
       its largest adjusted EPS loss (-38c) in history…. We believe tonight wasn’t supposed to
       be about the numbers, as investors widely anticipated new CEO Mark Tritton’s plan for
       the future, opportunities for improvement, and prospects for a comp inflection. Instead,
       few concrete details were provided (aside from already anticipated opportunities in
       digital, merchandising, private brands and real estate rationalization), and with BBBY
       posting its worst comp in over a decade (maybe ever), negative EBIT margins and




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        widening FCF losses, we view the prospects for NT improvement increasingly distant at
        this stage. (Underline and bold in original).10

          101.    Guggenheim also published a January 8, 2020 report entitled “BBBY – 3Q Shortfall

   Resets 2020 “Starting Point” – Curtailing Customer Attrition in Focus; NEUTAL” by analysts

   Steven Forbes, John Heinbockel and Stephen Kovalsky discussing BBBY’s historic negative EBIT

   margins:
        Adjusted gross margin eroded 85 basis points year-over-year, despite an estimated ~30
        basis point benefit from the net change in the company's sales return liability. And,
        adjusted SG&A expenses delevered ~130 basis points, even with an estimated ~25 basis
        point benefit from the recent corporate workforce reduction… Bottom line, 3Q results
        were disappointing as EBIT margin turned negative for the first time in recent history.
        (Emphasis added).

                 THE FULL TRUTH IS REVEALED: THE PROGRAM
         SUBSTANTIALLY ERODED MARGINS AND CANNIBALIZED REVENUES

          102.    On February 11, 2020, after market close, BBBY disclosed that the Program was

   harming BBBY precisely in the manner Defendants claimed to have guarded against through

   BBBY’s planning, oversight, and software tools.         Namely, the Program’s promotions and

   markdowns cannibalized sales and caused key, high-margin goods to be out of stock ahead of the

   holiday season. The Program also harmed margins far more than was revealed on January 8, 2020.

   The February 11, 2020 disclosure further revealed that Defendants lacked the “thoughtful”,

   “mindful” and diligent oversight that they represented to investors they had over the Program. A

   press release of February 11, 2020 provided, in relevant part:

        Bed Bath & Beyond Inc. (Nasdaq: BBBY) today reported preliminary, unaudited
        financial performance data for the first two months of the fiscal 2019 fourth quarter
        (December 2019 and January 2020), including a 5.4% decline in comparable sales
        driven primarily by store traffic declines combined with inventory management issues,
        and increased promotional activity and markdowns. The Company is providing this
        update today to provide visibility into the current pressures on the business, which the
        Company’s new management has been reviewing to ascertain insights and key learnings.

   10
      The “calendar headwinds” in the report refer to the fact that BBBY’s 3Q2019 included the day
   after Thanksgiving – but (unlike 3Q2018) not the Monday (cyber Monday) and week following.

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       (Emphasis added).

       Mark J. Tritton, President and CEO of Bed Bath & Beyond, said, “We are experiencing
       short-term pain in our efforts to stabilize the business, including the pressures of store
       traffic trends coupled with our own executional challenges….

       Fiscal December 2019/January 2020 Comparable Sales…

       Product availability leading into the holiday period was also a contributing factor, as
       inventory within certain key categories in the Bed Bath & Beyond assortment was too
       low or out-of-stock during the period. The Company is immediately reforming its
       internal planning and inventory management procedures to master the fundamentals.
       (Emphasis added).

             103.   On this news, the Company’s share price fell $3.06 per share, or over 20%, to close
   at $11.79 per share on February 12, 2020, on unusually heavy trading volume.

             104.   Analysts again pounced on BBBY for the unexpected bad news. A February 11,

   2020 Wells Fargo report by Zachary Fadem, Eric Cohen and David Lantz was highly critical of

   the Company, characterizing the announcement as a “discouraging start to the Tritton era” and

   noting that BBBY’s gross margins had plunged by 300 basis points – the “largest decline in 10+

   years”:
       BBBY: Falling Further Off The Bed; Preannounce Dashes NT Turnaround Hopes

       BBBY’s FQ4 pre-announcement suggests NT trends even worse than feared;
       Expecting aggressive plan at Spring 2020

       Analyst Day. This evening (2/11), just one month following new CEO Mark Tritton’s
       first earnings call, BBBY provided disappointing preliminary financial results for
       December/January, which were well below Consensus. Details include: 1) A -5.4%
       reported comp decline (vs. our/Street of -3.5%/-3.8%), comprised of -11% store comps
       and a +20% increase online (implying digital is ~27.5% of sales); 2) Roughly -300bps of
       gross margin pressure (the largest decline in 10+ years) owing to heightened
       promotional activity and mix shift to lower margin (online) channels; and 3) Implied
       adjusted EBIT margins of +1.5% (-490bps y/y). BBBY cited declining traffic, increased
       promo activity and poor inventory management as key drivers, and as a result plans to
       expedite efforts to rebalance its portfolio, reset the cost structure and enhance its
       leadership/talent. In our view, this represents a discouraging start to the Tritton era,
       and while it’s widely understood that a BBBY turnaround would be no easy task, we
       believe it’s safe to say that NT improvement appears increasingly unlikely at this point.
       As a result, we anticipate a deeply negative reaction from the market tomorrow…we are
       lowering our FY19/20 EPS estimates by -77%/-55% to $0.28/$0.60 (from $1.21/$1.34).

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       Our new price target is $10 (16x our FY20E EPS), down from $12. Reiterate
       Underweight. (Emphasis added).

          105.   Credit Suisse also published a critical report on February 12, 2020 by analysts Seth

   Sigman, Kieran McGrath and Lavesh Hemnani. That report discussed BBBY’s out-of-stock goods

   during the critical holiday period, the cannibalization of revenues resulting from BBBY’s holiday

   promotions, and the collapse of BBBY’s margins by 300 basis points. In other words, Credit

   Suisse noted that the Program failed in the very ways that BBBY claimed to have safeguarded

   against:
       Tough Getting Out of This Bed; Still See Pressure Continuing; Monitoring Upcoming
       Catalysts…

       3. Execution challenges noted. The company cited traffic- and execution-related
       issues, incl. out of stocks. It promoted key promotional items during the Thanksgiving
       period, with more attractive dynamic pricing and excluded the coupon. This sale went
       well over Thanksgiving (as noted previously, this supported the 7% comps during that
       holiday week), but caused BBBY to move through a lot of inventory, leaving it out of
       stock into the Christmas period. December was weak, and the company was anticipating
       an improvement in January, which it did not see. We believe these pressures will continue
       into 1H….(Emphasis added)

       5. GM -300 bps y/y vs. -85 bps last quarter, due to promotional/markdown activity,
       mix of key promotional items (such as kitchen appliances which are lower margin) and
       more online sales (Cyber shift, recall last quarter got the benefit of lower shipping costs
       due to the decline in online sales). (Emphasis added).

          106.   A February 11, 2020 UBS report by analysts Michael Lasser, Atul Maheswari and
   Mark Carden also highlighted the negative effect of BBBY’s Program:
       Bed Bath & Beyond Inc.
       It’s Hard to Look At This Bath as Half Full

       BBBY comps declined -5.4% for Dec/Jan (down -13% on a shifted basis)

       Any way you slice it, it was a rough holiday for Bed Bath….

       Bed Bath will likely end FY'19 with around a 1% operating margin

       We think BBBY's increased promotions heavily impacted its GM (this line was down -
       300 bps in Dec/Jan vs. the cons. of -50 bps for 4Q). Notably, its 4Q GM dollars are on
       track to decline -14% in 4Q, showing how fast the business deteriorated. At the same
       time, its adj. SG&A deleveraged 190 bps due to a lower comp & increased advertising.
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       We now lower our 4Q EPS to $0.19 (was $0.97). Clearly, BBBY needs to demonstrate
       its ability to balance its sales and profitability in the short run. (Emphasis added).

          107.   On February 12, 2020, Wedbush Securities analysts Seth Basham and Nathan

   Friedman also described its surprise that BBBY’s margins continued to fall – when BBBY assured

   they would not – and noted the Company’s promotions had cannibalized revenues and caused the

   plummeting margins:
       Breaking Down the House in Order to Fix It

       The Wedbush View
       Yesterday AMC, BBBY provided an update on FQ419 performance that is trending
       considerably worse than expectations. The surprise was not in comparable store sales,
       but in both gross and SG&A margins. Gross margins declined ~-300 bps through the
       first two months of the quarter (vs. our -10 bps and consensus’ -60 bps F4Q estimates)
       while adjusted SG&A deleveraged 190 bps (vs. our +20 bps and consensus’ +10 bps
       F4Q estimates). Higher promotional activity drove the gross margin weakness, while a
       sales mix shift to the online channel also contributed…..

       BBBY announced that for the first two months of 4Q19 same-store sales declined -5.4%
       y/y, slightly below our estimated -5.0% y/y for the quarter and further below consensus
       of -4.1% y/y. This decline was driven by a low-double-digit percentage decrease in
       transactions per store offset by a mid-single-digit increase in average ticket amount
       (similar to the dynamics we saw in 3Q19) and was partly caused by a lack of in demand
       inventory and a muted reaction to some initial promotions. (Emphasis added).

          108.   A Guggenheim report entitled “BBBY – P&L Uncertainty Increases

   Meaningfully—A Year of Management Transition + FCF Neutrality, Lowering Estimates” by

   Steven Forbes, John Heinbockel and Stephen Kovalsky dated February 12, 2020 also noted that

   BBBY’s “margin erosion” was attributed to the Program:
       4Q Update: ~500 Basis Points of EBIT Margin Erosion—BBBY Is Now a 1.00% Margin
       Business; Lowering Estimates. As shown within Exhibit 1, BBBY's 4Q update results in
       a meaningful change in the recent trajectory of the company's EBIT(DA) margin profile,
       elevating P&L uncertainty as we head into 2020.

          109.   A February 12, 2020 J.P. Morgan report by Christopher Horvers, Megan Alexander,

   Tami Zakaria and C. Jerry Sullivan also noted the significant problems that BBBY had just

   disclosed concerning the Program:



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       Takeaways from our follow-up with the company. (1) Product availability issues were
       primarily related to key holiday categories (i.e. small home appliances such as Instant
       Pots) resulting from increased promotions and dynamic pricing actions taken around
       Black Friday leading to out of stocks into Christmas with issues still affecting comps
       currently.

          110.    Market commentators also noted BBBY’s ongoing inventory management

   problems, which Defendants claimed were managed through proper planning, oversight and

   industry software. On February 11, 2020, USA TODAY published an article by Kelly Tyko entitled

   “Bed Bath & Beyond CEO Mark Tritton says company experiencing ‘short-term pain,’ sales

   decline” stating that BBBY had acknowledged that “[p]roduct availability was a contributing
   factor” and “inventory within certain key categories in the [BBBY] was too low or out-of-stock

   during the period.”

          111.    BBBY held a conference call with analysts on February 18, 2020. On the call,

   Defendant Tritton expanded on the inventory issues that beset the Program, including that BBBY

   failed to manage its stock of key, higher-margin products that the Program was specifically

   designed to prioritize:
       [BBBY] had a double-edged sword in terms of inventory, and I would talk to, firstly, the
       negative in that we’ve been dealing with some out-of-stocks in terms of our primary
       items that have been driving our business traditionally and that’s what's hurt us in the
       third and fourth quarter…. So on that inventory side, we didn’t have enough of the
       right stuff…. We just need to course-correct in terms of the mix of merchandise and our
       focus.

   The entire purpose of the Program, as represented to investors, was to fix BBBY’s aged and bloated

   inventory problem by unloading low margin inventory so BBBY could focus on the high margin

   inventory.

          112.    These analyst reports and news articles, as well as Defendant Tritton’s statement

   during the February 18, 2020 conference call, demonstrate that the Program was not as Defendants

   represented.
                    AFTER THE CLASS PERIOD, TRITTON ADMITS
             THAT BBBY KNEW OF THE PROGRAM’S PROBLEMS EARLY ON

          113.    On April 15, 2020, BBBY held a conference call to discuss its FY2019 results –

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   which included FY2019 diluted earnings per share of only $.46, radically below BBBY’s repeated

   guidance of $2.08 to $2.13 – and the failures of the Program.     On the call, Defendant D’Elia

   reported that the Company’s general margins plummeted by 210 basis points “primarily due to

   unfavorable impact on merchandise margin from promotional activity and markdowns.”

   Defendant Tritton also disclosed that BBBY was aware of the inventory management problems

   that beset the Program from early on. Defendant Tritton admitted that BBBY had done “intel

   work” and knew in December 2019 and January 2020 that BBBY had failed to ensure that best-

   selling products were in stock for customers during the holiday season:

       Curtis Smyser Nagle - BofA Merrill Lynch, Research Division – VP

       …As you said, February and 4Q are very much in the rear view. But I just wanted to –
       if you could possibly hash out some of the math in terms of what was implied for the
       February comp. And I think it improved relative to what was going on in the 2 prior
       months, but anything you could comment on that would be great.

       Mark J. Tritton - Bed Bath & Beyond Inc. - President, CEO & Director

       Yes. I think for us, it was tough to hit the COVID moment when we just saw some pivots
       happening in February. We knew we were plagued by issues in December and
       January,…[s]ome of it was self-inflicted. I mean when we don't have best sellers in
       stock, we've got discounting and we don't have our inventory. I mean some of the sales
       decline we saw in our stores wasn't necessarily traffic. We did some intel work on that,
       saw the customers were coming in, and they just couldn't find the product in stock. So
       we were shooting ourselves in the foot.

   In addition, as detailed supra, Defendants had real-time access to data that informed management

   about BBBY’s inventory, and thus the Program’s failures, from day one. See supra ¶¶62-68.

   Defendant Tritton’s candor therefore was too little too late.

          114.    Further demonstrating the depth of the inventory management problems at BBBY,

   Defendant Tritton noted that the Company was investing “about $250 million on our core business

   and key projects…such as…omni inventory management”.

          115.    Defendants D’Elia and Tritton also admitted on the call that BBBY’s failure to
   monitor the promotions and markdowns caused the fourth quarter plunge in margins:

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       Peter Sloan Benedict - Robert W. Baird & Co. Incorporated, Research Division -
       Senior Research Analyst

       [B]ack to the -- in the fourth quarter, can you give us a sense how much of that -- of the
       210 basis point hit to gross margin, how much of that was from the digital fulfillment
       headwinds?

       Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer

       The majority was really on -- related to markdowns and promotional activity. So more
       heavily weighted there, with just a lesser extent was the shift in the mix to digital.

       Mark J. Tritton - Bed Bath & Beyond Inc. - President, CEO & Director

       Yes. We really saw some pain points there based on the promotional activity and how
       we managed it. And that, as I said earlier, Peter, has been a tight learning. There was some
       impact of the digital sale, but it was outweighed by the margin impact that we took with
       markdowns and promos….

       Now turning to the fourth quarter, which just seem like a lifetime ago. In short, the
       pressures of store traffic trends and heavy promotional activity, coupled with the
       inventory management issues around the holiday selling period, hampered our efforts to
       stabilize the business in the fourth quarter.

          116.    Defendant Tritton also specified on the call that “certain key promotional

   categories” like “kitchen electrics” were at the heart of the end of 2019 inventory problems:
       All 4 of our e-commerce fulfillment centers are currently operating. And by the end of
       this week, we will have converted approximately 25% of our Bed Bath & Beyond and
       buybuy BABY stores in the U.S. and Canada into regional fulfillment centers to use our
       vast inventory resources to assign orders locally and deliver quickly….

       Product availability with certain key promotional categories, such as kitchen electrics,
       leading into the holiday period were either too low or just out of stock. We just didn't
       have enough of the right stuff, which hurt us. (Emphasis added).

          117.    In response to a question by Guggenheim analyst Steven Forbes, Defendant Tritton

   expanded on the inventory problems that the Program was supposed to cure, not exacerbate,

   conceding “big misses” during the critical holiday season. Defendant Tritton also conceded that

   these problems, in part, were caused by management instability and key personnel vacancies at

   BBBY – in particular the Company’s lack of a Chief Merchandising Officer since December 2019
   – that were critical to managing inventory, particularly stocking and seasonality:

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       Steven Paul Forbes - Guggenheim Securities, LLC, Research Division – Analyst

       And then maybe just a quick follow-up on inventory management. It's sort of interesting
       here given your comments around not having enough inventory this holiday, right,
       holiday 2019, about all the uncertainty that exists today. So maybe just give us an update
       or discuss how you're planning your inventory buys this year, and particularly for holiday
       2020, what's sort of the typical time frame when you have to make those decisions and
       commit to those POs? And how important, right, is it that you're open by the time those
       commitments occur?/ 9:00PM, BBBY - Q4 2019 Bed Bath & Beyond Inc Earnings Call
       Mark J. Tritton - Bed Bath & Beyond Inc. - President, CEO & Director

       Yes. Look, I mean, a couple of things there. I think that we've been – Joe [Hartsig,
       BBBY’s new Chief Merchandising Officer] has been leading the charge here and having
       deep conversation with all our majors and our general vendor bases about flow. If you go
       back to the inventory position that we had, there's kind of 2 things going there. The good
       news was that overall, we reduced our inventory by about 16% at the close of the quarter.
       And so we were working leaner on that. But inside of that, we did have big misses. Not
       by having more inventory. We think that's a good level that we can come down to. But
       we could have traded some of our mix to be more in stock of our key items and
       generated more sales and gross margin by having the right merchandise. So again, the
       level coming down is a positive, the curation within the level becomes critical. Joe has
       really lent into that charge, getting it back in stock about top 100, 250, 500 items and
       making sure that we can draw that down. I think also getting the flexibility to draw the
       stock from different places helps us to kind of speed up sales and get clarity and delivery
       to the customer on time. (Emphasis added).

       In terms of the point around the commitments, we quickly moved into an evaluation of
       high-risk merchandise, seasonal merchandise and anything that kind of -- if we looked at
       our long-term plan of what could have been a close at hold, really looking at minimizing
       our quantification of risk and adjusting flow. So that's a very fluid discussion, a very real
       discussion. And that began on day 1 when we started to see the problem emerge. So it's
       a real strength in having Joe on board, focusing on this. And our overall inventory plans
       are really highlighted by being in stock with best sellers, getting our preplan with our
       vendors in place so that we could get that in stock and we play out the third and fourth
       quarter in a different way and then keeping a close eye on seasonality and flow of
       merchandise from offshore vendors.

          118.    By frankly discussing the problems that the new Chief Merchandising Officer

   (Hartsig) had to rectify, Defendant Tritton tacitly conceded that BBBY’s lack of a Chief

   Merchandising Officer as of December 2019 (and effectively before then since it was known

   Defendant Tritton was continuing the management overhaul prompted by the Activist Investors)

   exacerbated the Company’s inventory management problems.
          119.    Notably, Chief Merchandising Officers are responsible for overseeing a company’s

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   buying and selling activities and utilizing the information gathered to develop a plan of action

   toward future purchase decisions. Thus, BBBY’s Chief Merchandising Officer was crucial for

   managing inventory and to executing and overseeing the Program.

           120.    Defendant Tritton also noted on the call that “recruiting talent remains a top

   priority” for BBBY – demonstrating that the Company still had many key management vacancies

   to fill even after hiring Hartsig.

           121.    Defendant Tritton also conceded on the call that BBBY’s promotions – which were

   very different than the Company’s usual coupon marketing – “burn[ed]” (or cannibalized) the

   Company’s inventory and margins, which were the precise risks Defendants D’Elia and Winston
   had assured investors would not happen:
       Seth Ian Sigman - Crédit Suisse AG, Research Division - United States Hardline Retail
       Equity Research Analyst

       Just wanted to start with pricing. Mark, it seems like you were pleased with some of the
       results as you sharpen price over the holiday period. What are you learning about in terms
       of Bed Bath's pricing today? What changes should we expect in the current environment
       and, I guess, beyond that?

       Mark J. Tritton - Bed Bath & Beyond Inc. - President, CEO & Director

       Yes. Look, I mean I think that we entered into promotional activity in a way that we hadn't
       ever before, Seth. I think that if we go back to the end of the third quarter, start of the
       fourth quarter, it was the first time we'd ever really been truly promotional outside of
       coupon. And we really didn't lay down the plans to get there in the right way. So we
       burn the margin and we burn a lot of inventory and weren't prepared to get back into
       stock. So they're kind of tough learnings.

           122.    These were indeed “tough learnings” for BBBY investors who saw hundreds of

   millions of dollars in market capitalization wiped out of their investments in BBBY.
           L.      THE INDIVIDUAL DEFENDANTS KNEW OF, OR RECKLESSLY
                   DISREGARDED, THE PROGRAM’S PROBLEMS FROM EARLY ON

           123.    The software utilized by BBBY, including that of Revionics, provided real-time

   information about inventory, pricing, promotions, and was specifically geared to ensure that the
   Company did not cannibalize sales and revenues.


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          124.    CW-1 stated that senior BBBY management, including Defendants D’Elia and

   Winston, received weekly Revionics reports. See ¶76.

          125.    As CEO, Defendant Tritton was the highest BBBY manager. Thus, Defendant

   Tritton also received these reports.

          126.    These weekly Revionics reports contained extensive real-time data about inventory,

   pricing, margins, promotions, and markdowns. Indeed, Defendant Tritton conceded that key

   inventory data was reviewed “hour by hour” (¶96). In addition to these reports, Defendants had

   real time access to the data through the software directly.

          127.    BBBY admitted that (i) holiday promotions and markdowns cannibalized BBBY
   sales and revenues and materially reduced margins (¶¶92, 94, 115, 121 197, 201); and (ii) the

   Company was out of stock of key goods and had minimal stock of others (¶102).

          128.    BBBY’s inventory software, including Revionics, disclosed these problems with

   promotions, markdowns, out-of-stock inventory, and reduced margins throughout the Class Period.

   As set forth supra, the software tracked the progress of the Program.

          129.    In addition to software problems, the Individual Defendants also knew or recklessly

   disregarded that BBBY lacked the key personnel necessary to execute and oversee the Program in

   a manner that would not cause adverse effects. Specifically, BBBY’s Chief Merchandising Officer

   Todd Johnson resigned in December 2019. BBBY did not replace him until March 2020. See
   supra ¶91. Because of the pivotal importance of the Chief Merchandising Officer to the Program,

   a vacancy in that office materially undermined the Program.

          130.    Furthermore, the Individual Defendants knew or recklessly disregarded (as

   conceded by Defendant Tritton, see ¶25) that, despite representations to the contrary, BBBY did

   not adequately plan for the Program’s success.
   DEFENDANTS HAD TO COMPLY WITH REGULATION S-K

          131.    SEC Regulation S-K contains disclosure requirements for companies’ SEC filings.

   Regulation S-K includes Item 303 and Item 105.
          132.    Item 303 of Regulation S-K, 17 C.F.R. § 229.303 requires that quarterly (or

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   “interim period”) financial reports “describe any known trends or uncertainties that have had or

   that registrant reasonably expects will have a material favorable or unfavorable impact on net sales

   or revenues or income from continuing operations” from the end of the preceding fiscal year to the

   date of the most recent interim balance sheet:
        [a] (ii) Describe any known trends or uncertainties that have had or that the registrant
        reasonably expects will have a material favorable or unfavorable impact on net sales
        or revenues or income from continuing operations. If the registrant knows of events that
        will cause a material change in the relationship between costs and revenues (such as
        known future increases in costs of labor or materials or price increases or inventory
        adjustments), the change in the relationship shall be disclosed….

        b) Interim periods. If interim period financial statements are included or are required to
        be included by Article 3 of Regulation S–X (17 CFR 210), a management's discussion
        and analysis of the financial condition and results of operations shall be provided so as to
        enable the reader to assess material changes in financial condition and results of
        operations between the periods specified in paragraphs (b)(1) and (2) of this Item. The
        discussion and analysis shall include a discussion of material changes in those items
        specifically listed in paragraph (a) of this Item, except that the impact of inflation and
        changing prices on operations for interim periods need not be addressed.

        (1) Material changes in financial condition. Discuss any material changes in financial
        condition from the end of the preceding fiscal year to the date of the most recent interim
        balance sheet provided….

        (2) Material changes in results of operations. Discuss any material changes in the
        registrant's results of operations with respect to the most recent fiscal year-to-date period
        for which a statement of comprehensive income (or statement of operations if
        comprehensive income is presented in two separate but consecutive financial statements
        or if no other comprehensive income) is provided and the corresponding year-to-date
        period of the preceding fiscal year.11

           133.    BBBY filed its 2Q19 financial report on October 9, 2019 for the time period of June

   1, 2019 through August 31, 2019.

           134.    BBBY filed its 3Q19 financial report on January 9, 2020 for the time period of



   11
     Paragraph (a) provides: “Discuss registrant's financial condition, changes in financial condition
   and results of operations. The discussion shall provide information as specified in paragraphs
   (a)(1) through (5) of this Item and also shall provide such other information that the registrant
   believes to be necessary to an understanding of its financial condition, changes in financial
   condition and results of operations.”

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   September 1, 2019 through November 30, 2019.

          135.    Item 303 required BBBY’s October 2019 and January 2020 Forms 10-Q to discuss

   any “any known trends or uncertainties that have had or that the registrant reasonably expects will

   have a material favorable or unfavorable impact on net sales or revenues or income from

   continuing operations” between (i) March 3, 2019 (the date of the last BBBY annual report) and

   August 31, 2019 for the October 2019 Form 10-Q; and (ii) March 3, 2019 and November 30, 2019

   for the January 2020 Form 10-Q. As alleged below (see ¶¶168, 188), the October 2019 and January

   2020 Forms 10-Q failed to discuss the known trends and uncertainties surrounding the Program.

          136.    Item 105 of Regulation S-K, 17 C.F.R. § 229.105 required a discussion in the
   October 2019 and January 2020 Forms 10-Q of the most significant factors that made investing in

   BBBY risky or speculative and that each risk factor adequately describe the risk:
       Where appropriate, provide under the caption “Risk Factors” a discussion of the most
       significant factors that make an investment in the registrant or offering speculative or
       risky. This discussion must be concise and organized logically. Do not present risks that
       could apply generically to any registrant or any offering. Explain how the risk affects the
       registrant or the securities being offered. Set forth each risk factor under a subcaption that
       adequately describes the risk. If the risk factor discussion is included in a registration
       statement, it must immediately follow the summary section. If you do not include a
       summary section, the risk factor section must immediately follow the cover page of the
       prospectus or the pricing information section that immediately follows the cover page.
       Pricing information means price and price-related information that you may omit from
       the prospectus in an effective registration statement based on Rule 430A (§ 230.430A(a)
       of this chapter). The registrant must furnish this information in plain English. See §
       230.421(d) of Regulation C of this chapter.

          137.    Despite Item 105’s requirements, the Forms 10-Q failed to disclose the risk posed

   by the significant flaws in the Program. Because the omitted material facts alleged herein were

   not disclosed, as well as the consequent material adverse effects on the Company’s future results

   and prospects, BBBY violated Item 105. See ¶¶171, 191.
   DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS AND
   OMISSIONS

          138.    The Class Period begins on September 4, 2019. On that date, BBBY filed a Form

   8-K with the SEC. The Form 8-K was signed by Defendant D’Elia and attached a letter from

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   Defendant Winston to BBBY shareholders about the Program. That letter provided, in relevant

   part, as follows:

       Dear Fellow Shareholders,

       In recent months, we have initiated significant changes at Bed Bath & Beyond, including
       at the Board level and across the entire organization. Our objectives are to accelerate
       improvement in our financial performance, enhance our competitive positioning and
       ensure we have a best-in-class governance structure. While in its early stages, the
       transformation underway is advancing, and we wanted to share an update on the progress
       we are making toward achieving these objectives.

       The Board and management team are aligned around four key priorities, which interim
       CEO Mary Winston communicated during the Company's first quarter 2019 earnings
       conference call in July. These priorities include stabilizing and driving top-line growth;
       resetting the cost structure; reviewing and optimizing the Company's asset base,
       including the portfolio of retail banners; and refining Bed Bath & Beyond's organization
       structure. We are relentless in our pursuit of short-term opportunities to effect meaningful
       change, while laying the foundation for transforming our Company for long-term success.
       Some examples are…

       Reviewing and Optimizing Our Asset Base – An aggressive reduction of up to $1
       billion of inventory is expected to be executed over the next 18 months, including the
       removal of excess aged inventory from our stores anticipated before the 2019 holiday
       season. This effort should allow us to quickly reset inventory levels in both our stores
       and distribution centers, as well as refresh our assortment, providing for newness and
       higher-margin products, all in an effort to drive customer traffic and support top-line
       performance.

          139.    These statements were materially false and misleading when made because:
          (i) As later admitted, BBBY did not “have price management floated properly [] coming
          into the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196) – thus, the
          Program was fatally flawed from the start; and

          (ii) Defendants Winston, D’Elia and BBBY omitted to disclose the serious risks relating to
          the Program, namely that BBBY:

                  (a) might not be able to remove “excess aged inventory” without material adverse
                  consequences such as cannibalizing sales, causing inventory shortages in higher-
                  margin products, and reducing earnings and margins (see ¶¶46-49, 62-78, 115, 121,
                  123-130, 197, 201);

                  (b) lacked adequate plans and personnel to meaningfully execute and oversee the
                  Program – particularly in the middle of a management overhaul that included a
                  search for a more permanent CEO for BBBY (see ¶¶121, 87-91); and

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                     (c) had no experience executing or overseeing wide-scale markdowns and
                     promotions and was out of its depth (see ¶121).

             140.    On October 2, 2019, BBBY announced FY2019 adjusted earnings per share

   guidance of $2.08 to $2.13 per share:
           Fiscal 2019 Updated Financial Outlook

           Fiscal 2019 full-year results continue to be in line with the Company's most recent
           guidance and assumes current investment plans to drive top-line performance in the back
           half, as well as its comp sales trends year to date, and excludes goodwill and other
           impairments, severance costs, shareholder activity costs, the inventory write down, and
           any incremental impact from tariffs. Fiscal 2019 full-year net sales are estimated to be
           around $11.4 billion and net earnings per diluted share are estimated to be between
           $2.08 and $2.13.

             141.    BBBY’s net earnings per diluted share guidance had no reasonable basis, and was

   materially false and misleading when made, because Defendants knew or recklessly disregarded

   that:
             (i) as later admitted, BBBY did not “have price management floated properly []
             coming into the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

             (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
             reports the Individual Defendants received weekly, and which provided them with
             real-time data from the start of the Program):

                     (a) the Program’s promotions and markdowns were having material adverse
                     consequences in that they were cannibalizing revenues, causing inventory
                     shortages in higher-margin products, and reducing earnings and margins
                     ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                     123-130, 197, 201); and

                     (b) BBBY was selling higher margin inventory under promotions that
                     reduced margins and/or such inventory could not be restocked ahead of the
                     critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

             (iii) BBBY was in the middle of a management overhaul and search for a new CEO
             and lacked adequate plans and personnel to meaningfully execute and oversee the
             Program and prevent further margin erosion and sales cannibalization (see ¶¶121,
             87-91); and

             (iv) as also admitted by Defendant Tritton, BBBY was out of its depth because it
             had never conducted markdown promotions like this before (see ¶121).

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          142.    BBBY held a conference call with analysts on October 2, 2019. During that call,

   Defendants Winston and D’Elia repeatedly and extensively discussed the Program. Indeed, the

   Program was a chief concern of analysts on the call.

          143.    During the call, Defendant Winston provided an overview of the Program – but was

   anything but “transparent” about the serious risks with it:
       During our call, we have provided a lot of transparency around the things that we are
       doing to advance our strategic priorities, including plans to aggressively reduce up to $1
       billion of inventory at retail over the next 18 months, including the removal of aged
       inventory from our stores before the 2019 holiday season to refresh our assortment and
       support top line performance; the initiation of a rapid store refresh of nearly 160 of our
       highest volume and most profitable Bed Bath & Beyond stores to improve the in-store
       shopping experience; the completion of our initial fleet optimization analysis for Bed
       Bath & Beyond and the decision to close 40 Bed Bath & Beyond stores and 20 other
       concept stores this year; our decision to close down one of our least productive e-
       commerce businesses; and finally, the ongoing evaluation of our business concepts and
       our real estate holdings.

          144.    Defendant Winston’s statements were materially false and misleading when made

   because Defendant Winston knew or recklessly disregarded that:
          (i) as later admitted, BBBY did not “have price management floated properly []
          coming into the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                  (a) the Program’s promotions and markdowns were having material adverse
                  consequences in that they were cannibalizing revenues, causing inventory
                  shortages in higher-margin products, and reducing earnings and margins
                  ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                  123-130, 197, 201); and

                  (b) BBBY was selling higher margin inventory under promotions that
                  reduced margins and/or such inventory could not be restocked ahead of the
                  critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul and search for a new CEO
          and lacked adequate plans and personnel to meaningfully execute and oversee the
          Program and prevent further margin erosion and sales cannibalization (see ¶¶121,
          87-91); and

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          (iv) as later admitted, BBBY was out of its depth because it had never conducted
          markdown promotions like this before (see ¶¶121).

          145.    Defendant Winston also stated on the call:
       In the short term, more than approximately $350 million of inventory at retail will be
       removed from our stores before the 2019 holiday season. This will be accomplished with
       a series of markdowns and clearance events as well as with the assistance of an
       independent liquidator, all to be managed thoughtfully to prevent cannibalization of sales.

          146.    These statements were materially false and misleading when made because

   Defendant Winston knew or recklessly disregarded that:
          (i) as later admitted, BBBY did not “have price management floated properly []
          coming into the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                  (a) the Program’s promotions and markdowns were having material adverse
                  consequences in that they were cannibalizing revenues, causing inventory
                  shortages in higher-margin products, and reducing earnings and margins
                  ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                  123-130, 197, 201); and

                  (b) BBBY was selling higher margin inventory under promotions that
                  reduced margins and/or such inventory could not be restocked ahead of the
                  critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul and search for a new CEO
          and lacked adequate plans and personnel to meaningfully execute and oversee the
          Program and prevent further margin erosion and sales cannibalization (see ¶¶121,
          87-91); and

          (iv) as later admitted, BBBY was out of its depth because it had never conducted
          markdown promotions like this before (see ¶121).

          147.    Defendant Winston also touted the importance of industry software in managing

   the Program.    Defendant Winston trumpeted BBBY’s “new data-driven insights” and the

   Company’s “markdown optimization software”, assuring investors that these tools would fuel the
   $1 billion inventory sell-through while avoiding the risk of margin erosion and sales


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   cannibalization:
       Our #1 priority is stabilizing our top line and optimizing our sales opportunities. A core
       component of our sales stabilization efforts and our transformation overall is based on
       new data-driven insights that we are using to identify opportunities for improving our
       customer value proposition….

       We continue to make strategic pricing decisions to deliver noticeable value to our
       customers. These strategies include refining our dynamic pricing algorithms and
       online and in-store pricing actions to address customer price perceptions. The
       implementation of markdown optimization software and processes is accelerating sell-
       through, resulting in less aged inventory and optimizing the profitability of our
       seasonal and fashion assortment. We believe that more effective pricing will drive both
       top line growth and profit improvement. These near-term opportunities will provide the
       foundation required to invest in and execute the shopping transformation consumers are
       demanding and allow us to reinvigorate our iconic brand. (Emphasis added).

          148.    Defendant Winston’s statement that BBBY was using its software and that it was

   “accelerating sell-through” and “optimizing profitability of seasonal and fashion assortment” was

   materially false and misleading when made because Defendant Winston knew or recklessly

   disregarded that:
          (i) as later admitted, BBBY did not “have price management floated properly []
          coming into the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                  (a) the Program’s promotions and markdowns were having material adverse
                  consequences in that they were cannibalizing revenues, causing inventory
                  shortages in higher-margin products, and reducing earnings and margins
                  ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                  123-130, 197, 201); and; and

                  (b) BBBY was selling higher margin inventory under promotions that
                  reduced margins and/or such inventory could not be restocked ahead of the
                  critical 2019 holiday season (see ¶¶ 94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul and search for a new CEO
          and lacked adequate plans and personnel to meaningfully execute and oversee the
          Program and prevent further margin erosion and sales cannibalization (see ¶¶121,
          87-91); and

          (iv) as later admitted, BBBY was out of its depth because it had never conducted

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          markdown promotions like this before (see ¶121).

          149.   Defendant Winston also stated on the call:
       We feel good about the progress we are making against our 4 key near-term priorities,
       including stabilizing sales and driving top line growth; resetting the cost structure;
       reviewing and optimizing the company's asset base, including the portfolio of retail
       banners; and refining our organization structure. This work is being done with the support
       and guidance of the Business Transformation and Strategy Review Committee of the
       Board and a highly engaged leadership team. I'm even more confident in the tremendous
       opportunity in front of us. Today, I would like to provide an update on the progress we
       have made against each of our 4 priorities as well as what this means for our path forward.
       Our goal is to ensure our customers see a meaningful difference this critical holiday
       season while laying the foundation for transforming our company for long-term success.
       (Emphasis added).

          150.   Defendant Winston’s statement was materially false and misleading when made

   because Defendant Winston knew or recklessly disregarded that:
          (i) as later admitted, BBBY did not “have price management floated properly []
          coming into the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                 (a) the Program’s promotions and markdowns were having material adverse
                 consequences in that they were cannibalizing revenues, causing inventory
                 shortages in higher-margin products, and reducing earnings and margins
                 ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                 123-130, 197, 201); and; and

                 (b) BBBY was selling higher margin inventory under promotions that
                 reduced margins and/or such inventory could not be restocked ahead of the
                 critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul and search for a new CEO
          and lacked adequate plans and personnel to meaningfully execute and oversee the
          Program and prevent further margin erosion and sales cannibalization (see ¶¶121,
          87-91); and

          (iv) as later admitted, BBBY was out of its depth because it had never conducted
          markdown promotions like this before (see ¶121).

          151.   Thus, the only “difference” BBBY customers saw during the 2019 holiday season

   was empty or minimally stocked shelves.
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          152.    Later on the call, Defendant D’Elia boasted of BBBY’s growing gross margins and

   represented that the Program would not undermine them – which was an issue of particular

   importance to analysts and the market:
       Robert Kenneth Griffin - Raymond James & Associates, Inc., Research Division -
       Senior Research Associate

       I was first hoping to dive a little bit into the gross margin aspect. Can you maybe give us
       a little color, by concept or maybe month by month, the progress you’re making in
       improving the margin structure? And then basically the same question on the SG&A side,
       too, if we can get some color around, month-over-month, how it's improved and where
       the bigger opportunities are for the remainder of the year.

       Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer

       Sure. Just to address your point on breaking out the components by concept, that is not
       historically been our reporting cadence to break it out at that granular level. But from a
       gross margin perspective, we are pleased that this quarter, we have favorable trends, 20
       basis points improvement. That is a significant shift from what we've been experiencing
       from a trending perspective. And it's driven by benefits in coupons and net direct-to-
       customer shipping with some offset in merchandise margin. But that merchandise margin,
       which I'm talking about on a consolidated basis, the trend in that has been improving
       due to some of the ongoing initiatives that we have in place. So for some select product,
       we've actually moved to direct importing and gained efficiencies from our own supply
       chain, which has benefited us. We've also been actively engaging in vendor negotiations
       around our merchandise. And then we've also continued with some strategic pricing
       initiatives, which has helped benefit our margin. And we have more to come. (Emphasis
       added).

          153.    These statements were materially false and misleading because Defendants knew
   or recklessly disregarded that:
          (i) as later admitted, BBBY did not “have price management floated properly []
          coming into the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                  (a) the Program’s promotions and markdowns were having material adverse
                  consequences in that they were cannibalizing revenues, causing inventory
                  shortages in higher-margin products, and reducing earnings and margins
                  ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                  123-130, 197, 201); and; and


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                 (b) BBBY was selling higher margin inventory under promotions that
                 reduced margins and/or such inventory could not be restocked ahead of the
                 critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul and search for a new CEO
          and lacked adequate plans and personnel to meaningfully execute and oversee the
          Program and prevent further margin erosion and sales cannibalization (see ¶¶121,
          87-91); and

          (iv) as later admitted, BBBY was out of its depth because it had never conducted
          markdown promotions like this before (see ¶121).

          154.   Later on the same call, Defendant D’Elia represented to a Wedbush Securities

   analyst that BBBY’s holiday promotions and markdowns were “built” into the earnings model and

   would enable the Company to meet its earnings guidance:
       Seth Basham – Wedbush Securities

       My question is around the outlook for holidays. You guys are shifting a bunch of
       marketing dollars and promotional dollars to the holiday period. Can you first quantify
       how much you're shifting and how much you're adding? And secondly, what type of
       improvement do you expect in those sales as well as margin over this period?

       Robyn M. D’Elia - Bed Bath & Beyond Inc. - CFO & Treasurer

       Sure. Thanks, Seth. So as you've mentioned, we are shifting dollars into the back half for
       promotional and marketing support. Those dollars are being generated from ongoing
       transformation initiatives as well as the benefits that Mary mentioned in our cost structure
       savings initiatives. And those dollars that we're planning to invest will be spent on
       promotional events during Thanksgiving week through Cyber Monday as well as driving
       enrollment in BEYOND+ and investing in new communication channels, such as digital,
       video and radio. In terms of quantifying it, we've built it all in for the model, and those
       – the reinvestment of those dollars is allowing us to maintain our top line at around
       $11.4 billion [revenues] as well as maintain our bottom line within the previously
       guided range. (Emphasis added).

          155.   This statement was materially false and misleading when made because Defendant

   D’Elia knew or recklessly disregarded that the “bottom line” FY2019 earnings guidance had no

   reasonable basis because:
          (i) as later admitted, BBBY did not “have price management floated properly []
          coming into the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose

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          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                  (a) the Program’s promotions and markdowns were having material adverse
                  consequences in that they were cannibalizing revenues, causing inventory
                  shortages in higher-margin products, and reducing earnings and margins
                  ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                  123-130, 197, 201); and; and

                  (b) BBBY was selling higher margin inventory under promotions that
                  reduced margins and/or such inventory could not be restocked ahead of the
                  critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul and search for a new CEO
          and lacked adequate plans and personnel to meaningfully execute and oversee the
          Program and prevent further margin erosion and sales cannibalization (see ¶¶121,
          87-91); and

          (iv) as later admitted, BBBY was out of its depth because it had never conducted
          markdown promotions like this before (see ¶121).

          156.    Defendants Winston and D’Elia further stressed BBBY’s continued profitability

   and its ability to meet the FY2019 guidance on the call:
       Daniel Harry Hofkin - William Blair & Company L.L.C., Research Division –
       Analyst

       Just a quick question about general fundamentals and then a quick – just a couple of quick
       housekeeping questions. So you talked about efforts to drive more sales in the back half
       and to the holidays. Can you just talk about what sort of impact you expect on profit
       margins or profitability from that and how that could kind of build over time? Obviously,
       driving top line is important but in terms of the trade-up between sales and margins and
       then, like I said, I have a couple of quick housekeeping questions after that.

       Mary A. Winston - Bed Bath & Beyond Inc. - Interim CEO & Director

       So let me just start, and then I'm going to turn it over to Robyn to maybe talk at a little bit
       more detailed level. But even as we said in the fourth quarter, we are focused on driving
       – I mean the first quarter call, we're focused on driving top line, but we're focused on
       maintaining profitability as well. So we believe, given the number of levers we have to
       pull and the number of opportunities we have in the business, that we can drive sales and
       we may be on promotion, of course, through the holiday season and be doing more
       advertising. But we think we have other levers to pull to control the cost structure to
       maintain profitability.

          157.    These statements were materially false and misleading when made because

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   Defendant D’Elia and Winston knew or recklessly disregarded that:
          (i) as later admitted, BBBY did not “have price management floated properly []
          coming into the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                 (a) the Program’s promotions and markdowns were having material adverse
                 consequences in that they were cannibalizing revenues, causing inventory
                 shortages in higher-margin products, and reducing earnings and margins
                 ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                 123-130, 197, 201); and; and

                 (b) BBBY was selling higher margin inventory under promotions that
                 reduced margins and/or such inventory could not be restocked ahead of the
                 critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul and search for a new CEO
          and lacked adequate plans and personnel to meaningfully execute and oversee the
          Program and prevent further margin erosion and sales cannibalization (see ¶¶121,
          87-91); and

          (iv) as later admitted, BBBY was out of its depth because it had never conducted
          markdown promotions like this before (see ¶121).

          158.   Defendant D’Elia also stated at the end of the call that BBBY was “maintaining our

   guidance of the sales around $11.4 billion and then EPS between $2.08 and $2.13.”

          159.   Defendant D’Elia’s reiteration of the earnings guidance was materially false and
   misleading when made because Defendant D’Elia knew or recklessly disregarded that:
          (i) as later admitted, BBBY did not “have price management floated properly []
          coming into the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                 (a) the Program’s promotions and markdowns were having material adverse
                 consequences in that they were cannibalizing revenues, causing inventory
                 shortages in higher-margin products, and reducing earnings and margins
                 ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                 123-130, 197, 201); and; and


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                  (b) BBBY was selling higher margin inventory under promotions that
                  reduced margins and/or such inventory could not be restocked ahead of the
                  critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul and search for a new CEO
          and lacked adequate plans and personnel to meaningfully execute and oversee the
          Program and prevent further margin erosion and sales cannibalization (see ¶¶121,
          87-91); and

          (iv) as later admitted, BBBY was out of its depth because it had never conducted
          markdown promotions like this before (see ¶121).

          160.    Defendant D’Elia then soothed analyst concerns over previously undisclosed risks

   of the Program, representing that the Program safeguarded against margin erosion and sales

   cannibalization:
       Oliver Wintermantel - Evercore ISI Institutional Equities, Research Division - MD &
       Fundamental Research Analyst

       I just wanted to clarify, when you said that the inventory fell [sic] through, that should
       not have a gross margin impact towards the rest of the year. So I just want to clarify that.
       And then my other question on gross margins is like the shipping cost seemed to be a
       benefit in the second quarter. So was that driven by lower sales and that's why shipping
       costs were better? And then now looking into the back end of the year, do you expect that
       your sales are going to improve throughout the year?...

       Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer

       So that was a multipart question. I'm going to start with the first one, and I may have to
       ask you to repeat a couple of your sub-bullet points. So on the inventory, you're asking
       about the margin impact as we take out the merchandise. Again, we're mindful not to
       cannibalize sales during the holiday period. And we can, using a third-party liquidator,
       remove that merchandise from our stores but not have it out in the market competing
       against ourselves or be liquidating it in a heavy fashion during this time frame. (Emphasis
       added).

          161.    These statements were materially false and misleading when made because

   Defendant D’Elia knew or recklessly disregarded that:
          (i) as later admitted, BBBY did not “have price management floated properly []
          coming into the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

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                  (a) the Program’s promotions and markdowns were having material adverse
                  consequences in that they were cannibalizing revenues, causing inventory
                  shortages in higher-margin products, and reducing earnings and margins
                  ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                  123-130, 197, 201); and; and

                  (b) BBBY was selling higher margin inventory under promotions that
                  reduced margins and/or such inventory could not be restocked ahead of the
                  critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul and search for a new CEO
          and lacked adequate plans and personnel to meaningfully execute and oversee the
          Program and prevent further margin erosion and sales cannibalization (see ¶¶121,
          87-91); and

          (iv) as later admitted, BBBY was out of its depth because it had never conducted
          markdown promotions like this before (see ¶121).

          162.    Defendant Winston further discussed the Program and echoed Defendant D’Elia’s

   earlier claim during the call that cannibalization of sales was not an issue:
       As we mentioned in the recent shareholder letter, we have plans to aggressively reduce
       up to $1 billion of inventory at retail over the next 18 months. As a result of the decision,
       we took $194 million inventory writedown in the second quarter. We believe this
       aggressive disposition of inventory will enable us to more quickly reset inventory levels
       in both our Bed Bath & Beyond stores and distribution centers to allow for a faster refresh
       of our assortment, as well as to enable us to refocus store labor activity to better support
       our customers and drive sales. In the short term, more than approximately $350 million
       of inventory at retail will be removed from our stores before the 2019 holiday season.
       This will be accomplished through a series of markdowns and clearance events, as well
       as with the assistance of the independent liquidator, all to be managed thoughtfully to
       prevent cannibalization of sales…. (Emphasis added).

          163.    These statements were materially false and misleading when made because

   Defendant Winston knew or recklessly disregarded that:
          (i) as later admitted, BBBY did not “have price management floated properly []
          coming into the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                  (a) the Program’s promotions and markdowns were having material adverse
                  consequences in that they were cannibalizing revenues, causing inventory
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                  shortages in higher-margin products, and reducing earnings and margins
                  ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                  123-130, 197, 201); and; and

                  (b) BBBY was selling higher margin inventory under promotions that
                  reduced margins and/or such inventory could not be restocked ahead of the
                  critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul and search for a new CEO
          and lacked adequate plans and personnel to meaningfully execute and oversee the
          Program and prevent further margin erosion and sales cannibalization (see ¶¶121,
          87-91); and

          (iv) as later admitted, BBBY was out of its depth because it had never conducted
          markdown promotions like this before (see ¶121).

          164.    After analyst Simeon Gutman asked Defendant D’Elia about inventory issues,

   Defendant D’Elia again reiterated that the Program safeguarded against “cannibaliz[ing] sales

   during this holiday period”:
       Simeon Ari Gutman - Morgan Stanley, Research Division - Executive Director

       My first question, back on some of the inventory and the destocking. I know you said an
       18-month process, can you tell us maybe what inning is it in from, I guess, a store
       perspective? And the impact that it's having as the customer shops, can you give us some
       sense? Are you seeing a basket-size change? Are you seeing conversion then go up online
       if they're not finding something in the store? And then I have one follow-up on the gross
       margin.

       Robyn M. D'Elia - Bed Bath & Beyond Inc. - CFO & Treasurer

       From a timing perspective, in the short term, we are planning that – to have about $350
       million of the inventory out of the stores before holiday. We are in the early innings of
       starting that process and of removing the inventory from the physical store locations. As
       we're working through that, we're mindful not to cannibalize sales during this holiday
       period. (Emphasis added).

          165.    This statement was materially false and misleading when made because Defendant

   D’Elia knew or recklessly disregarded that:
          (i) as later admitted, BBBY did not “have price management floated properly []
          coming into the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with

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          real-time data from the start of the Program):

                 (a) the Program’s promotions and markdowns were having material adverse
                 consequences in that they were cannibalizing revenues, causing inventory
                 shortages in higher-margin products, and reducing earnings and margins
                 ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                 123-130, 197, 201); and

                 (b) BBBY was selling higher margin inventory under promotions that
                 reduced margins and/or such inventory could not be restocked ahead of the
                 critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul and search for a new CEO
          and lacked adequate plans and personnel to meaningfully execute and oversee the
          Program and prevent further margin erosion and sales cannibalization (see ¶¶121,
          87-91); and

          (iv) as later admitted, BBBY was out of its depth because it had never conducted
          markdown promotions like this before (see ¶121).

          166.   On October 9, 2019 (amended on October 15, 2019), Bed Bath & Beyond filed its

   quarterly report for the period ended August 31, 2019, signed by Defendant D’Elia. That Form

   10-Q stated as follows in the Management’s Discussion and Analysis section:
       Gross profit for the three months ended August 31, 2019 was $727.0 million, or 26.7%
       of net sales, compared with $988.6 million, or 33.7% of net sales, for the three months
       ended September 1, 2018. Gross profit for the six months ended August 31, 2019 was
       $1.614 billion, or 30.5%, of net sales, compared with $1.953 billion, or 34.3% of net
       sales, for the six months ended September 1, 2018. The decrease in the gross profit margin
       as a percentage of net sales for the three and six months ended August 31, 2019 was
       primarily attributable to a decrease in merchandise margin, as a result of an incremental
       reserve for future markdowns of approximately $194.0 million taken in the second quarter
       of fiscal 2019 related to the Company's transformation initiatives, which was an
       incremental charge to the actual markdowns recorded in the second quarter of fiscal 2019.

       This incremental reserve for future markdowns was the result of the Company's
       strategic decision to reduce inventory by up to $1.0 billion at retail over the next 18
       months. This reduction is being driven by the acceleration of the Company’s inventory
       rationalization efforts, including reductions of aged and duplicative SKUs within the
       Company’s assortment. By taking this action, the Company is seeking to reset its
       inventory levels in both stores and distribution centers, as well as refresh its assortment,
       providing for newness and higher-margin products, all in an effort to drive customer
       traffic and support top-line performance. (Emphasis added).

          167.   These statements were materially false and misleading when made because

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   Defendants BBBY and D’Elia knew or recklessly disregarded that:
          (i) as later admitted, BBBY did not “have price management floated properly []
          coming into the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                  (a) the Program’s promotions and markdowns were having material adverse
                  consequences in that they were cannibalizing revenues, causing inventory
                  shortages in higher-margin products, and reducing earnings and margins
                  ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                  123-130, 197, 201); and

                  (b) BBBY was selling higher margin inventory under promotions that
                  reduced margins and/or such inventory could not be restocked ahead of the
                  critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul and search for a new CEO
          and lacked adequate plans and personnel to meaningfully execute and oversee the
          Program and prevent further margin erosion and sales cannibalization (see ¶¶121,
          87-91); and

          (iv) as later admitted, BBBY was out of its depth because it had never conducted
          markdown promotions like this before (see ¶121).

          168.    Defendants BBBY and D’Elia also knew or recklessly disregarded that these

   statements were materially false and misleading when made because they violated Item 303 by

   failing to disclose the trends and uncertainties discussed in ¶167(i)-(iv).
          169.    The October 2019 Form 10-Q also incorporated the following discussion about the

   risks in investing in BBBY from the Company’s 2018 annual report filed on April 30, 2019:
       The Company’s operating results could be negatively impacted by a major disruption of
       the Company’s information technology systems. The Company relies heavily on these
       systems to process transactions, manage inventory replenishment, summarize results
       and control distribution of products. Despite numerous safeguards and careful
       contingency planning, these systems are still subject to power outages,
       telecommunication failures, cybercrimes, cybersecurity attacks and other catastrophic
       events. A major disruption of the systems and their backup mechanisms may cause the
       Company to incur significant costs to repair the systems, experience a critical loss of data
       and/or result in business interruptions.

          170.    These statements were materially false and misleading when made because

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   Defendants knew or recklessly disregarded that:
          (i) as later admitted, BBBY did not “have price management floated properly []
          coming into the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                  (a) the Program’s promotions and markdowns were having material adverse
                  consequences in that they were cannibalizing revenues, causing inventory
                  shortages in higher-margin products, and reducing earnings and margins
                  ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                  123-130, 197, 201); and

                  (b) BBBY was selling higher margin inventory under promotions that
                  reduced margins and/or such inventory could not be restocked ahead of the
                  critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul and search for a new CEO
          and lacked adequate plans and personnel to meaningfully execute and oversee the
          Program and prevent further margin erosion and sales cannibalization (see ¶¶121,
          87-91); and

          (iv) as later admitted, BBBY was out of its depth because it had never conducted
          markdown promotions like this before (see ¶121).

          171.    Defendants BBBY and D’Elia also knew or recklessly disregarded that the

   statements in paragraph 169 were materially false and misleading because they violated Item 105

   by failing to disclose the “most significant factor” relating to the risks in investing in BBBY as
   articulated in ¶167(i)-(iv) above.
   BBBY BEGINS TO DISCLOSE THAT THE PROGRAM WAS HARMING MARGINS
   AND WITHDRAWS ITS GUIDANCE – BUT CONTINUES TO HIDE THE FULL
   EXTENT OF THE PROBLEMS

          172.    The truth began to emerge on January 8, 2020 when BBBY reported that the

   Company’s earnings and margins had plunged and that it was pulling its FY2019 guidance – but

   the Company did not disclose the depth of either its inventory problems or its margin collapse,

   concealing the full extent of the collateral damage caused by the Program. In a press release

   entitled “Bed Bath & Beyond Inc. Reports Results for Fiscal 2019 Third Quarter” that day, BBBY

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   stated, in relevant part:

       Fiscal 2019 Third Quarter Results

       For the fiscal 2019 third quarter, the Company reported a net loss of $(0.31) per diluted
       share ($(38.6) million),... Net sales for the fiscal 2019 third quarter were $2.8 billion, a
       decrease of 9.0% compared to the prior year period. Comparable sales in the fiscal 2019
       third quarter declined 8.3%.

       Outlook

       The Company expects its sales and profitability to remain pressured during the fiscal 2019
       fourth quarter. Considering these headwinds reflected in the Company’s results to date,
       and the ongoing work by recently appointed President & CEO Mark Tritton to assess the
       business and finalize the details of the Company’s go-forward strategic plan as well as
       the extensive senior leadership changes within the past month, the Company believes it
       is appropriate to withdraw its fiscal 2019 full year financial guidance. (Emphasis
       added).

           173.     BBBY also held a conference call on January 8, 2020. On that call, Defendant

   D’Elia stated:
       Th[e] 80 basis point decline is primarily due to a decrease in merchandise margin driven
       by a higher level of promotional activity in the quarter and was partially offset by a
       decrease in net direct-to-customer shipping expense.

           174.     On the call, Defendant Tritton acknowledged that “[p]erformance was impacted to

   some extent by self-inflicted issues, like [p]oor inventory management.” See also id. (“We’re

   experiencing short-term pain, some of which has been self-inflicted”).

           175.     The January 8, 2020 disclosures did not reveal the full truth about BBBY’s

   inventory management problems or the full extent of the Program’s adverse impact.

           176.     Defendant Tritton’s statement that BBBY’s “performance was impacted to some

   extent by self-inflicted issues, like poor inventory management” was materially false and

   misleading when made because it omitted the true extent of the inventory management problems

   and the adverse effects of the Program as:
           (i) Defendant Tritton admitted:

                    (a) he knew of BBBY’s inventory problems in November 2019 when he
                        reviewed the issue “hour by hour” (see ¶96);

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                 (b) he knew of BBBY’s inventory management problems, including
                     unstocked and minimally stocked shelves, in December 2019 and
                     January 2020 (see ¶113);
                 (c) BBBY did not “have price management floated properly [] coming into
                     the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

                 (d) BBBY was out of its depth because it had never conducted markdown
                     promotions like this before (see ¶121).

          (ii) shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                 (a) the Program’s promotions and markdowns were having material adverse
                 consequences in that they were cannibalizing revenues, causing inventory
                 shortages in higher-margin products, and reducing earnings and margins
                 ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                 123-130, 197, 201); and

                 (b) BBBY was selling higher margin inventory under promotions that
                 reduced margins and/or such inventory could not be restocked ahead of the
                 critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul, with six senior BBBY
          managers including the Company’s Chief Merchandising Officer, leaving in
          December 2019 and, thus, lacked adequate plans and personnel to meaningfully
          execute and oversee the Program and prevent further margin erosion and sales
          cannibalization (see ¶¶87-91, 121).

          177.   Yet, after admitting the “self-inflicted” inventory management problems,
   Defendant Tritton “doubled down” on the “solid[ity]” of the Program:
       I want to be really clear here, continuing to accelerate the existing transformation work
       that was put in place which is really solid, and we've been able to double down on that
       since me coming onboard.

          178.   Defendant Tritton’s statement was materially false and misleading when made

   because:
          i) as Defendant Tritton admitted:

                 (a) he knew of BBBY’s inventory problems in November 2019 when he
                     reviewed the issue “hour by hour” (see ¶96);

                 (b) he knew of BBBY’s inventory management problems, including
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                     unstocked and minimally stocked shelves, in December 2019 and
                     January 2020 (see ¶113);

                 (c) BBBY did not “have price management floated properly [] coming into
                     the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

                 (d) BBBY was out of its depth because it had never conducted markdown
                     promotions like this before (see ¶121).

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                 (a) the Program’s promotions and markdowns were having material adverse
                 consequences in that they were cannibalizing revenues, causing inventory
                 shortages in higher-margin products, and reducing earnings and margins
                 ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                 123-130, 197, 201); and

                 (b) BBBY was selling higher margin inventory under promotions that
                 reduced margins and/or such inventory could not be restocked ahead of the
                 critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul, with six senior BBBY
          managers including the Company’s Chief Merchandising Officer, leaving in
          December 2019 and, thus, lacked adequate plans and personnel to meaningfully
          execute and oversee the Program and prevent further margin erosion and sales
          cannibalization (see ¶¶87-91, 121).

          179.   Defendant Tritton also stated on the call that BBBY was on top of the important

   dynamic between sales growth and inventory growth:
       I think one of the real strengths of the season when we're under pressure is that we were
       able to maintain our inventories and always look at that mix of sales growth versus
       inventory growth. And the team had done a great job in terms of keeping the lid on
       inventory and really culling through that aged and excess inventory side of the business.

          180.   Defendant Tritton’s statements were materially false and misleading when made

   because:
          i) as Defendant Tritton admitted:

                 (a) he knew of BBBY’s inventory problems in November 2019 when he
                     reviewed the issue “hour by hour” (see ¶96);

                 (b) he knew of BBBY’s inventory management problems, including
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                     unstocked and minimally stocked shelves, in December 2019 and
                     January 2020 (see ¶113);
                 (c) BBBY did not “have price management floated properly [] coming into
                     the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

                 (d) BBBY was out of its depth because it had never conducted markdown
                     promotions like this before (see ¶121).

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                 (a) the Program’s promotions and markdowns were having material adverse
                 consequences in that they were cannibalizing revenues, causing inventory
                 shortages in higher-margin products, and reducing earnings and margins
                 ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                 123-130, 197, 201); and

                 (b) BBBY was selling higher margin inventory under promotions that
                 reduced margins and/or such inventory could not be restocked ahead of the
                 critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul, with six senior BBBY
          managers including the Company’s Chief Merchandising Officer, leaving in
          December 2019 and, thus, lacked adequate plans and personnel to meaningfully
          execute and oversee the Program and prevent further margin erosion and sales
          cannibalization (see ¶¶87-91, 121).

          181.   After the January 8, 2020 revelations, BBBY’s share price fell $3.20, or almost

   20%, to close at $13.4 per share on January 9, 2020, on unusually heavy trading volume.

          182.   On January 9, 2020, Bed Bath & Beyond filed its quarterly report on Form 10-Q

   for the period ended November 30, 2019, signed by Defendant D’Elia. The January 2020 Form

   10-Q contained the same Management’s Discussion and Analysis and Risk Factors as the October

   2019 Form 10-Q and was misleading for the same reasons as the October 2019 Form 10-Q. See

   supra ¶167.

          183.   The January 2020 Form 10-Q also stated as follows:
       Gross profit for the three months ended November 30, 2019 was $913.8 million, or 33.1%
       of net sales, compared with $1.004 billion, or 33.1% of net sales, for the three months
       ended December 1, 2018. Gross profit for the nine months ended November 30, 2019 was
       $2.528 billion, or 31.4% of net sales, compared with $2.957 billion, or 33.9% of net sales,
       for the nine months ended December 1, 2018. The decrease in the gross profit margin for
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       the nine months ended November 30, 2019 was primarily attributable to a decrease in
       merchandise margin, as a result of an incremental inventory reserve for future markdowns
       of approximately $169.8 million related to the Company's transformation initiatives,
       which was an incremental charge to the actual markdowns recorded in the second and
       third quarters of fiscal 2019.

       This incremental reserve for future markdowns was the result of the Company's strategic
       decision to reduce inventory by up to $1.0 billion at retail from the end of the second
       quarter of fiscal 2019 through the end of fiscal 2020. This reduction is being driven by
       the Company’s inventory rationalization efforts, including reductions of aged and
       duplicative SKUs within the Company’s assortment. By taking this action, the
       Company is seeking to reset its inventory levels in both stores and distribution centers,
       as well as refresh its assortment, providing for newness and higher-margin products,
       all in an effort to drive customer traffic and support top-line performance.

          184.    These statements were materially false and misleading when made because

   Defendants D’Elia and BBBY knew or recklessly disregarded that:
          i) as later admitted:

                  (a) BBBY’s inventory problems were evident in November 2019 when the
                      Company reviewed those issues “hour by hour” (see ¶96);

                  (b) he knew of BBBY’s inventory management problems, including
                      unstocked and minimally stocked shelves, in December 2019 and
                      January 2020 (see ¶113);

                  (c) BBBY did not “have price management floated properly [] coming into
                      the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

                  (d) BBBY was out of its depth because it had never conducted markdown
                      promotions like this before (see ¶121).

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                  (a) the Program’s promotions and markdowns were having material adverse
                  consequences in that they were cannibalizing revenues, causing inventory
                  shortages in higher-margin products, and reducing earnings and margins
                  ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                  123-130, 197, 201); and

                  (b) BBBY was selling higher margin inventory under promotions that
                  reduced margins and/or such inventory could not be restocked ahead of the
                  critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

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          (iii) BBBY was in the middle of a management overhaul, with six senior BBBY
          managers including the Company’s Chief Merchandising Officer, leaving in
          December 2019 and, thus, lacked adequate plans and personnel to meaningfully
          execute and oversee the Program and prevent further margin erosion and sales
          cannibalization (see ¶¶87-91, 121).

          185.    Defendant D’Elia and BBBY also knew or recklessly disregarded that these

   statements were materially false and misleading when made because they violated Item 303 by

   failing to disclose the known trends and uncertainties relating to the Program listed in ¶184(i)-(iii).

          186.    The January 2020 Form 10-Q also stated:
       In other activity, the Company has been further evaluating its product assortment and
       taking aggressive steps to rationalize the assortment and better manage its inventory.
       These are among the early accelerated actions being taken to lay the foundation to create
       a new vision for the Company.

          187.    These statements were materially false and misleading when made because (i)

   Defendant D’Elia and BBBY knew or recklessly disregarded that:
          i) as admitted:

                  (a) BBBY’s inventory problems were evident in November 2019 when
                      BBBY reviewed those issues “hour by hour” (see ¶96);

                  (b) BBBY had serious inventory management problems, including
                      unstocked and minimally stocked shelves, in December 2019 and
                      January 2020 (see ¶113);

                  (c) BBBY did not “have price management floated properly [] coming into
                      the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);

                  (d) BBBY was out of its depth because it had never conducted markdown
                      promotions like this before (see ¶121).

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data):

                  (a) the Program’s promotions and markdowns were having material adverse
                  consequences in that they were cannibalizing revenues, causing inventory
                  shortages in higher-margin products, and reducing earnings and margins
                  ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                  123-130, 197, 201); and


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                   (b) BBBY was selling higher margin inventory under promotions that
                   reduced margins and/or such inventory could not be restocked ahead of the
                   critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul, with six senior BBBY
          managers including the Company’s Chief Merchandising Officer, leaving in
          December 2019 and, thus, lacked adequate plans and personnel to meaningfully
          execute and oversee the Program and prevent further margin erosion and sales
          cannibalization (see ¶¶87-91, 121).

          188.     Defendants also knew or recklessly disregarded that these statements were

   materially false and misleading when made because they violated Item 303 by failing to disclose

   a “known trend or uncertainty” relating to the Program; namely, that it was materially reducing,
   and would continue to materially reduce, earnings and margins and cause cannibalization of sales

   and revenues.

          189.     The January 2020 Form 10-Q also incorporated the following discussion about the

   risks in investing in BBBY from the Company’s 2018, which was filed on April 30, 2019:
       The Company’s operating results could be negatively impacted by a major disruption of
       the Company’s information technology systems. The Company relies heavily on these
       systems to process transactions, manage inventory replenishment, summarize results
       and control distribution of products. Despite numerous safeguards and careful
       contingency planning, these systems are still subject to power outages,
       telecommunication failures, cybercrimes, cybersecurity attacks and other catastrophic
       events. A major disruption of the systems and their backup mechanisms may cause the
       Company to incur significant costs to repair the systems, experience a critical loss of data
       and/or result in business interruptions. (Emphasis added).

          190.     These statements were materially false and misleading when made because

   Defendants D’Elia and BBBY knew or recklessly disregarded that:
          i) as admitted:

                   (a) BBBY’s inventory problems were evident in November 2019 when
                       BBBY reviewed those issues “hour by hour” (see ¶¶96);

                   (b) he knew of BBBY’s inventory management problems, including
                       unstocked and minimally stocked shelves, in December 2019 and
                       January 2020 (see ¶113);
                   (c) BBBY did not “have price management floated properly [] coming into
                       the third and fourth quarter”, i.e., as of September 1, 2019 (see ¶196);


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                  (d) BBBY was out of its depth because it had never conducted markdown
                      promotions like this before (see 121).

          (ii) as shown by, inter alia, BBBY’s software, including that of Revionics (whose
          reports the Individual Defendants received weekly, and which provided them with
          real-time data from the start of the Program):

                  (a) the Program’s promotions and markdowns were having material adverse
                  consequences in that they were cannibalizing revenues, causing inventory
                  shortages in higher-margin products, and reducing earnings and margins
                  ahead of the critical 2019 holiday season (see ¶¶46-49, 62-78, 115, 121,
                  123-130, 197, 201); and

                  (b) BBBY was selling higher margin inventory under promotions that
                  reduced margins and/or such inventory could not be restocked ahead of the
                  critical 2019 holiday season (see ¶¶94, 102, 104, 106-108);

          (iii) BBBY was in the middle of a management overhaul, with six senior BBBY
          managers including the Company’s Chief Merchandising Officer, leaving in
          December 2019 and, thus, lacked adequate plans and personnel to meaningfully
          execute and oversee the Program and prevent further margin erosion and sales
          cannibalization (see ¶¶87-91, 121).

          191.    Defendants BBBY and D’Elia also knew or recklessly disregarded that these

   statements were materially false and misleading because they violated Item 105 by failing to

   disclose the “most significant factor” relating to the risks in investing in BBBY; namely, that the

   Program was cannibalizing revenues and materially harming earnings and margins, which risk was

   only exacerbated by BBBY’s ongoing management overhaul.
   BBBY DISCLOSES THE FULL TRUTH: THE PROGRAM CANNIBALIZED
   REVENUES, DECIMATED MARGINS, AND CAUSED EMPTY OR SPARSELY
   STOCKED SHELVES OF KEY HOLIDAY ITEMS

          192.    On February 11, 2020, BBBY issued a press release announcing abysmal

   preliminary fourth-quarter 2019 financial results, including a free-fall in margin by 300 basis

   points. The Company disclosed that despite assurances that the Program was safeguarding against

   margin erosion and sales cannibalization (see ¶¶81, 93, 160, 162, 164) it did precisely that:

       Bed Bath & Beyond Inc. (Nasdaq: BBBY) today reported preliminary, unaudited
       financial performance data for the first two months of the fiscal 2019 fourth quarter
       (December 2019 and January 2020), including a 5.4% decline in comparable sales

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       driven primarily by store traffic declines combined with inventory management issues,
       and increased promotional activity and markdowns. (Emphasis added).

       Fiscal December 2019/January 2020 Comparable Sales…

       Product availability leading into the holiday period was also a contributing factor, as
       inventory within certain key categories in the Bed Bath & Beyond assortment was
       too low or out-of-stock during the period. The Company is immediately reforming its
       internal planning and inventory management procedures to master the fundamentals.
       (Emphasis added).

          193.    On this news, the Company’s share price fell $3.06 per share, or over 20%, to close

   at $11.79 per share on February 12, 2020, on unusually heavy trading volume.
          194.    The market was taken aback by BBBY’s negative announcements. For example,

   on February 12, 2020, Wedbush stated that it was “surpris[ed]” that BBBY’s promotions had

   cannibalized revenues and “drove the gross margin weakness”:
       The surprise was not in comparable store sales, but in both gross and SG&A margins.
       Gross margins declined ~-300 bps through the first two months of the quarter (vs. our
       -10 bps and consensus’ -60bps F4Q estimates) while adjusted SG&A deleveraged 190
       bps (vs. our +20 bps and consensus’ +10 bps F4Q estimates). Higher promotional activity
       drove the gross margin weakness, while a sales mix shift to the online channel also
       contributed.

   POST-CLASS PERIOD ADMISSIONS

          195.    BBBY held a conference call with analysts on February 18, 2020. On the call,

   Defendant Tritton admitted that the Company had been out-of-stock of key products, which was
   precisely what the Program and the purported tools utilized to execute and oversee the Program

   were supposed to have avoided:
       Seth Mckain Basham - Wedbush Securities Inc., Research Division - MD Of Equity
       Research
       …And as it relates to your inventory plans, a few – I guess a couple of quarters ago, there
       was a plan to take out about $1 billion of inventory out of retail. Is that plan still intact
       for 2020?

       Mark J. Tritton - Bed Bath & Beyond Inc. - President, CEO & Director

       Yes, it is. I mean a couple of things on inventory. We've had a double-edged sword in
       terms of inventory, and I would talk to, firstly, the negative in that we've been dealing
       with some out-of-stocks in terms of our primary items that have been driving our

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        business traditionally and that's what's hurt us in the third and fourth quarter. We see
        that as fully rectifiable in terms of the learning plan and implementation for 3rd and 4th
        in 2020. So on that inventory side, we didn’t have enough of the right stuff. Overall,
        though, we’ve got $1 billion worth of inventory that we look to take out through aged
        merchandise. About 1/3 of that we've already traded through ahead of our schedule. So
        we're pleased with the progress there. It is affecting a little bit heavily in clearance sales,
        but we see that as a moment in time. Overall, though, we have been trading – we're closing
        at the moment with about 15% less inventory. So we’re operating leaner and getting better
        turns. We just need to course-correct in terms of the mix of merchandise and our focus.
        So a lot of messages in there around inventory. Less inventory. We continue to trade on
        less inventory, and that’s going to free up cash for us in the future. And we need to right-
        size our current inventory into the right items and the best sellers and getting the stock of
        those both now and in the future.

            196.    Defendant Tritton also stated that going forward, things would be different – but he
    admitted on the call that BBBY was not managing prices properly “coming into the third and fourth

    quarter”, i.e., as of September 1, 2019, and that many of the issues that beset the Program were

    “self-inflicted”:
        We're going to have price management floated properly, which we didn't have coming
        into the third and fourth quarter. We’re going to have our inventory right-sized. It's clear
        learnings there, and we're going to be able to de-stack and manage our promotions. So
        we feel like there's enough self-inflicted wounds that for us we'll be able to quantify the
        recovery on that, and we can adjust out what that means in terms of the performance of
        the quarter to be a lot more stable and really stem the declines that we saw in the third
        and fourth.

            197.    On February 20, 2020, UBS issued a report by analysts Michael Lasser, Atul

    Maheswari and Mark Carden noting that BBBY’s promotions “caused the sales and margin

    shortfall” and that “poor inventory management caused out of stocks”:
        The shortfall in December/January was driven by a confluence of several factors. First,
        wasteful promos lowered margin as not enough thought was given on the overall
        profitability impact to the company. Plus, digital grew much faster causing enhanced
        shipping costs. Poor inventory management caused out of stocks. All of these hit
        together in 4Q and caused the sales and margin shortfall. (Emphasis added).

            198.    On April 15, 2020, BBBY announced earnings per diluted share of only $.46 –

    radically below BBBY’s Class Period guidance of $2.08 to $2.13. On that date, BBBY also held

    a conference call discussing its FY2019 results and the Company’s problems at the end of 2019.
    On the call, Defendant Tritton admitted that, in addition to having software reflecting the

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    Program’s progress in real-time, BBBY also knew of the inventory issues in December 2019 and

    January 2020 – indeed, the Company had done “intel” work and knew customers could not find

    their desired products:
        Curtis Smyser Nagle - BofA Merrill Lynch, Research Division – VP
        …As you said, February and 4Q are very much in the rear view. But I just wanted to –
        if you could possibly hash out some of the math in terms of what was implied for the
        February comp. And I think it improved relative to what was going on in the 2 prior
        months, but anything you could comment on that would be great.

        Mark J. Tritton - Bed Bath & Beyond Inc. - President, CEO & Director

        Yes. I think for us, it was tough to hit the COVID moment when we just saw some pivots
        happening in February. We knew we were plagued by issues in December and
        January,… Some of it was self-inflicted. I mean when we don't have best sellers in
        stock, we've got discounting and we don't have our inventory. I mean some of the sales
        decline we saw in our stores wasn't necessarily traffic. We did some intel work on that,
        saw the customers were coming in, and they just couldn't find the product in stock. So
        we were shooting ourselves in the foot.

           199.    Defendant Tritton specified that “certain key promotional categories” like “kitchen

    electrics” were at the heart of the end of 2019 inventory problems:
        All 4 of our e-commerce fulfillment centers are currently operating. And by the end of
        this week, we will have converted approximately 25% of our Bed Bath & Beyond and
        buybuy BABY stores in the U.S. and Canada into regional fulfillment centers to use our
        vast inventory resources to assign orders locally and deliver quickly….

        Product availability with certain key promotional categories, such as kitchen electrics,
        leading into the holiday period were either too low or just out of stock. We just didn't
        have enough of the right stuff, which hurt us.

           200.    After BBBY’s misrepresentations and omissions about the inventory reduction

    program, Guggenheim analyst Steven Forbes was skeptical of whether BBBY would be able to

    accurately manage inventory in the future. Defendant Tritton engaged in classic damage control,

    but conceded “big misses” and the Company’s failure to have the right goods in stock:
        Steven Paul Forbes - Guggenheim Securities, LLC, Research Division – Analyst
        And then maybe just a quick follow-up on inventory management. It's sort of interesting
        here given your comments around not having enough inventory this holiday, right,
        holiday 2019, about all the uncertainty that exists today. So maybe just give us an update
        or discuss how you’re planning your inventory buys this year, and particularly for holiday
        2020, what’s sort of the typical time frame when you have to make those decisions and

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        commit to those POs? And how important, right, is it that you're open by the time those
        commitments occur?/ 9:00PM, BBBY - Q4 2019 Bed Bath & Beyond Inc Earnings Call
        Mark J. Tritton - Bed Bath & Beyond Inc. - President, CEO & Director

        Yes. Look, I mean, a couple of things there. I think that we've been – Joe has been leading
        the charge here and having deep conversation with all our majors and our general vendor
        bases about flow. If you go back to the inventory position that we had, there's kind of 2
        things going there. The good news was that overall, we reduced our inventory by about
        16% at the close of the quarter. And so we were working leaner on that. But inside of
        that, we did have big misses. Not by having more inventory. We think that's a good level
        that we can come down to. But we could have traded some of our mix to be more in
        stock of our key items and generated more sales and gross margin by having the right
        merchandise. (Emphasis added).

           201.    Defendant Tritton also admitted that BBBY’s unprecedented promotions had
    “burn[ed]” (or cannibalized) inventory and margins:
        Seth Ian Sigman - Crédit Suisse AG, Research Division - United States Hardline Retail
        Equity Research Analyst

        Just wanted to start with pricing. Mark, it seems like you were pleased with some of the
        results as you sharpen price over the holiday period. What are you learning about in terms
        of Bed Bath's pricing today? What changes should we expect in the current environment
        and, I guess, beyond that?

        Mark J. Tritton - Bed Bath & Beyond Inc. - President, CEO & Director

        Yes. Look, I mean I think that we entered into promotional activity in a way that we
        hadn't ever before, Seth. I think that if we go back to the end of the third quarter, start of
        the fourth quarter, it was the first time we'd ever really been truly promotional outside
        of coupon. And we really didn't lay down the plans to get there in the right way. So we
        burn the margin and we burn a lot of inventory and weren't prepared to get back into
        stock. So they're kind of tough learnings. (Emphasis added).

           202.    On July 8, 2020 in the BBBY-Q1 2020 Earnings Call, BBBY Chief Merchandising

    Officer Robert Hartsig stated that “we're doing a lot of work around inventory management in

    terms of centralizing inventory planning. We're using new tools and processes to manage

    efficiencies for inventory.” In other words, BBBY had to fundamentally re-orient its inventory

    management systems after the failures of the end of 2019.

    ADDITIONAL SCIENTER/FALSITY ALLEGATIONS
           203.    As alleged herein, Defendants acted with scienter since Defendants knew that the


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    public documents and statements issued or disseminated in the name of the Company were

    materially false and/or misleading; knew that such statements or documents would be issued or

    disseminated to the investing public; and knowingly and substantially participated or acquiesced

    in the issuance or dissemination of such statements or documents as primary violations of the

    federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by virtue

    of their receipt of information reflecting the true facts regarding BBBY, their control over and/or

    receipt and/or modification of BBBY allegedly materially misleading misstatements, and/or their

    associations with the Company, which made them privy to confidential proprietary information

    concerning BBBY, participated in the fraudulent scheme alleged herein.
            A. The Individual Defendants Received Detailed, Weekly Revionics Reports That
               Contained Up-to-date Information About Inventory, Pricing, and Margins And
               Had Access To Real-Time Data Through The Software

            204.   During the Class Period, BBBY used industry software, including that of Revionics,

    to manage and oversee the Program. See ¶¶62-68, 82.

            205.   BBBY’s software, including that of Revionics, analyzed and optimized promotions

    and markdowns and provided in-depth knowledge about consumer buying influences,

    cannibalization and halo effects, and identified the most compelling vehicles and offers for

    different types of shoppers. See ¶¶62-68. In short, in tracked the progress of the Program in real

    time.
            206.   Revionics software contained AI-based information on markdowns – specifically

    designed to maximize return on inventory, margins and sell-through.

            207.   CW-1 reported that BBBY’s CEO and CFO, including Defendants D’Elia and

    Winston, received these weekly Revionics reports. See ¶76. Defendant Tritton would have

    received the same reports. The Individual Defendants likewise had access to real time data

    concerning inventory and the Program’s status through the software itself.

            208.   CW-1 also reported that there were weekly meetings at the Union, New Jersey

    headquarters with Interim CEO Winston and CFO D’Elia.
            209.   Because of the weekly reports, as well as the weekly meetings, the Individual

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    Defendants knew or recklessly disregarded that the Program was cutting margins and cannibalizing

    sales.

             B. Defendant Tritton’s Admissions
             210.   Defendant Tritton made numerous admissions during and after the Class Period.

             211.   On the January 8, 2020 conference call, Defendant Tritton admitted that at

    “Thanksgiving time” he had been “watching [the Company’s sales and inventory] hour by hour”,

    confirming the real-time access Defendants had to data bearing on the success or failure of the

    Program.

             212.   On the February 18, 2020 conference call, Defendant Tritton admitted that
    Defendants did not have “proper price management” as of September 2019 (the first month of the

    Company’s 3Q2019):
        We're going to have price management floated properly, which we didn't have coming
        into the third and fourth quarter. (Emphasis added).

             213.   Defendant Tritton also made several admissions on the April 15, 2020 call that

    further demonstrate Defendants’ scienter at different times.

             214.   Defendant Tritton admitted on the call that “we really didn't lay down the plans

    [on promotional activity] to get there in the right way”. (Emphasis added). See ¶121. With this

    statement, Defendant Tritton admitted that Defendants BBBY, D’Elia and Winston knew their

    statements about the Program, inventory, and margins were materially false and misleading when

    made because they knew they “didn’t lay down the plans” underlying the Program “in the right

    way”. Since the Program involved a complete departure from the coupon discounts BBBY was

    accustomed to, and BBBY adopted unprecedented markdowns and promotions, robust planning

    was necessary to execute and oversee the Program. Defendants gave investors the false sense that

    such planning had been done, but, as Defendant Tritton admitted, that was not actually the case –

    a fact he knew or recklessly disregarded immediately upon joining the Company when he adopted

    the Program without a reset.
             215.   Defendant Tritton also admitted on the April 15, 2020 conference call that BBBY


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    knew of the inventory problems in December 2019 and January 2020:

           x   “We knew we were plagued by [inventory] issues in December [2019] and January
               [2020]” (¶113).

           x    “We did some intel work [in December 2019 and January 2020] on that, saw the
               customers were coming in, and they just couldn't find the product in stock” (¶113)

           216.    These admissions demonstrate that Defendants knew their statements were

    misleading when made.
           C. The Individual Defendants Repeatedly Discussed The Program – Which
              Was Critical to Turning Around the Company – With Analysts

           217.    BBBY announced its inventory reduction program on September 4, 2019.

           218.    The Company’s inventory reduction program was at the heart of turning BBBY

    around from years of poor results.

           219.    The Individual Defendants repeatedly engaged in lengthy colloquies with analysts

    (who then wrote detailed reports) about BBBY’s inventory and the Program (see ¶¶79-85, 95-97,

    99-101, 104-111, 113-117, 120-121), demonstrating that they were well aware of these issues.
           D. The Individual Defendants Knew BBBY
              Management Had Critical Vacancies During the Class Period

           220.    On December 17, 2019, three months into the Program, BBBY disclosed that

    Defendant Tritton had fired five senior management from the Company, including the Chief

    Merchandising Officer, Chief Marketing Officer, Chief Digital Officer, Chief Legal Officer &

    General Counsel, and Chief Administrative Officer. See ¶92. The sixth member, the Chief Brand

    Officer, resigned the prior week. See id.

           221.    BBBY did not replace its Chief Merchandising Officer (Todd Johnson), a role

    inherently important to the Program, until March 2020. Thus, BBBY had a critical vacancy

    between December 17, 2019 and the end of the Class Period – right at the important holiday sales

    season. Departures of this kind are also rarely immediate and this key departure likely was set in

    motion even before December.
           E. Defendants Winston and D’Elia Were Particularly Aware of the Program

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               Because BBBY Had Tried Unsuccessfully To Reduce Inventory In The Past

           222.   As early as the beginning of 2018, BBBY had tried to reduce inventory in its stores.

    As explained by CW-1, this effort “never got off the ground”.

           223.   When BBBY doubled down in September 2019 and announced the $1 billion

    Program, Defendants Winston and D’Elia were acutely aware of the need to make inventory

    reduction work this time.
           F. The Individual Defendants Were Motivated to Commit Fraud to Satisfy the
              Activist Investors

           224.   After five years of poor results, the Activist Investors succeeded in restructuring
    BBBY’s board of directors and replacing its CEO in May 2019. See ¶51.

           225.   The Activist Investors criticized BBBY for, inter alia, its serious inventory

    management problems and low margins in April and May 2019.

           226.   The Activist Investors succeeded in restructuring BBBY’s board and ousting its

    CEO.

           227.   The Individual Defendants were motivated to commit fraud to address the Activist

    Investors’ concerns about BBBY’s stagnant and bloated inventory, as well as the Company’s low

    margins.

           228.   Defendants D’Elia and Tritton were motivated to maintain their jobs and avoid the
    fate of ousted CEO Stephen Temares.
           G. Defendants Winston and D’Elia Were Motivated to Commit Fraud to Increase the
              Value of Their BBBY Stock and to Maintain Exorbitant Salaries

           229.   Defendant D’Elia received BBBY stock in the amount of $1,559,469 during 2019.

           230.   Defendant Winston received a restricted stock award with a value of $1,900,000 on

    November 4, 2019, the day Defendant Tritton became CEO.

           231.   Defendants D’Elia and Winston were motivated to artificially inflate BBBY’s stock

    to increase the value of their BBBY stock award.
           232.   Defendant D’Elia was paid $750,000 in yearly salary during the Class Period.


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             233.   Defendant Winston earned approximately $550,000 in salary while working as

    BBBY’s CEO for only six months.

             234.   Defendant D’Elia was motivated to commit fraud to continue to receive her salary.

             235.   Defendant Winston was motivated to commit fraud to stay at the Company for as

    long as possible, reaping her large salary.

             236.   Defendant Tritton received approximately $11,250,000 annually consisting of a

    $1.2 million annual base salary, a $750,000 opportunity at target to be earned by developing and

    delivering to the Board a short-term strategic and business stabilization plan, a $1.125 million

    payment based on the Compensation Committee’s assessment that Defendant Tritton exceeded
    objectives set for him, a $500,000 one-time sign-on cash award of time-vesting RSUs that will

    vest on November 4, 2020, subject to Defendant Tritton’s remaining with the Company through

    that date, a $750,000 make-whole cash bonus, and a $6.9 million make-whole RSU award.

             237.   Defendant Tritton was motivated to commit fraud to stay at the Company and

    receive the exorbitant benefits described in ¶236.
    PRESUMPTION OF RELIANCE: FRAUD ON THE MARKET

             238.   At all relevant times, the market for BBBY securities was efficient for the following

    reasons, among others: (1) the securities were listed and actively traded on the NASDAQ, a highly

    efficient and automated market; (2) as an issuer, BBBY filed periodic public reports on Form 10-

    K and Form 10-Q with the SEC; (3) BBBY regularly issued press releases that were carried by the

    national news wires, were publicly available, and entered the public marketplace; and (4) BBBY

    was followed by securities analysts employed by brokerage firms who wrote reports about the

    Company, and these reports were distributed to the sales force and certain customers of their

    respective brokerage firms. Each of these reports was publicly available and entered the public

    marketplace.

             239.   As a result, the market for BBBY securities promptly digested current information

    regarding BBBY from all publicly available sources and reflected such information in BBBY share
    price.

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              240.   Under these circumstances, all purchasers of BBBY securities during the Class

    Period suffered similar injury through their purchase of BBBY securities at artificially inflated

    prices and a presumption of reliance applies.
    LOSS CAUSATION / ECONOMIC LOSS

              241.   During the Class Period, Defendants materially misled the investing public, thereby

    inflating the price of BBBY securities, by publicly issuing false and/or misleading statements

    and/or omitting to disclose material facts necessary to make Defendants’ statements, as set forth

    herein, not false and/or misleading. The statements and omissions were materially false and/or

    misleading because they failed to disclose material adverse information and/or misrepresented the

    truth about BBBY business, operations, and prospects as alleged herein.

              242.   During the Class Period, as detailed herein, BBBY securities were artificially

    inflated due to Defendants’ misleading statements and omissions. When Defendants’ prior

    misrepresentations and omissions were disclosed and became apparent to the market, the price of

    BBBY securities fell as the prior artificial inflation came out.

              243.   As a result of their purchases of BBBY securities during the Class Period, Plaintiffs

    and the other Class members suffered economic loss, i.e., damages, under the securities laws.

              244.   The decline in the price of BBBY securities after the corrective disclosures on

    January 8, 2020 and February 11, 2020, was a direct result of Defendants’ misrepresentations being

    revealed to investors and the market.

              245.   The decline in the price of BBBY securities was also the result of the

    materialization of the concealed investment risks concerning BBBY.

              246.   Defendants’ materially false and misleading statements relate to the Company’s

    inventory reduction program.

              247.   The corrective disclosure on January 8, 2020 revealed that BBBY’s earnings and

    margins had plunged in the 3Q19, and began to reveal the Company’s inventory management

    issues.
              248.   After this disclosure, BBBY stock fell almost 20%. See ¶¶20, 181.

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           249.    Analysts’ statements after the January 8, 2020 disclosure show the importance of

    Defendants’ revelations of that date. See ¶¶100-101.

           250.    The January 8, 2020 disclosure did not fully reveal the truth about BBBY’s

    inventory management problems.

           251.    The corrective disclosure on February 11, 2020 revealed the full extent of the truth;

    namely, that the Program, including its promotions and markdowns, had caused out-of-stock and

    minimally stocked goods and cannibalized sales and revenues.

           252.    After this disclosure, BBBY stock again fell, this time by over 20%. See ¶¶22, 103.

           253.    Analysts’ statements after the February 11, 2020 disclosure show the importance of
    Defendants’ revelations. See ¶¶104-109.

           254.    The timing and magnitude of the price declines in BBBY securities negate any

    inference that the loss suffered by Plaintiffs and the other Class members was caused by changed

    market conditions, macroeconomic or industry factors or Company-specific facts unrelated to

    Defendants’ statements. The economic loss, i.e., damages, suffered by Plaintiffs and the other

    Class members was a direct result of Defendants’ misstatements and omissions and the subsequent

    significant decline in the value of BBBY securities when Defendants’ misrepresentations were

    revealed.
                                   CLASS ACTION ALLEGATIONS

           255.    Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

    Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

    or otherwise acquired BBBY securities between September 4, 2019 and February 11, 2020,

    inclusive, and who were damaged thereby (the “Class”). Excluded from the Class are Defendants,

    the officers and directors of the Company, at all relevant times, members of their immediate

    families and their legal representatives, heirs, successors, or assigns, and any entity in which

    Defendants have or had a controlling interest.

           256.    The members of the Class are so numerous that joinder of all members is
    impracticable. Throughout the Class Period, BBBY common shares actively traded on the

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    NASDAQ. While the exact number of Class members is unknown to Plaintiffs at this time and

    can only be ascertained through appropriate discovery, Plaintiffs believe that there are at least

    hundreds or thousands of members in the proposed Class. Millions of shares of BBBY common

    stock were traded publicly during the Class Period on the NASDAQ. Record owners and other

    members of the Class may be identified from records maintained by BBBY or its transfer agent

    and may be notified of the pendency of this action by mail, using the form of notice similar to that

    customarily used in securities class actions.

              257.   Plaintiffs’ claims are typical of the claims of the members of the Class as all

    members of the Class are similarly affected by Defendants’ wrongful conduct in violation of
    federal law that is complained of herein.

              258.   Plaintiffs will fairly and adequately protect the interests of the members of the Class

    and have retained counsel competent and experienced in class and securities litigation.

              259.   Common questions of law and fact exist as to all members of the Class and

    predominate over any questions solely affecting individual members of the Class. Among the

    questions of law and fact common to the Class are:
              (a)    whether the federal securities laws were violated by Defendants’ acts as alleged

    herein;

              (b)    whether statements made by Defendants to the investing public during the Class

    Period omitted and/or misrepresented material facts about the business, operations, and prospects

    of BBBY; and

              (c)    to what extent the members of the Class have sustained damages, and the proper

    measure of damages.

              260.   A class action is superior to all other available methods for the fair and efficient

    adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

    damages suffered by individual Class members may be relatively small, the expense and burden
    of individual litigation makes it impossible for members of the Class to individually redress the

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    wrongs done to them. There will be no difficulty in the management of this action as a class action.
                                          CAUSES OF ACTION

                                                 COUNT I

                            Violation of Section 10(b) of the Exchange Act and
                        Rule 10b-5 Promulgated Thereunder Against all Defendants

            261.    Plaintiffs repeat and re-allege each and every allegation contained above as if fully

    set forth herein.

            262.    During the Class Period, Defendants carried out a plan, scheme and course of

    conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

    public, including Plaintiffs and other Class members, as alleged herein; and (ii) cause Plaintiffs

    and other members of the Class to purchase BBBY securities at artificially inflated prices. In

    furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each Defendant,

    took the actions set forth herein.

            263.    Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

    untrue statements of material fact and/or omitted to state material facts necessary to make the

    statements not misleading; and (iii) engaged in acts, practices, and a course of business which

    operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

    maintain artificially high market prices for BBBY securities in violation of Section 10(b) of the

    Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

    wrongful and illegal conduct charged herein or as controlling persons as alleged below.

            264.    Defendants, individually and in concert, directly and indirectly, by the use, means

    or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

    continuous course of conduct to conceal adverse material information about BBBY’s inventory

    reduction program, as specified herein.

            265.    Defendants employed devices, schemes and artifices to defraud, while in

    possession of material adverse non-public information and engaged in acts, practices, and a course
    of conduct as alleged herein in an effort to assure investors of BBBY’s value and performance,


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    which included the making of, or the participation in the making of, untrue statements of material

    facts and/or omitting to state material facts necessary in order to make the statements made about

    BBBY and its business operations and future prospects in light of the circumstances under which

    they were made, not misleading, as set forth more particularly herein, and engaged in transactions,

    practices and a course of business which operated as a fraud and deceit upon the purchasers of the

    Company’s securities during the Class Period.

           266.    Each of the Individual Defendants’ primary liability and controlling person liability

    arises from the following facts: (i) the Individual Defendants were high-level executives and/or

    directors at the Company during the Class Period and members of the Company’s management
    team or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and

    activities as a senior officer and/or director of the Company, was privy to and participated in the

    creation, development and reporting of the Company’s internal budgets, plans, projections and/or

    reports; (iii) each of these defendants had access to BBBY’s inventory management software: (iv)

    each of these defendants enjoyed significant personal contact and familiarity with the other

    defendants and was advised of, and had access to, other members of the Company’s management

    team, internal reports and other data and information about the Company’s finances, operations,

    and sales at all relevant times; and (v) each of these defendants was aware of the Company’s

    dissemination of information to the investing public which they knew and/or recklessly
    disregarded was materially false and misleading.

           267.    Defendants had actual knowledge of the misrepresentations and/or omissions of

    material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

    ascertain and to disclose such facts, even though such facts were available to them. Thus,

    Defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

    for the purpose and effect of concealing material problems with BBBY business and financial

    results from the investing public and supporting the artificially inflated price of its securities.

           268.    As a result of the dissemination of the materially false and/or misleading
    information and/or failure to disclose material facts, as set forth above, the market price of BBBY

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    securities was artificially inflated during the Class Period. In ignorance of the fact that market

    prices of the Company’s securities were artificially inflated, and relying directly or indirectly on

    the false and misleading statements made by Defendants, or upon the integrity of the market in

    which the securities trades, and/or in the absence of material adverse information that was known

    to or recklessly disregarded by Defendants, but not disclosed in public statements by Defendants

    during the Class Period, Plaintiffs and the other members of the Class acquired BBBY securities

    during the Class Period at artificially high prices and were damaged thereby.

            269.    At the time of said misrepresentations and/or omissions, Plaintiffs and other

    members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiffs
    and the other members of the Class and the marketplace known the truth regarding the problems

    that BBBY was experiencing, which were not disclosed by Defendants, Plaintiffs and other

    members of the Class would not have purchased or otherwise acquired their BBBY securities, or,

    if they had acquired such securities during the Class Period, they would not have done so at the

    artificially inflated prices which they paid.

            270.    By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

    and Rule 10b-5 promulgated thereunder.

            271.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and

    the other members of the Class suffered damages in connection with their respective purchases
    and sales of the Company’s securities during the Class Period.
                                                    COUNT II

          Violation of Section 20(a) of the Exchange Act Against the Individual Defendants

            272.    Plaintiffs repeat and re-allege each and every allegation contained above as if fully

    set forth herein.

            273.    Individual Defendants acted as controlling persons of BBBY within the meaning of

    Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions,

    participation in, and/or awareness of the Company’s operations and intimate knowledge of the
    false financial statements filed by the Company with the SEC and disseminated to the investing

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    public, the Individual Defendants had the power to influence and control and did influence and

    control, directly or indirectly, the decision-making of the Company, including the content and

    dissemination of the various statements which Plaintiffs contend are false and misleading.

    Individual Defendants were provided with or had unlimited access to copies of the Company’s

    reports, press releases, public filings, and other statements alleged by Plaintiffs to be misleading

    prior to and/or shortly after these statements were issued and had the ability to prevent the issuance

    of the statements or cause the statements to be corrected.

            274.   In particular, Individual Defendants had direct and supervisory involvement in the

    day-to-day operations of the Company and, therefore, had the power to control or influence the
    particular transactions giving rise to the securities violations as alleged herein, and exercised the

    same.

            275.   As set forth above, BBBY and Individual Defendants each violated Section 10(b)

    and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their position

    as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the Exchange

    Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and other

    members of the Class suffered damages in connection with their purchases of the Company’s

    securities during the Class Period.
                                          PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

            (A)    Determining that this action is a proper class action and certifying Plaintiffs as class

    representatives under Rule 23 of the Federal Rules of Civil Procedure;

            (B)    Awarding damages in favor of Plaintiffs and the other Class members against all

    Defendants, jointly and severally, for all damages sustained as a result of Defendants’ violations

    of the Securities Exchange Act of 1934, in an amount to be proven at trial, including interest

    thereon;



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           (C)     Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

    this action, including counsel fees and expert fees; and

           (D)     Such other and further relief as the Court may deem just and proper.




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                                     JURY TRIAL DEMANDED

           Plaintiffs hereby demand a trial by jury.

    DATED: October 20, 2020                      Respectfully submitted,

                                                 /s/ Richard L. Elem
                                                 _____________________
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                                    CERTIFICATE OF SERVICE

           I hereby certify that October 20, 2020 I electronically filed the foregoing with the Clerk

    of the Court using the CM/ECF system which will send notification of such filing to the e-mail

    addresses registered in the CM/ECF system, as denoted on the Electronic Mail Notice List, and I

    hereby certify that I have mailed a paper copy of the foregoing document via the United States

    Postal Service to the non-CM/ECF participants indicated on the Manual Notice List generated by

    the CM/ECF system.


                                                     /s/ Richard L. Elem
                                                     RICHARD L. ELEM




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